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        U.S. Department of Justice
        Federal Bureau of Prisons


PROGRAM STATEMENT
OPI    ADM/TFB
NUMBER 4500.12
DATE   March 14, 2018


Trust Fund/Deposit Fund Manual


Approved: Mark S. Inch
Director, Federal Bureau of Prisons


1. PURPOSE AND SCOPE

To provide inmates an opportunity to purchase articles or services not issued or delivered as basic
care by the institution or of a different quality.

a. Summary of Changes

Directive Rescinded:
P4500.11 Trust Fund/Deposit Fund Manual (4/09/15)

This revision includes the following changes:

■ The addition of healthy food options available for sale in the Commissary.
■ The addition of standardized female/transgender items for sale in the Commissary or by
  special purpose order (SPO).
■ Additional language to address TRULINCS system access by inmates.

b. Program Objectives. Expected results of this program are:

■ Efficient and reliable commissary, telephone, and laundry services will be made available to
  inmates.
■ The Trust Fund operation will be managed to ensure an efficient, cost-effective,
  self-supporting program.
■ Merchandise, supplies, foods, and equipment will be received, securely stored, and effectively
  distributed.
■ Inmates’ funds (Deposit Fund) will be accurately and efficiently maintained.
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c. Institution Supplement Required. Implementation of this Manual requires development of
several Institution Supplements (or a consolidated Institution Supplement) covering requirements
for development of local policy. Institution Supplement requirements are in Section 1.2.

Should local facilities make any changes outside the required changes in the national policy or
establish any additional local procedures to implement the national policy, the local Union may
invoke to negotiate procedures or appropriate arrangements.

2. ACTION REQUIRED

The Trust Fund, Warehouse, Laundry, and Inmate Deposit Fund Programs shall operate according
to the procedures in this Manual and the Institution Supplement.

REFERENCES

Program Statements
P1070.07     Research (5/12/99)
P1221.66     Directives Management Manual (7/21/98)
P1237.16     Information Security (9/27/16)
P1315.07     Legal Activities, Inmate (11/5/99)
P1330.18     Administrative Remedy Program (1/6/14)
P1351.05     Release of Information (3/9/16)
P1600.11     National Occupational Safety and Health Policy (6/1/17)
P1600.12     National Environmental Protection Policy (6/1/17)
P1600.13     National Fire Protection Policy (11/9/17)
P1640.05     Smoking/No Smoking Areas (1/7/15)
P2000.02     Accounting Management Manual (2/8/99)
P2013.04     Financial Management – Debt Management (5/19/17)
P2100.04     Budget Execution Manual (3/18/14)
P2250.03     Accounting – Recording Obligations (5/8/17)
P2350.02     Accounting for Real Property, Depreciation, and B&F Projects (2/24/15)
P3721.06     Employee Organizations (1/21/09)
P4100.06     Bureau of Prisons Acquisition Policy (7/17/17)
P4400.05     Property Management Manual (3/3/15)
P4700.06     Food Service Manual (9/13/11)
P5230.05     Grooming (11/4/96)
P5251.06     Inmate Work and Performance Pay Program (10/1/08)
P5264.08     Inmate Telephone Regulations (1/24/08)
P5265.14     Correspondence (4/5/11)
P5267.09     Visiting Regulations (12/10/15)
P5270.09     Inmate Discipline Program (7/8/11)
P5270.11     Special Housing Units (11/23/16)


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P5280.09         Inmate Furloughs (1/20/11)
P5360.09         Religious Beliefs and Practices (6/12/15)
P5370.11         Recreation Program, Inmate (6/2/08)
P5380.08         Financial Responsibility Program, Inmate (8/15/05)
P5381.05         Inmate Organizations (2/13/01)
P5500.15         Correctional Services Manual (SBU) (1/3/18)
P5500.14         Correctional Services Procedures Manual (8/1/16)
P5511.07         Request to Staff, Inmate (8/14/98)
P5521.06         Searches of Housing Units, Inmates, and Inmate Work Areas (6/4/15)
P5580.08         Inmate Personal Property (8/22/11)
P5800.16         Mail Management Manual (4/5/11)
P5873.06         Release Gratuities, Transportation, and Clothing (8/6/03)
P6031.02         Inmate Copayment Program (8/15/05)
P6031.04         Patient Care (6/3/14)
P6360.01         Pharmacy Services (1/15/05)

Federal Regulations
Rules cited in this Program Statement: 28 CFR 506.1

BOP Forms
BP-109           Stock Record
BP-197           Temporary Receipt
BP-199           Request for Withdrawal of Inmate's Personal Funds
BP-201           Withdrawal Record – Inmate
BP-A0100         Stores Requisition, Invoice and Transfer Receipt
BP-A0101         Request for Purchase (Delivery/Task Order)
BP-A0111         Report of Survey
BP-A0112         Prisoner’s Personal Funds and Cash Gratuities Voucher
BP-A0135         Major Equipment Justification
BP-A0183         Budget Development & Execution Requirements
BP-A0184         Budget Requirements
BP-A0200         Special Purpose Order Request – Inmate
BP-A0328         Stamps, Negotiable Instrument & Other Returned to Sender
BP-A0383         Inmate Personal Property Record
BP-A0407         Acknowledgment of Inmate, Part 1 & 2
BP-A0408         Acknowledgment of Inmate, Part 3 & 4
BP-A0740         Request for Inmate Telephone Restriction
BP-A0904         Trust Fund Renovation/Construction Project Form
BP-A0905         LockBox Field Submission
BP-A0984         Restricted Key Form
BP-A1054         TRULINCS Contact Request Form




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3. AGENCY’S ACA ACCREDITATION PROVISIONS

■ American Correctional Association 4th Edition Standards for Adult Correctional Institutions:
  4-4042, 4-4043, 4-4044, 4-4045, 4-4046, 4-4047, 4-4334, 4-4335, 4-4336, 4-4337, 4-4338,
  4-4340, 4-4342, 4-4379, 4-4497, and 4-4497-1
■ American Correctional Association 4th Edition Standards for Adult Local Detention Facilities:
  4-ALDF-4B-02, 4-ALDF-4B-03, 4-ALDF-4B-04, 4-ALDF-4B-05, 4-ALDF-4B-06,
  4-ALDF-4C-39, 4-ALDF-5B-11, 4-ALDF-5B-12, 4-ALDF-5C-25, 4-ALDF-5C-26, and
  4-ALDF-7D-16
■ American Correctional Association 2nd Edition Standards for Administration of Correctional
  Agencies: 2-CO-1B-12, 2-CO-1B-13, and 2-CO-5D-01

Records Retention
Requirements and retention guidance for records and information applicable to this program are
available in the Records and Information Disposition Schedule (RIDS) system in Sallyport.




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Chapter 1. DEFINITIONS AND INSTITUTION SUPPLEMENTS

1.1 DEFINITIONS

Accountable Property Officer (APO) – Person responsible for custody, record keeping, and use
of the SENTRY Property Management System controlled personal property within the employee’s
assigned location or jurisdiction.

Automated accounting system – The Bureau of Prisons’ official General Ledger reporting
system.

BOP or Bureau – Federal Bureau of Prisons.

Business Administrator – The department head of the local Office of Financial Management or
the department head responsible for the local budget, accounting, and acquisitions.

Cashier – The Federal Government employee designated as a cashier by a delegating official who
is authorized to disburse cash and carry out other cash operations.

Committed name – The name entered on the “Judgment in a Criminal Case” is considered the
committed name to be used by the inmate, as well as the Bureau.

Contact − The persons in the public with whom the inmate chooses to communicate via public
messaging, telephone, postal mail, or to send funds to.
CorrLinks – The external service provider (messaging) for contact to communicate with inmates.
Daily – Monday through Friday, excluding Federal Government holidays.

Deposit Fund – The 15X6085 Account designated by Treasury to maintain Federal prisoners’
funds (e.g., individual inmate accounts).

Document imaging process – Ability to scan a document, create an image, and attach it to a
transaction/inmate record in TRUFACS.

Email − Any electronic written communication composed by an inmate or received from an
authorized person via TRULINCS.

Encumbrance – A transaction that temporarily places a hold on an inmate’s available balance.

Extract – Process of downloading automated accounting transactions, outside inmate payments,
and obligations from TRUFACS for upload into the automated accounting system.

General correspondence - Traditional mail sent or received via the U.S. Postal Service.


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Hot item – Items that are most likely to be pilfered or might facilitate an attempt to escape or
disrupt the institution.

IFRP – Inmate Financial Responsibility Program.

IPAC – Intra-Governmental Payment and Collection.

JV – Journal Voucher.

LAN – Local Area Network.

Nightly process – Automated TRUFACS processing of inmate SENTRY data, payments/debts,
IFRP payments, printing of scheduled reports, etc.

OFM – Office of Financial Management.

PO – Purchase Order.

Postal mailing labels − Address labels required to be placed on outgoing postal mail.

SA – Special Authorization number.

S&E – Salaries and Expenses.

SPMS – SENTRY Property Management System.

SPO – Special Purpose Order.

TRUACCESS Requester – A user who may generate electronic requests on behalf of other staff
to have access to the various Trust Fund applications.

TRUACCESS Role Manager – A user who may approve or deny electronic requests for the
various Trust Fund application(s).

TRUFACS – Trust Fund Accounting and Commissary System.

TRUFONE – Inmate Telephone System.

TRULINCS – Trust Fund Limited Inmate Computer System.

TRUPAID – Trust Fund Payroll Accounting for Inmate Details.

Trust Fund – The 15X8408 Account designated by the U.S. Treasury for programs, goods, and
services for the benefit of inmates (e.g., Commissary).


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Trust Fund Branch – Office in the Central Office, Administration Division, responsible for Trust
Fund and Deposit Fund operations.

Trust Fund Specialist – Trust Fund-funded position assigned directly to the Trust Fund
Supervisor and responsible for various Trust Fund-related duties.

Trust Fund Supervisor – Department head responsible for Trust Fund operation at the institution.

TRUTRAC – Trust Fund Tracking, Requisition, and Consumption.

User Guide – Technical instructions and guidelines that supplement national policy. User
Guides provide consistent procedures for training and oversight.

V-PIN – Added security feature that uses a sample of the inmate’s voice, which is collected when
the inmate states his or her name during the registration process.

WAN – Wide Area Network.

1.2 INSTITUTION SUPPLEMENTS. Institution Supplements are prepared, approved, and
reviewed as outlined in the Program Statement Directives Management Manual for the areas
listed below.

a. Commissary Operations. Procedures may be addressed in a Commissary Institution
Supplement or as a component of a consolidated supplement on Trust Fund Operations specifying
Commissary Operations. At a minimum, the following is addressed:

(1) Categories of Approved Items. A list of categories is revised as a part of the annual
Institution Supplement review.

(2) Special Purpose Orders (SPO)

■ List of Approved Items. Items may be listed specifically, such as Religious Medallion, or by
  general categories – vocational/educational books, leathercraft, etc. The SPO process is not
  used by inmates to purchase personal-use musical instruments, athletic items such as racquets,
  or any other item not authorized per the Program Statement Inmate Personal Property.

■ Approving Official(s). A position may be designated to approve all SPOs, or approving
  authority may be delegated to the position responsible for a specific activity; for example, the
  Unit Manager for items of high dollar value and items that may cause storage problems due to
  limited space; the Supervisor of Education for correspondence courses, materials for
  vocational training, law books, etc.; the Supervisor of Recreation for hobbycraft and athletic
  articles; the Chaplain for religious articles; and the Associate Warden for standardized
  female/transgender Commissary items. Trust Fund staff shall coordinate with the Chaplain to


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    identify religious articles that may be purchased through the SPO program. Information on
    approved items is in the Program Statement Religious Beliefs and Practices.

■ Monetary Guidelines. These set monetary limits for approving authority, and limits on the
  value of individual items, the value of an entire order, the quantity of items on an individual
  order, and the frequency of orders that may be submitted each month or quarter.

(3) Inmate Identification/Fingerprint Process. If the institution does not use inmate
identification cards or inmate fingerprint process, procedures to positively identify inmates are
established using official picture cards.

b. Special Trust Fund Services. These procedures may be addressed in a Special Services
Institution Supplement or as a component of a consolidated supplement on Trust Fund Operations
specifying Special Services Operations. At a minimum the following is addressed:

(1) Before initiating any service operations, an Institution Supplement detailing local regulations
and systems of internal control is developed. The following topics are detailed in the Supplement
for each service operation:

■   Person(s) responsible for each Trust Fund service operation.
■   Method of operation (e.g., outside contractor or internal operation).
■   Type of service offered.
■   Location of equipment (e.g., Unit 4, first floor) and type of service.
■   Method(s) of separation of duties between contractor and institution personnel to ensure
    amounts due to the Trust Fund are received, verified, and properly recorded.
■   Internal controls established for accountability of usage from the equipment.
■   Arrangements for contractor escorts, if applicable.
■   Disciplinary actions for damage of service equipment or attempts to obtain service without
    payment.
■   Method of determining the price of the service.
■   General procedures regarding the service.

(2) Inmate Photography Program. These procedures may be addressed in an Inmate
Photography Program Institution Supplement or as a component of a consolidated supplement on
Trust Fund Operations specifying Inmate Photography Program. At a minimum the following is
addressed:

■ Times and places that inmate photos will be taken.
■ Procedures for picture retakes.
■ Procedures for group pictures.
■ Other local needs such as limits on the number of photo vouchers and appropriateness of
  pictures/clothing.
■ Procedures to mark used photo vouchers to avoid potential reuse.
■ Staff responsible for:


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          Processing digital pictures.
          Receiving or picking up digital pictures.
          Reviewing and distributing photos to inmates
          Photography equipment (cameras, tripods, etc.).
          Disposition of used photo vouchers.
          Supervision of inmate photographers.
          Reconciliation of digital pictures and photo vouchers
          Oversight of inmate workers.

c. Inmate Telephone System. Each institution develops a separate Institution Supplement for
local procedures to operate the Inmate Telephone System. In addition to the requirements
outlined in the Program Statement Telephone Regulations for Inmates, at a minimum the
following is addressed:

■   Institution-specific procedures related to release procedures.
■   Hours of operation.
■   Inmate telephone suspension.
■   Voice recognition registration.

d. Deposit Fund. These procedures may be addressed in a Deposit Fund Institution
Supplement or as a component of a consolidated supplement on Trust Fund Operations specifying
Deposit Fund. At a minimum the following is addressed:

■ Night depository procedures.
■ Inmate release procedures.
■ Special circumstances detailing the return to duty of essential staff who can make
  transportation arrangements and provide funds for inmates being released at the direction of
  the courts to comply with release orders.

e. Warehouse. These procedures may be addressed in a Warehouse Institution Supplement or
as a component of a consolidated supplement on Trust Fund Operations specifying Warehouse
Operations. At a minimum the following is addressed:

■ Procedures for pickup, receipt, and distribution of articles purchased from blanket charge
  accounts, where individual Purchase Orders covering each shipment are not available.
■ Dates and intervals for issuance of supplies.
■ Hot room procedures in the Warehouse to secure Trust Fund merchandise upon receipt.
■ Each institution must create standard Warehouse Operating Procedures.
■ Warehouse security/X-ray scanner procedures.




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f. Laundry Operations. These procedures may be addressed in a Laundry Institution
Supplement or as a component of a consolidated supplement on Trust Fund Operations specifying
Laundry Operations. At a minimum the following is addressed:

■   Schedule for exchanging clothing and linen.
■   Services provided and hours available.
■   Procedures for control, use, and storage of chemicals.
■   Schedule issuance of personal hygiene items.

g. Trust Fund Limited Inmate Computer System. Each institution develops a separate
Institution Supplement for local procedures to operate TRULINCS. At a minimum the following
is addressed:

■   Institution-specific procedures related to release procedures.
■   Hours of operation.
■   Suspensions.
■   TRULINCS access hours (multi-purpose use and dedicated law library stations) and print
    station locations.
■   Procedures for requesting accounts to be unlocked.
■   Where applicable, procedures for correcting registered fingerprints required for accessing the
    system.
■   Availability of services (e.g., Electronic Law Library, TRU-Unit Management, and Print) in
    secure areas of the institution (e.g., SHU). In addition, alternative procedures should be
    identified for ensuring core services are provided (i.e., ELL, modifying telephone numbers,
    sending funds).
■   Use of mailing labels for SHU or other areas of the institution in which there are special
    security concerns that limit regular access to TRULINCS.
■   Procedures surrounding electronic Request to Staff.
■   Procedures surrounding discipline for misuse of the system.
■   Where applicable, Video Service procedures.
■   Identification of local sex offender management staff responsible for reviewing Sentry CMA
    restrictions and recommending overrides.




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Chapter 2. GENERAL TRUST FUND OPERATIONS

2.1 HISTORY, OVERVIEW, AND NATURE OF THE TRUST FUND

a. History of the Trust Fund. In 1930, Department of Justice Circular No. 2126, titled Rules
Governing the Control of Prisoner’s Funds at the Several Penal and Correctional
Institutions (August 1, 1930), authorized and established a Commissary at each institution. The
Commissary was created to provide a bank-type account for inmate monies and “for the
procurement of articles not regularly issued as part of the institution administration.” Circular
2244, Rules Governing the Control of Prisoners Funds at Several Penal and Correctional
Institutions (January 1, 1932), superseded Circular No. 2126 and established separate U.S.
Treasury accounts for the “Prisoners Trust Fund” and the “Commissary and Welfare Funds.”

The existence and operation of the prison Commissaries was approved by Congress in 1932 in the
Department of Justice’s 1933 appropriation bill. In 1934, Congress designated the “funds of
federal prisoners” and “Commissary funds” as “trust funds” (31 U.S.C. 1321). Monies accruing
to these funds were appropriated and disbursed in compliance with the terms of the trust.

Section 108 of the Department of Justice, General Provisions, Department of Justice, Public Law
104-134 (April 26, 1996), provided that in Fiscal Year 1996 and thereafter, amounts in the Federal
Prison Systems Commissary Fund that are not needed for operations are kept on deposit or
invested in obligations of, or guaranteed by, the United States. Earnings on investments are
deposited in the Commissary Fund.

Section 108 of the Department of Justice, General Provisions in the Fiscal Year 1999 and
thereafter Omnibus Bill and Conference Report Language, Public Law 105-277 (October 21,
1998), clarified authority for expenditures from the Commissary Fund for an Inmate Telephone
System and for other purposes, regardless of whether such an expenditure is security-related, for
programs, goods, and services for the benefit of inmates (not otherwise prohibited by law),
including:

■ Installation, operation, and maintenance of the Inmate Telephone System.
■ Payment for equipment purchased or leased for the Inmate Telephone System.
■ Salaries, benefits, and other expenses of personnel who install, operate, and maintain the
  Inmate Telephone System.

The “Commissary Fund” is generally referred to as the “Trust Fund” and the “funds of federal
prisoners” as the “Inmate Deposit Fund.” The Trust Fund’s purposes remain essentially the same
as when created:

■ To maintain inmates’ monies (Deposit Fund) while they are incarcerated.
■ To provide inmates the privilege of obtaining merchandise and services either not provided by
  the Bureau or of a different quality than that provided by the Bureau.



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b. Program Overview. The management of inmate funds and the operation of the Trust Fund
are designed primarily for the benefit of inmates. Use of Trust Fund services is, however, a
privilege; the Warden or an authorized representative may limit or deny the privilege of a
particular inmate. Similarly, the maximum amount that may be expended by an inmate for Trust
Fund items or services is a controllable privilege.

The number of times an inmate may visit the Commissary is controlled by the administration of
each institution. The number of visits and hours of Trust Fund operations are set in accordance
with staff resources, considering time required for office duties, receiving, stocking, cleaning,
inventory management, etc.

c. Sole Agency for Purchase by Inmates. The institution Trust Fund operation is the sole
agency for purchase by inmates of approved articles or services not routinely supplied by the
institution.

2.2 TRUST FUND OPERATIONS AND CONTROLS. The Trust Fund (Treasury Account
Symbol 15X8408) and the Inmate Deposit Fund (Treasury Account Symbol 15X6085) are the
control accounts for Trust Fund operations. These two appropriation-level accounts and their
related general ledger accounts are maintained using Generally Accepted Accounting Principles
(GAAP), the automated financial accounting system, the Trust Fund Accounting and Commissary
System (TRUFACS), and the Inmate Telephone System (TRUFONE). Policy governing the
operation of these accounts follows in subsequent chapters of this Manual and the Program
Statement Accounting Management Manual.

The Assistant Attorney General for Administration may accept gifts or bequests of money for
credit to the Trust Fund Appropriation. The authority to accept gifts or bequests has not been
re-delegated.

a. Central Office. The Chief, Trust Fund Branch, is responsible for addressing questions of
policy, distributing funds, and allocating positions.

Principal financial statements and an annual report are prepared by BOP staff. The final report is
available to the public. Trust Fund financial records are audited or reviewed in accordance with
Department of Justice and Bureau of Prisons requirements.

b. Institution. The Trust Fund Supervisor has overall control at the institution of the Trust
Fund operation.

2.3 USE OF TRUST FUND FINANCIAL RESOURCES. This Chapter details the use of
Trust Fund financial resources. The Trust Fund Appropriation (15X8408) administers funds
distributed under the following Decision Units, which require expenditures under the designated
Cost Centers only:




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■ Decision Unit 1. Trust Fund Commissary Operations (Cost Centers 3214, 3216, 3225, 3230,
  3232, and C2); Commissary Renovations (Cost Centers 3220, C7, and V8); Program Review –
  TF (Cost Center 4107).
■ Decision Unit 2. Trust Fund Profit Sharing (Cost Centers 3229 and C5 for general profit
  sharing; S4, S5, S6, S9, and C8 for inmate programs).
■ Decision Unit 5. Trust Fund Limited Inmate Computer System (32Q2, 32C9, and C9).
■ Decision Unit 6. Trust Fund Training (Cost Center C6).
■ Decision Unit 7. Trust Fund Inmate Telephone System Operations (Cost Centers 32C4 and
  C4).

a. Trust Fund Operating Funds. The Trust Fund uses financial resources for:

■   Salaries and benefits for Trust Fund employees.
■   Commissary resale merchandise.
■   Services for the operation of the Trust Fund and Deposit Fund systems.
■   Trust Fund and Deposit Fund systems.
■   Commissary, TRULINCS, and TRUFONE personal property (freezers, safes, shelving, etc.).
■   Commissary, TRULINCS, and TRUFONE operating supplies.
■   Compensation for inmate workers assigned to the Commissary.

b. Trust Fund Reserve Funds. The Trust Fund maintains financial reserves for:

■   Renovating Trust Fund facilities.
■   Replacing outdated equipment (capital expenditures).
■   Activating new Trust Fund facilities.
■   Initiating new Trust Fund programs.
■   Responding to unforeseen contingencies (sales merchandise and equipment replacement due
    to hurricanes, fires, etc.).

Requests for startup funds and positions for activating new facilities (Commissary and TRUFONE
operations) are forwarded from the Regional Activation Coordinator or Trust Fund Administrator
to the Chief, Trust Fund Branch, about eight months before the anticipated activation date.

c. Allocation of Funds and Positions (Trust Fund Appropriation). The Chief, Trust Fund
Branch, authorizes funds for Trust Fund operations; they are distributed through the Bureau
Budget Execution process. Obligation and accounting regulations for Appropriation 15X8408
are found in the Program Statements Accounting Management Manual and Budget Execution
Manual.

(1) Annual Requirements. The Chief, Trust Fund Branch, issues guidelines annually for
submitting budget requests for the upcoming year. The following units submit annual
requirements: Decision Unit 1 (Commissary Operations), Decision Unit 6 (Trust Fund Training –
submitted by the National Management and Specialty Training Center only), and Decision Unit 7
(Inmate Telephone System).


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Annual submissions for Decision Unit 2, Trust Fund General Profit Sharing, may be requested, but
are not required; the Chief, Trust Fund Branch, normally distributes these funds. The Trust Fund
Branch may provide funding for certain approved inmate benefit programs. Allocation of these
funds may be based on equity formulas, submission of proposals, or other processes as the Chief,
Trust Fund Branch, determines. Generally, Program Managers for specific areas such as
recreation, education, or psychology issue annual budget submission guidelines.

The Trust Fund Supervisor is Cost Center Manager for X4 Cost Centers (Decision Unit 1, Cost
Center C2, C7, and V8; Decision Unit 2, Cost Center C5; Decision Unit 5, Cost Center C9,
Decision Unit 7, Cost Center C4).

Use of a fund control system is mandatory for all Trust Fund purchases. The Trust Fund
Supervisor shall also be the Cost Center Manager for S&E Cost Centers C1, Inmate Services and
MW Warehouse Operations. The appropriate Cost Center Manager is responsible for funds
allotted to special inmate benefit programs.

Operating funds for overtime, uniform allowances, inmate pay for Commissary workers, incentive
awards, supplies directly related to Commissary operations, and Commissary resale items are
normally computed using equity formulas. Modifications to these funding levels and funds for
additional object classes are submitted using a Budget Development and Execution Requirement
form (BP-A0183) and a Budget Requirements form (BP-A0184) or other budget form the
institution uses. The Budget Execution Manual provides instructions for completing these
forms.

The Regional Trust Fund Administrator consolidates institution annual requests, including salary
requests, and submits them to the Chief, Trust Fund Branch.

(2) Salaries and Positions. The Chief, Trust Fund Branch, allots approved Trust Fund
positions through the Budget Execution process. Positions are normally allotted to institutions
based on an equity formula. Requests for Trust Fund positions are routed through the Regional
Trust Fund Administrator to the Chief, Trust Fund Branch, for approval. Funds from the Trust
Fund Appropriation are used to fund only the number of authorized Trust Fund positions. At no
time may Trust Fund funds be expended for the regular salary of any positions exceeding the
number authorized.

(3) Equipment Requirements. Funding requests for equipment are prepared with the annual
requirements and throughout the year as necessary using a Major Equipment Justification
(BP-A0135), and are submitted through the Regional Trust Fund Administrator to the Chief, Trust
Fund Branch, for approval and assignment of Special Authorization (SA) Numbers. Trust Fund
equipment may not be purchased without an SA number.

A special funding request is not required for the amount allotted annually to each site for minor
equipment.


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(4) Renovation/Construction Requests. Funding requests for renovation/construction of
Trust Fund areas are prepared with annual requirements and throughout the year as necessary.
Negative responses are not required. All items on the Trust Fund Renovation/Construction
Project Form (BP-A0904) are addressed.

(5) Additional Funding Requests. Institutions requesting funds exceeding the yearly
allotment for any designated category (Object Class) (e.g., emergency need for equipment
replacement, special needs for telephone services) route the request from the Warden through the
Regional Trust Fund Administrator to the Chief, Trust Fund Branch, for consideration. In all
cases, funds are approved before expenditure by the institution.

The Trust Fund Supervisor ensures the operation is managed within allotted budget resources
(funds and positions).

d. Trust Fund Profits. The Chief, Trust Fund Branch, reviews the Trust Fund’s financial status
annually to determine whether funds are available for distribution of profits to institutions. If
funds are not available, no distribution is made. If funds in excess of operating expenses and
required reserves are available, they may be distributed based on each institution’s population and
performance measured against established Performance Objectives.

Performance Objectives for the year may be announced in October. The evaluation of
performance and determination of the institution’s profit-sharing amount are made after the close
of the Fiscal Year. The Chief, Trust Fund Branch, distributes funds for expenditure in the next
year through allotment advice to the regions.

Note: In accordance with the terms of the trust, profits may not be used for the personal benefit of
individual inmates. Instead, they are to be used for the benefit or the opportunity to benefit all
inmates. Profits may not be used to purchase goods or services the BOP is required to provide to
inmates.

(1) Authorized Expenditures of Trust Fund Profits. Trust Fund profits may be expended on
items, services, and programs as follows:

■ Prizes and Awards – soft drinks, snacks (such as popcorn, chips, or ice cream), or other
  non-property items for field day events, recognition gatherings, talent shows, and bingo.
■ Recreation Activities – movies, cable television, educational tapes and books, board/card
  games and game tables, and entertainment such as guest speakers, plays, and musical groups.

    Note: Funds for purchasing movies and cable television are subject to restrictions. They
    may only be used to purchase a single premium cable movie television channel or a video
    license and video rentals.




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    If the institution has sufficient Trust Fund Profit Sharing funds, additional cable services such
    as ESPN, MTV, Black Entertainment Television (BET), or Univision (Spanish Channel) may
    be purchased. However, the institution is still limited to one premium movie channel if the
    institution does not purchase a video license and rentals. When available, institutions should
    consider other family channels.

    Satellite services may be purchased only when a request is approved by the Regional Director
    and the Chief, Trust Fund Branch.

■ Arts and Crafts Activities and instructors for arts and craft activities.
■ Recreation Programs, Equipment, Supplies, and Repairs – non-electronic score boards,
  team shirts, non-electronic musical instruments, recreational equipment and supplies, etc., and
  repairs directly related to the base recreation program not exceeding $3,000.

    Note: If a repair exceeds $3,000, no Trust Fund funds may be used for any part of it.

■ Holiday Programs – special seasonal programs, unit and visiting room holiday decorations,
  inmate holiday gift packages. Holiday packages shall not be provided to any inmates who are
  in disciplinary segregation at the time of the gift package distribution.
■ Inmate Health/Fitness Programs – instructors and supplies for wellness, nutrition, physical
  fitness, health fairs.
■ Children’s Items for children of inmates – games, books, toys, for visiting room play areas.
■ Activities of Inmate Organizations that the Warden approves under the Program Statement
  Inmate Organizations. This may include a special meal for an inmate organization event
  provided that the meal is provided in accordance with other Bureau policy.
■ Other items as approved by the Assistant Director for Administration under these guidelines.

    Note: The S&E Appropriation is used to purchase televisions for the housing units.
    Maintenance and repair of this equipment is also provided from S&E.

(2) Special Allotments for Inmate Programs. The Trust Fund may provide special allotments
for certain inmate programs. Only the specified amount of the Trust Fund allotment is used to
fund each program.

Inmate Performance Pay. Trust Fund provides an allotment for Inmate Performance Pay at
institutions. Only the specified allotment of the Trust Fund profit distribution is used to pay
inmate salaries (i.e., other profit sharing funds may not be used to fund additional inmates); this
allotment may not be used for other profit sharing purposes, or for other Trust Fund or S&E
purposes, unless approved by the Chief, Trust Fund Branch.

Base Recreation Operating Costs. Trust Fund provides an allotment for basic operating costs
of the Recreation program. This is used for contracts, supplies, equipment, and minor repairs not
exceeding $3,000 related to the mission of the Bureau’s inmate Recreation Program, unless



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approved by the Chief, Trust Fund Branch. This allotment may not be supplemented with other
S&E funds.

Note: The S&E Appropriation will continue to be used for staff-related expenditures such as
salaries, benefits, travel, and training.

Other Inmate Programs. The Trust Fund may provide special allotments for inmate programs
such as Bureau Rehabilitation and Values Enhancement (BRAVE), Resolve and Rehabilitate
Program, Mental Health Treatment Programs (e.g., Skills Program, Step Down Units, Habilitation
Program, Axis II Program), etc. An allotment may be used for contracts, supplies, and equipment
related to the program. Funds from these allotments may not be used to pay for employee
salaries, benefits, travel, or training.

(3) Prohibited Uses of Trust Fund Profits. Trust Fund profits cannot be spent for:

■ Individual items of clothing or property for inmates – sweat suits, shoes, bedding, etc.
■ Instruction (live or broadcast) or training equipment for boxing, wrestling, judo, karate, or
  other martial arts, or for purchasing bodybuilding or weightlifting equipment.
■ Electric or electronic musical instruments.
■ Premium movie cable television channels or video rentals that show R, X, or NC-17 rated
  movies, unless procedures are in place to prevent these rated movies from being viewed by
  inmates.
■ Pay-per-view television events or movies.
■ Projectors.
■ Construction or renovation of buildings, running tracks, gymnasiums, or playing courts and
  fields. See Section 2.3.c.(4) for approved renovations.
■ Security-related items – radios, handcuffs, fences, razor wire, high mast lighting, etc.
■ Prepared meals from outside sources, such as fast food.
■ Utility expenses – water, electric, etc.
■ Medical services, supplies, or medical equipment that are the responsibility of Health Services.
■ Barber Shop/Beauty Shop equipment/supplies.
■ Basic furniture for living units or the visiting room, such as chairs and tables; in-cell
  furnishings such as coffee pots or televisions.
■ Funds paid directly to inmates, loans to inmates, donations to charities, or dues to national
  organizations.
■ Other items or programs that the BOP is legally required to provide to inmates.

(4) Questions regarding appropriate uses of Trust Fund profits are directed to the Chief, Trust
Fund Branch.

e. Trust Fund Personal Property

(1) Purchase of Personal Property. Capitalized or non-capitalized personal property shall not
be obtained (through donation or purchased) without prior approval from the Chief, Trust Fund


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Branch. The definition of personal property is found in the Program Statement Property
Management Manual.

Personal property purchased from the Trust Fund Appropriation must be made to support Trust
Fund Programs. Normally, requests for personal property are submitted through the annual
budget request process. An individual Major Equipment Justification (BP-A0135) is submitted to
the Chief, Trust Fund Branch, through the Regional Trust Fund Administrator. If approved, the
request receives a Special Authorization (SA) Number, which appears on the Purchase Order in
the Request for Purchase block. The SA Number also provides authority to expend Trust Fund
funds for personal property items.

SA Numbers are required for purchase or rental of a copy machine used for inmate copy
operations. However, Department of Justice forms are not required when the copy machine is
funded through the Trust Fund Appropriation.

(2) Controlled/Capitalized Personal Property. Controlled or capitalized personal property
(see the Property Management Manual) purchased from the Trust Fund Appropriation is
entered into the SENTRY Property Management System (SPMS) and maintained in accordance
with the Property Management Manual.

Note: A waiver was granted to the Trust Fund to exclude non-capitalized TRUFACS/
TRULINCS computer equipment (computers, printers, scanners, etc.) from the controlled property
listing.

(3) Capitalized Personal Property Purchased From Profit Sharing Funds. Equipment
purchased from Trust Fund profit distributions is handled in the same manner as all other
capitalized personal property. Upon receipt, the item(s) are entered into the SPMS under the Cost
Center where it was purchased. The purchase of capitalized or non-capitalized personal property,
using Trust Fund Profit Sharing funds, does not require prior approval or a Special Authorization
(SA) Number from the Chief, Trust Fund Branch.

(4) Personal Property From Surplus Sources. Personal property may be acquired from
surplus sources, following procedures in the Bureau of Prisons Acquisitions Policy and the
Property Management Manual.

(5) Survey of Trust Fund Personal Property. Trust Fund Branch approval is not necessary
before disposal of Trust Fund controlled personal property that has met its life expectancy. A
Report of Survey (BP-A0111) is prepared per the Property Management Manual.

A copy of the Report of Survey for Trust Fund personal property damaged or lost through unusual
circumstances, such as fire or theft, is sent through the Regional Trust Fund Administrator to the
Chief, Trust Fund Branch, promptly after completion, with an explanation of the circumstances.




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(6) Transfer of Personal Property. Equipment, purchased with Trust Fund funds for use in
the Trust Fund operation, which is no longer being used should be made available to other Bureau
Trust Fund operations before being transferred to a non-Trust Fund Appropriation either locally or
at another institution. If efforts have been exhausted for transferring the property within the
Bureau, it may be offered as excess property outside the Bureau per the Property Management
Manual.

■ Transfer Between Institutions. Personal property may be transferred from one institution
  Trust Fund operation to another using the guidelines for transferring excess property outlined
  in the Property Management Manual and the SENTRY Financial Management Technical
  Reference Manual.

    Equipment may be transferred from one Trust Fund operation to another without Trust Fund
    Branch approval using the SPMS Transfer Out (TRO) function using the X4 Trust Fund
    Appropriation. When the Trust Fund Appropriation is used under the TRO function, entries
    are automatically posted in the automated accounting system.

    Staff responsible for inventory management only use X4 as the appropriation for the TRO
    function. Transfer through the S&E Appropriation is no longer required.

■ Transfer from Trust Fund to Other Appropriations. Institutions planning to transfer
  personal property from the Trust Fund Appropriation to another appropriation must submit a
  completed Stores Requisition, Invoice & Transfer Receipt (BP-A0100) through the Regional
  Trust Fund Administrator to the Chief, Trust Fund Branch, before transfer. This does not
  apply to equipment purchased under the Trust Fund profit sharing program.

(7) Trust Fund Equipment Priority List. Annually, institutions develop their equipment
needs along with the budget request for operational expenses in accordance with the Budget
Execution Manual. Each institution is given a minor equipment budget as a standard part of the
initial financial plan for purchasing Commissary-related equipment only. These funds may be
expended for minor equipment under one Special Authorization Number (provided with the
financial plan), except that these funds are not used to purchase computer equipment or peripherals
attached to any Trust Fund system, local area network (LAN), or wide area network (WAN).

An individual Major Equipment Justification (BP-A0135) is required for any requested major or
minor equipment (controlled, capitalized, and non-capitalized), in addition to the initial allotment
or for any computer equipment. Funding and Special Authorization Numbers for approved items
are included in the initial financial plan.

Supplemental requests, including the Major Equipment Justification (BP-A0135), for any major or
minor equipment are forwarded to the Chief, Trust Fund Branch, through the Regional Trust Fund
Administrator. If approved, a Special Authorization (SA) Number is assigned. SA Numbers are
placed on all procurement documents.



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2.4 TRUST FUND INMATE WORKERS

Inmates receive compensation from the Trust Fund Appropriation for work performed in support
of Commissary activities. Relatively short absences due to callouts, hospitalization, sick line,
etc., do not affect the period covered.

Inmates who are placed in Inmate Financial Responsibility Refuse Status and/or in Maintenance
Pay Status may not work in the Trust Fund operation.

a. Rate of Pay. The hourly rate of pay for inmates assigned to Commissary activities is:

$0.55 per hour starting.
$0.75 per hour after 3 months’ service, if warranted.
$0.95 per hour after 6 months’ service, if warranted.
$1.20 per hour after 9 months’ service, if warranted.

Any increase in pay (not to exceed $1.20 per hour) is based on the inmate’s work performance and
availability of funds.

b. Bonus Pay. Bonus Pay may be awarded to Trust Fund inmate workers. It may not exceed
one-half of the inmate’s monthly pay. A recommendation is made by the work assignment
supervisor.

c. Part-time Workers. Inmates working part-time in the Commissary during the evening and
at other jobs during the day may be paid Inmate Performance or UNICOR pay for daytime jobs
and Trust Fund pay for evening work. Good judgment must be used when employing an inmate
in two areas, considering both work schedules and security conflicts.

d. Restrictions on Inmate Duties. Inmates do not access any Trust Fund systems except
through TRUFONE or TRULINCS. Inmates do not have access to Trust Fund computer
manuals. Inmates never handle other inmates’ original Commissary sales receipts, or aid in sales
reconciliation procedures. Inmates do not participate in Commissary inventories other than
organizing stock to facilitate inventories. Inmates do not handle documents related to the Inmate
Telephone Service, unless authorized in this Manual or other policy.

2.5 PURCHASING OF NON-RESALE ITEMS

Trust Fund funds are used to purchase supplies and equipment directly related to Trust Fund
functions. Trust Fund contracts and purchase orders are subject to the same rules, regulations,
and limitations governing institution transactions. Funds are not used to procure plumbing,
electrical, air conditioning, or any other maintenance equipment and supplies except under the
formal Trust Fund renovation process.




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The Government Purchase Card Program is used to procure Trust Fund supplies, equipment, and
services, as authorized in the Program Statement Bureau of Prisons Acquisition Policy.




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Chapter 3. COMMISSARY OPERATIONS

3.1 SECURITY

a. Commissary Security. Security is of high importance to staff involved in Trust Fund
operations. Merchandise lost through negligence or theft by inmates reduces funds available for
the Trust Fund. The minimum security standards for Commissary procedures are:

■ Inmate workers entering or leaving the Commissary are pat searched. Occasional visual
  searches (strip searches) are authorized and shall be conducted per the Program Statement
  Searches of Housing Units, Inmates, and Inmate Work Areas.
■ A staff member supervises the removal of all trash leaving the Commissary. Boxes and
  cartons shall be broken down.
■ Inmates who steal merchandise from the Commissary shall be subject to disciplinary action per
  the Program Statement Inmate Discipline Program.
■ No more inmates than staff can manage and control are permitted to work in the Commissary.
  Inmates shall never work in the Commissary without staff supervision, and shall never be
  locked in the Commissary without a staff member present.
■ At least annually, a Correctional Services staff member shall perform a complete security
  review, including a check of the physical facilities of the Trust Fund operation. A written
  report must be sent to the Trust Fund Supervisor. The Trust Fund Supervisor will then notify
  the Chief, Trust Fund Branch, through the Regional Trust Fund Administrator of significant
  problems identified in the reviews.

b. Key Security. Trust Fund operation keys are “restricted” keys and are to be issued only to
designated staff. The Trust Fund Supervisor and employees assigned to the Commissary may
have keys to the Commissary and storage areas on a 24-hour check-out basis. Employees not
directly assigned to the Commissary or storeroom do not have keys to these areas. A key to the
Commissary and storage areas is kept under glass in the control room for emergencies (e.g., fire or
refrigeration breakdown).

When it is in the Bureau’s best interest that Trust Fund keys remain at the institution, use the
following procedures: A special wood/metal box(s) with a glass front, large enough to contain
the entire Trust Fund key ring(s), or an individual Trust Fund key ring, kept within the control
room.

At the end of each work day, the Trust Fund ring(s) is locked securely in this box. A key to the
locked box may be checked out on a 24-hour basis to employees assigned to the Commissary and
the Trust Fund Supervisor. In an emergency, the glass may be broken to obtain the keys. After
any such incident, a memorandum is sent to the Warden with a copy to the Captain and Trust Fund
Supervisor documenting the situation that required emergency access.

c. Hot Room Security. Each institution establishes local procedures for a “hot room” in the
Warehouse to secure Trust Fund merchandise not directly received into the Commissary. The


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“hot room” is a secure locked area in the Warehouse separate from other storage areas. Only
Trust Fund merchandise is stored there. Inmates are not allowed access to the “hot room” unless
supervised by Warehouse/Trust Fund staff. When Warehouse space is not available, Trust Fund
merchandise is received directly into the Commissary. Trust Fund merchandise is never left in an
unsecured area.

d. Merchandise Security. To ensure that sales items are not concealed inside one another or
otherwise mishandled, a staff member passes merchandise through the sales window to the inmate.
Staff do not rely on inmate employees for a count of the quantity sold or for item numbers of the
merchandise sold.

Exercise care in moving inventory from the Warehouse to the Commissary. When merchandise
must be moved across the compound, consider a covered, securable container. No more inmates
than can be properly supervised are used to transport merchandise.

Small valuable items (copy cards, MP3 players, etc.) are kept in a secure locked location. Only a
reasonable number of items expected to be sold during a sales period are removed from the secure
location.

e. Postage Stamp Security. Due to the unique risk associated with management of postage
stamps in a correctional environment, the following procedures are required. Postage stamps
brought to the sales counter are secured in a locking drawer, cabinet, or other lockable container at
the sales counter, and returned to the safe when sales are not being conducted. All stamp transfers
must be generated utilizing TRUFACS and require both staff signatures. The stamp transfer
receipt shall be maintained in the receiver’s stamp compartment until the next semi-annual
inventory is reconciled.

TRUFACS updates each Warehouse/Trust Fund staff member’s stamp inventory automatically as
stamps are sold. Each Warehouse/ Trust Fund staff member reconciles the physical stamp
inventory to the TRUFACS stamp inventory at the end of the day. Any overages/shortages
identified during the physical count are reported in writing no later than the following business day
to the Trust Fund Supervisor.

The Trust Fund Supervisor then enters an inventory adjustment in TRUFACS that is added to the
other adjustments for that accounting period. The overage/shortage in TRUFACS for that
accounting period generates a Semi-Annual Inventory Adjustment. The Trust Fund Supervisor
makes all reasonable efforts to ensure the affected Warehouse/Trust Fund staff member’s
inventories are adjusted in TRUFACS before beginning additional sales.

Note: Under no circumstances may staff members set aside any stamp overage to offset a
potential future shortage. Commissary stamp inventory is maintained only in TRUFACS.

f. Postage Stamp Storage. A fire-resistant, sturdy cabinet/safe with separate combination
locking compartments is used to keep the stock of stamps for the Commissary. This cabinet/safe


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must be physically substantial or secured to the building structure or floor. Compartments are
numbered or labeled on the outside door of each. Staff will lock the safe compartment door when
stamps are kept in the safe.

Note: Institutions with existing file cabinets/safes with separate key locking compartments may
keep them. New cabinets/safes must contain combination locking compartments.

The file cabinet/safe is kept in a room or office that is secure and separate from the general
Commissary stock areas. The safe cannot be in an area where inmates may have an opportunity to
tamper with it. Inmates are never in the room/office when the door(s)/compartment(s) are
unlocked. Ideal locations include a locked Commissary staff office or “hot room.”

Each staff member handling stamps is assigned a separate compartment with a separate
combination lock. Only the individual assigned to a compartment has the combination. The
employee seals a duplicate combination to each separate compartment within the safe in a separate
envelope with his/her signature and date across the seal. The statement below appears on the
envelope; the employee hand-carries the envelope to the security officer, who obtains a Warden’s
signature and keeps it in the telekey cabinet:

    “This envelope containing the duplicate combination to (insert employee’s name)
    compartment number (insert compartment number) of the Commissary safe containing
    stamps shall be opened only in the presence of the Trust Fund Supervisor, a Union
    representative, and one of the following staff members:

    Business Administrator
    Supervisor of Warehouse operations (only if the envelope does not contain the key/
     combination to this individual’s compartment)
    One other OFM/Trust Fund employee”

    Signed
                 (Warden)

    Date

Procedures listed below are followed when a sealed envelope/compartment is opened:

■ Inventory and compare the number of stamps in the compartment with the information in
  TRUFACS. Document the results of each stamp denomination inventory in the compartment
  on the TRUFACS Stamp History by User Screen.
■ Transfer the contents to another appropriate employee using TRUFACS.
■ Have the employees who witnessed the opening of the envelope document and sign the
  inventory.
■ Provide copies of the inventory to the previous employee who used the compartment and the
  Trust Fund Supervisor.


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No employee, other than the Trust Fund Supervisor and the member of the Warehouse/Trust Fund
staff assigned a compartment, has access to the combination to the external door of the safe, if
applicable.

Safe combinations shall be changed at least once each year. Individual compartment
combinations are changed whenever there is a change in staff in a Commissary position using the
particular compartment. Institution security officers, or locally procured services of a security
officer, may be used to obtain technical instructions for changing combinations. A log will be
kept indicating date and reason for the change.

The actual setting of the new combination(s) is personally performed by the staff member assigned
to the compartment. The security officer must not know the combination.

3.2 SPENDING LIMITATION. It is Bureau policy to allow inmates the opportunity to
purchase goods in the Commissary. To lessen the disparity between affluent inmates and inmates
with few resources, the Bureau has implemented a spending limitation of $360 per month.

The spending limitation is the maximum amount an inmate is allowed to spend per month on sales
items not excluded from the monthly spending limitation, described in paragraph b. below.

The spending limitation may be increased by $50 during the November/December holiday period.
The increased spending limitation for each inmate is in effect for no more than one validation
period.

a. Limitations. Each Warden sets a monthly spending limitation not to exceed the national
limitation for Commissary sales. To enable institution management to control or restrict
gambling and other illicit activities involving payoffs, local controls (including quantity
limitations) may be set to restrict trafficking of Commissary items.

b. Exclusions from the Spending Limitation. The only items excluded from the spending
limitation are:

■ Postage stamps.
■ Nicotine Replacement Therapy (NRT) patches.
■ Over-the-counter medications/medical products/vitamins/mineral supplements as defined in
  Section 3.3.f(15).
■ Kosher/Halal shelf-stable entrees for inmates who are FRP Refuse.
■ Copy cards and copy paper.

c. Revalidation of Spending Limitation. The spending limitation is automatically revalidated
once per month for each inmate except where weekly or bi-weekly validation is used.




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3.3 ITEMS TO BE SOLD IN THE COMMISSARY

a. Item Determination. Within the following guidelines, the Warden and designated staff
decide, based on the security, programs, climate, character and composition of the inmate
population, as well as Trust Fund infrastructure limitations, what items to sell in the Commissary.
Consumable items and medical items sold shall complement, not supplement, diet and medical
care provided to the inmate population.

Institutions are encouraged to offer Commissary goods that are acceptable for inmates with
religious dietary restrictions. To expand the availability of foods for Islamic and Jewish
adherents, when costs are comparable and products meet the needs of the institution, products
should be selected from a variety of name-brand foods that have a reliable kosher certification or
are free of pork and pork by-products.

In addition, during the week of Passover each year (early spring), inmate requests for certified
kosher-for-Passover snacks should be accommodated using normal Trust Fund procedures.
Information about the products and certifications is available from the institution Chaplain or the
Religious Services Branch, Central Office.

b. Approved Items. Each institution establishes items approved for sale through the
Commissary. Per the Program Statement Inmate Personal Property, a list of all items identified
“for local use only” is posted in the immediate Commissary area; these items are identified on the
shopping list.

c. Product Warnings or Caution Labels. Any product that displays a caution or warning label
(flammable or toxic) must be reviewed by the Trust Fund Supervisor and the institution Safety
Committee before stocking.

d. Requests for Review of Questionable Sales Products. The Warden refers questionable or
controversial items under consideration for sale to the Chief, Trust Fund Branch, for final
determination.

e. Quantity of Items. The selection of Trust Fund items to be stocked should not be so great as
to place a burden on the storage facilities, sales space, and staff. The number of total items sold in
the Commissary cannot exceed 600, excluding over-the-counter medications and healthy
Commissary food options.

Note: Soups are considered one item regardless of the number of brands; stamps are one item;
cookies are one item; sodas are one item; candy bars are one item; etc. Make efforts to stock
items that have a Universal Product Code (UPC) whenever possible.




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f. Categories and Examples of Products Approved for Sale in the Commissary.

(1) Edible Items

■ Cookies, crackers, potato and corn chips, doughnuts, candy bars, bagged candy, peanuts,
  mixed nuts, dry cereal.
■ Items not requiring refrigeration before opening, such as tuna fish, sardines, salmon, potted
  meats, Vienna sausage, sandwich meats (Spam, Treet, etc.), dried beef sticks, chip dips, and
  processed fruit.
■ Frozen items (such as pizza, ice cream, yogurt, sherbet, and ice cream novelties), provided that
  adequate freezer storage is available before sale. These items may only be sold in such
  quantities that ensure they are eaten before the need for refrigeration.
■ Peanut butter, honey, dry soup mix, bouillon cubes, etc.
■ Nutrition bars such as Balance that are not marketed as body-building or weight-enhancing
  and do not contain unauthorized supplements. Bars must have less than 25 grams of protein
  and carbohydrates in one serving size.
■ Sugar-free snacks, such as diet carbonated drinks, instant drinks, and candy.

(2) Healthy Food Options. The Trust Fund Branch, with the Health Services Division, makes
a list of the types and minimal amounts of healthy food options approved for sale. This list may
be found on Sallyport. These items should be stocked in Commissaries, as outlined by category
and indicated number of offerings. Additional healthy food items not on the list can be offered in
addition to the food identified, as determined at the local level.

(3) Kosher/Halal Shelf-Stable Entrees. The Commissary must make available for purchase,
or sell through the SPO Program, a minimum of four Kosher/Halal-certified entrees. Individual
entrees should be fully cooked and can be consumed without reheating and contain the Kosher and
Halal certification on the label. Direct questions concerning proper certification to the
Chaplaincy Services Branch, Central Office.

Note: Inmates are limited to purchasing 14 shelf-stable entrees per Commissary visit, and may
not have more than 21 shelf-stable entrees in their possession. However, Wardens may limit the
number of entrees stored in inmates’ cells to fewer than 21 for inmates at the ADX Florence,
Colorado, or in any special housing unit or hospital, if a limitation is necessary for security and
sanitation.

(4) Beverages and Related Items. Instant drinks such as coffee, tea, Tang, Kool-Aid, hot
chocolate, powdered milk; condiments such as non-dairy creamer and sugar; carbonated drinks
such as Coca-Cola, Pepsi-Cola, Royal Crown Cola, and Seven-Up; juices such as apple, orange,
grape, pineapple, and grapefruit.

(5) Postage Stamps. The Commissary may sell a maximum of five different denominations of
stamps. The only first class stamp purchased for resale will be the “Forever” stamp. The
Commissary may stock pre-stamped international postage envelopes. The Commissary must


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have sufficient stamp denominations to allow mailing of domestic letters, letters in excess of one
ounce but not requiring an additional first class stamp, foreign mail, packages, registered or
certified letters or packages, and any other charges attributable to mail privileges.

Ordinarily, the Commissary sells no more than 20 postage stamps (for first class, domestic,
one-ounce mailing), or the equivalent per Commissary visit. An exception may be made where
visits are limited to one per week or less, in which case the Unit Manager may authorize in writing
additional purchases based on a demonstrated need. The authorization should be scanned into
TRUFACS.

(6) Radios. Only clear digital radios (AM/FM) are permitted for sale. Radios are
battery-operated, receive only AM/FM frequencies, and are equivalent to a Sony Walkman type
AM/FM (Digital) – that is, a “Walkman”-type radio/receiver that can only be listened to using
earphones, has been approved by the Warden, and has performance and characteristics that comply
with Federal Communication Commission (FCC) requirements in 47 CFR, part 15, subpart C.

(7) Watches. Watches ($100 maximum selling price, no stones, electronically unsophisticated
[i.e., cannot send or receive signals]) and watch batteries.

(8) MP3 Players. In order to provide an additional method to disseminate information, provide
educational materials, provide inmates access to music at remote locations, and provide access to
culturally diverse music, the MP3 player identified by the Central Office, Trust Fund Branch, is
sold in the Commissary. This MP3 player may only be ordered from the vendor identified by the
Central Office, Trust Fund Branch, to ensure the special security features and interface with
TRULINCS function correctly.

The players will have many of the normal features deactivated (Micro SDHC slot, microphone,
etc.) for security purposes. The players will be programmed with security controls that will link
each player to a specific inmate. Once the player is activated it will display that inmate’s name
and register number.

The player casing will be at least partially clear.

The decision to allow MP3 players in Special Housing Units (DS/AD) or any other special units is
made locally.

The MP3 chargers (including covers) used to charge the MP3 players must conform to the
specifications provided by the Central Office, Trust Fund Branch. The setup of these stations will
be determined locally.

If an MP3 player fails within the warranty period, the inmate is responsible for shipping the
warrantied MP3 player and required documentation to the vendor in accordance with the
manufacturer’s warranty agreement.



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Inmates must purchase a replacement MP3 player in order to access previously purchased music.

(9) Electrical Appliances. Fans may be sold on a local-option basis where weather conditions
dictate and the electrical system can handle them.

(10) Miscellaneous

■ Writing supplies (pens, pencils, paper, envelopes, greeting cards, and address books); alarm
  clocks; word spellers; plastic bowls; cups and hangers; wallets; small purses; athletic and
  cosmetic bags; tokens for laundry or copy services; and TRUFACS-generated photo vouchers.
■ Playing cards, fingerless athletic gloves, handball gloves, harmonicas, racquet and tennis balls,
  weightlifting belts/gloves/wraps, and softball gloves.
■ Master Lock Padlock #1525 or equivalent that is keyed V-85 is the only combination padlock
  permitted in accordance with the Security Officer’s direction.

(11) Clothing. The following items may be sold in accordance with restrictions identified in the
Program Statement Inmate Personal Property and that are appropriate for the institution.

■ Athletic supporters.
■ Bathrobes (no hoods); males white or gray/females white or pastel green.
■ Baseball caps (no logos); males white or gray/females white or pastel green.
■ Gym shorts; males white or gray/females white, pastel green, or gray.
■ Handkerchiefs; white.
■ Headbands/sweatbands; white.
■ Knee wraps.
■ White socks.
■ Stockings/pantyhose; females skin tone.
■ Sweatpants (cotton/no logos); males gray/females white, pastel green, or gray.
■ Sweatshirts (cotton/pullover/no hoods/no logos); males gray/female white, pastel green, or
  gray.
■ T-shirts/sleeveless undershirts (no pockets/no logos); males and female white or gray.
■ Underwear; males white or gray boxers or briefs/females white bras and panties.
■ Religious headgear (see the Program Statement Religious Beliefs and Practices).

(12) Shoes. The following may be stocked or sold through the SPO process:

■ Athletic, specialty shoes (e.g. a court, turf, basketball, or running shoe) ($100 maximum
  selling price with no pumps, no pockets) in black or white, or a combination of black or white,
  or with gray/silver markings (no other colors allowed) (2 pr).
■ Casual (such as hushpuppies) (1 pr).
■ Shower (1 pr).
■ Slippers (1 pr).
■ Work (ASTM Standard F2412-05 and F2413-05) (1 pr).



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(13) Toiletries. Common items such as soaps, deodorants, hair grooming supplies, shaving
supplies, general cosmetics, and other grooming aids.

(14) Hygiene Items. Non-prescription drugs and personal hygiene items that are sold
over-the-counter in drug and grocery stores may be considered using these examples as guidelines.

DENTAL PRODUCTS

Toothbrushes
Denture brushes
Dental bridge cleaners such as Dentu-Creme
Toothpaste
Unwaxed dental floss
Floss threaders
Denture adhesive (powder or paste)
(See Section g. on the prohibition on denture cleaning tablets)

MISCELLANEOUS PRODUCTS

Mouthwash (non-alcoholic)
Contact lens solutions
Disposable douche
Suntan lotion
Magic Shave
Wheat germ
Artificial sweeteners such as Saccharin and Nutra-sweet
Band-Aids
Earplugs
Lip ointments (such as Chapstick)
Moisture lotion (such as Keri, Intensive Care, generic)

PERSONAL HYGIENE PRODUCTS

Deodorants (such as Right Guard)
Bar soaps (such as Zest, Ivory, Neutrogena, generic)
Disposable plastic razors (such as Bic)
Shaving cream
Shaving brushes
Combs and brushes
Feminine hygiene products (such as Tampax)
Hair shampoos and hair conditioners
Laundry soaps/detergents




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(15) Over-the-Counter Medications/Medical Products/Vitamins/Mineral Supplements.
The Trust Fund Branch, with the Health Services Division, makes a list of over-the-counter
medications/medical products approved for sale. This list may be found on Sallyport. At least 25
of these items must be stocked in Commissaries. At no time can expired over-the-counter
medications or medical products be sold.

(16) Sale of Hair Dye. The following procedures shall only apply to Low Security or higher
female institutions where there is an established Vocational Technology Cosmetology Program.

An inmate may only buy a hair dye coloring product that is closest to the inmate’s natural hair
color. The primary colors will be black, red, brown, and blonde. Hair dye may be stocked or
sold through the SPO process. Hair dye sold in Commissaries shall be free of ammonia.

At purchase, an authorization signed by a Bureau Education staff member or Education contractor
must be verified to include:

■   Date.
■   Inmate’s committed name.
■   Register number.
■   Natural hair color authorized for purchase.

This authorization allows the inmate to purchase one unit of hair dye at a time. Trust Fund staff
will forward the hair dye and completed authorization form to the Education Department for
secure storage.

Local procedures will be addressed in a Commissary Institution Supplement or as a component of
a consolidated supplement on Trust Fund Operations specifying Commissary Operations. At a
minimum, the following is addressed:

■   Identify staff/contractor to ensure direct supervision of inmates while using hair dye.
■   Identify procedures for staff/contractor that will pick up the hair dye.
■   Identify procedures to be used for disposal of unused hair dye.
■   Identify the frequency an inmate may purchase hair dye.
■   Identify procedures to direct inmates who dye their hair to retake their photo.
■   Identify procedures for securing the hair dye after purchase.

At locations where there is not a Vocational Technology Cosmetology Program, similar
procedures will be established to ensure proper use and accountability of hair dye.

(17) Medications for Smoking Cessation Programs. In accordance with the Program
Statement Smoking/No Smoking Areas, Nicotine Replacement Therapy (NRT) patches may be
sold. NRT patches may be stocked or sold through the SPO process.




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At purchase, an authorization signed by a Bureau health care provider must be verified to include:

■   Date.
■   Inmate’s committed name.
■   Register number.
■   Specific dosage of NRT patches authorized for purchase.

This authorization allows the inmate to purchase one two-week supply of NRT patches at a time
while in the program. The Commissary makes available Nicoderm brand NRT patches in several
dosages (7 mg, 14 mg, and 21 mg), each sufficient for a two-week supply. No other cessation
products such as gum or lozenges are authorized. Trust Fund staff forward the completed
authorization form to the Health Services Department.

(18) Standardized Female/Transgender Items. The Trust Fund Branch, with the Health
Services Division and Reentry Services Division, makes a list of standardized items, not to exceed
25 items, that must be offered to female inmates and inmates identified in SENTRY as
transgender. The items may be stocked for resale in the Commissary or made available via SPO.
This list may be found on Sallyport.

g. Items Prohibited from Sale in the Commissary. Certain items are prohibited from sale, for
example:

■   Bedding/linen (pillows, pillowcases, sheets, blankets, mattresses, etc.).
■   Tobacco products and smoking accessories.
■   Coins.
■   Protein/carbohydrate products, any product formulated as a tablet, capsule, liquid, powder, or
    bar that is described as “high protein,” “amino acid,” “high calorie,” or “high carbohydrate,”
    associated with body building, muscle enhancing, or weight lifting. Examples: Muscle
    Charger, 90% Protein Powder, Protein Plus, Muscle Majic, Sports Factor, Egg Protein, Hot
    Stuff, MET-RX, Muscle Stuff, Creatine, Carbo Plus, etc.
■   Prepared meals from outside sources such as Domino’s Pizza, Kentucky Fried Chicken,
    Burger King burgers/fries, etc.
■   Any item containing poppy seeds.
■   All canned foods.
■   Food items that cannot be kept at safe temperatures to prevent the growth of dangerous
    microorganisms before or after sale. Potentially hazardous food means any perishable food
    that consists in whole or part of milk or milk products, eggs, meat, poultry, fish, shellfish, or
    other ingredients capable of supporting rapid and progressive growth of infectious or toxigenic
    microorganisms. Perishable food means any food that may spoil.
■   Fresh fruit and fresh vegetables.
■   Beard trimmers and electric/battery-operated shavers.
■   Medications, other than those referenced in Paragraph 15 above, not specifically approved by
    the Chief, Trust Fund Branch, and the Health Services Division.



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■ Medications, other than those referenced in Paragraph 15 for treatment of acne skin conditions,
  which contain benzoyl peroxide (such as Oxy 10 Lotion, Benoxyl 10 Lotion, Acne 10, and
  generic benzoyl peroxide lotions and washes).
■ Vitamins, other than those referenced in Paragraph 15.
■ Bromo-Seltzer.
■ Products containing olive leaf extract.
■ Products for denture cleaning that are effervescent tablets/powders such as Efferdent and
  Polident.
■ Cold medications that contain pseudoephedrine, such as Sudafed.
■ Loaves of bread.
■ Dietary supplements such as amino acids in the form of tablets, capsules, liquids, or powders;
  desiccated liver tablets; ginseng; C.O.Q.10; gamma oryzanol, etc.
■ Products that contain manufactured L-Tryptophan pursuant to Food and Drug Administration
  (FDA) direction.
■ Any item not approved by the FDA (e.g., garlic pills or tablets, green tea) unless otherwise
  recommended and approved by the Health Services Division, Central Office.
■ Any item containing hemp seed oil.
■ Smoking cessation products other than nicotine patches.
■ Electrical appliances, except fans.
■ Musical instruments, except the harmonica.
■ Lighters or lighting paraphernalia, gas- or liquid-fueled or fueled by flammable material.
■ Products in aerosol containers.
■ Products containing chlorine as an active ingredient.
■ Computer/calculator devices that allow programming or password protection of information.
■ Magazines.
■ Items with a unit price of $100 or more unless approved, in writing, by the Warden. This
  authority may not be re-delegated below the level of Acting Warden.
■ Radios capable of picking up shortwave, UHF, VHF, and television bands.
■ Combination radio/tape players, recorder/tape players, recorders, compact disc players, video
  games, computer games, or portable televisions.
■ Hair dye at FDC, FTC, MCC, MDC, and all-male institutions.
■ Containers of crushed red pepper spice.
■ Individual MP3 chargers.
■ Mineral/baby oil.

3.4 PRICING

The selling price of each item sold in the Commissary is calculated automatically in TRUFACS
based on the actual cost and mark-up of the item. Use the following procedures to determine
selling prices.

a. Cost Price. The cost of an item is established in TRUFACS when the initial Receiving
Report is generated. The cost is based on a sellable unit, defined as the smallest individual unit
sold in the Commissary. In the rare case when the purchase of a non-SPO regular item includes a


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shipping charge, the shipping charge shall not be included when determining the cost price of the
item.

b. Mark-up and Selling Price Computation. The mark-up for the selling price of each item
ordered and sold in the Commissary is automatically calculated based on the cost and mark-up
selected in TRUFACS. The mark-up is based on the following:

0%                         See paragraph d. below.
30 to 40%                  Standard items/SPOs purchased. The standard/SPO mark-up parameter
                           will be set at the National level.
Pre-Printed                Sales price printed on packaging (see below).
Non-Physical               Selling price of items not physically maintained in inventory (e.g., photo
                           vouchers).

Generally, the Federal Government does not pay taxes (State, local, or Federal) on purchases.
However, when payment of taxes is required, these steps are followed:

■ Divide the total tax charge(s) by the number of sellable units taxed.
■ Add the tax per sellable unit to the cost price of the lowest sellable unit.
■ Use this amount as the cost price for receiving purposes.

Occasionally, the selling price, rounded to the next highest nickel, may exceed the manufacturer’s
printed price. Then the selling price must be set at the manufacturer’s pre-printed price, even
though it may be in odd cents. In instances when the calculated selling price is less than the
manufacturer’s printed selling price, the calculated selling price is used. Pre-printed applies only
to pre-printed, packaged, “across the counter” sales items (potato chips, pretzels, etc.). It does not
apply to catalog prices such as those for SPO items (e.g., leather companies’ catalogs).

c. Coupons/Tokens. Coupons or tokens sold through the Commissary and used to purchase
items or services are, without exception, marked up in the same way as stocked items.

d. Selling Price With No Mark-up. The following regularly stocked items or SPOs have no
mark-up added to the cost and are not rounded to the next $0.05:

■   Postage.
■   Self-improvement textbooks.
■   Correspondence courses.
■   Tools and materials for educational/vocational training.
■   Law books or other legal materials.
■   Religious articles (excludes edible items).
■   Smoking Cessation Program materials.
■   Passover meals during Passover.




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e. Selling Price Change Trust Fund Merchandise. Old and new stock may not be maintained
at different selling prices. Once new merchandise is received at a price other than the current
selling price (either higher or lower), the selling price changes for all identical items in stock.

Example: 17 units selling for $0.35 each are in the Commissary; 120 units of the identical item
are received. The new shipment of 120 units cost $0.20 each. The computed selling price is
$0.26 each and requires rounding to $0.30 each. In addition, the selling price of the 17 units on
hand decreases to $0.30.

f. Trust Fund Price Lists. Institutions distribute lists of Commissary items and their selling
prices to help inmates prepare shopping lists in advance.

g. Refunds/Exchanges. Sales are final after the inmate accepts/inspects the item(s), receives
the sales receipt, and leaves the Commissary, except for undamaged, unactivated MP3 players in
the original packaging.

h. Warranties. Inmates may have damaged warrantied items repaired/replaced by the vendor;
however, items repaired/replaced (excluding Commissary-purchased MP3 players) shall be
forwarded to an outside address at the inmates’ expense. Inmates may elect to have warranty
claims for Commissary-purchased MP3 players shipped to their designated Federal institution. If
mailed to the institution, the package is addressed to the attention of the Trust Fund Supervisor and
returned to the inmate.

i. Manufacture/Retail Coupons. Coupons are not honored at the Commissary.

j. Rebates. Institutions shall not accept cash rebates for merchandise purchases.

k. Samples. Non-food product samples received from a vendor are returned to the vendor or
destroyed after evaluation. Food samples considered for sale in the Commissary are only
sampled by staff designated by the Trust Fund Supervisor. A sample is any item not currently
sold in the Commissary.

l. Promotion/Quantity Discounts. Items identical to those ordered received with an order as
part of a promotion or quantity discount are received via a Receiving Report and the cost per item
computed using the total quantity received.

If promotional or discounted items are received after the original order Receiving Report has been
processed, a donated Receiving Report is prepared using the latest cost price and selling price for
that item. A non-TRUFACS donated receiver is entered into TRUFACS as an inventory
adjustment.




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3.5 SPECIAL PURPOSE ORDERS (SPO)

It is not practical to stock all approved items of a special nature, such as books, hobbycrafts, etc.
An SPO is an inmate request to purchase an approved item or items not routinely sold in the
Commissary. Periodic reviews are made to determine whether any SPO item should be included
as a routine stock item. SPOs are not approved solely for ordering a different color, brand, or
quality of an item currently sold. Requests to purchase these items are approved on an individual
basis.

Inmates are limited to one SPO per month. The maximum dollar amount allowed for SPO items
is $300 (cost price excluding shipping charges) per quarter. Exceptions may be made for projects
which require items to be purchased from more than one vendor.

The Warden approves, in writing, individual leather items with a unit cost of $100 or more for sale
to inmates. The Warden also approves leather items whose size could pose a security risk. This
authority cannot be re-delegated.

a. Inmate Procedures. Inmates desiring special purpose items submit a signed Special Purpose
Order Request – Inmate (BP-A0200) to designated staff.

Note: The SPO Request form is used in place of the Request for Purchase (BP-A0101), and the
documentation for Inmate Personal Property Record (BP-A0383). TRUFACS generates a
Purchase Card Purchase Order or a Purchase Order and Receiving Report.

b. Approval Process. The approving official verifies that the SPO Request form is complete,
includes current prices and catalog numbers, and, if the inmate is on FRP Refuse status, that
purchase limitations outlined in the Program Statement Inmate Financial Responsibility
Program are not exceeded.

Note: Inmates in FRP Refuse status may not be denied the ability to purchase Kosher/Halal
shelf-stable entrees through the SPO Program.

The approving official ensures that limitations such as frequency of orders, single order maximum
dollar amount, or quarterly dollar amount are not exceeded.

Approval is indicated on all copies of the SPO Request. After the approving official signs it, it is
delivered to the Trust Fund Supervisor in a secure manner.

c. Numbering. TRUFACS assigns the SPO number as a special item number that is sequential
following the two-digit fiscal year (FY 05; 05-0040, 05-0041). The item description contains the
SPO number and the amount is encumbered automatically when the TRUFACS SPO is created.
The TRUFACS-generated SPO number is recorded on the original SPO Request.

Ordinarily, SPOs are ordered and entered on a weekly basis following receipt by Trust Fund staff.


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d. Markup. The calculation for the selling price is based on cost, markup, and transportation
charges.

e. Encumbrances. The inmate’s account is encumbered automatically for each SPO ordered in
TRUFACS. The Trust Fund Supervisor ensures the SPO Request form is returned to the
Approving Official if an SPO was rejected based on insufficient funds, exceeding the monthly
quantity limit of SPOs or quarterly dollar limitations, spending limit restriction, or FRP Refuse
status. If an inmate refuses to purchase the SPO after it has been received, the encumbrance will
remain on the requesting inmate’s account until the SPO is sold.

f. Procurement Procedures. The SPO Request form, and any other ordering documents, is
sent to Trust Fund staff. Once the SPO is created in TRUFACS, Trust Fund staff attach the
TRUFACS-generated SPO to the original SPO Request Form and forward the non-purchase card
order to Acquisitions staff to verify and order.

The Government purchase card order is forwarded to the Trust Fund Supervisor for approval, then
back to the card holder to order. When possible, SPOs are purchased by Government purchase
card by Trust Fund staff.

A copy of the SPO, and any other ordering documents, is sent to the Warehouse.

g. Receiving. Upon receipt of the SPO at the institution, a TRUFACS-generated Receiving
Report is prepared per normal receiving procedures for Trust Fund resale merchandise.

h. Selling. A particular SPO encumbrance is released automatically; funds are deducted from
the inmate’s account at the time the merchandise is sold to the inmate through regular sales
procedures. The inmate signs a sales ticket (unless fingerprint sale). The appropriate number of
copies of the SPO Request form are signed at the time the inmate receives the article(s), verifying
that the article(s) has been received.

i. Filing Instructions. A copy of the SPO Request form is given to the inmate. A signed copy
of the original SPO Request form is retained.

j. Transferred Inmates. SPOs received for inmates who have been released or transferred may
be disposed of locally. Examples of disposition include: return to the vendor, sale to another
inmate at full markup price, or sale to another inmate at a reduced price. An SPO sold to another
inmate applies SPO limitations for that inmate.

3.6 COMMISSARY SALES PROCEDURES

a. Sales Procedures - Non-Fingerprint Identification. The sales person uses the inmate
identification card/official picture card to identify the inmate before initiating a sale. Photocopies
or the image stored in TRUFACS are not accepted. The sales person keeps the card until


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completing the sale. Sales are conducted using TRUFACS after positive identification of the
inmate:

■ Sales to the inmate population are conducted in a secure manner. Inmates do not have access
  to sales items until they have been charged against the inmate’s account and passed to the
  inmate by a Trust Fund salesperson (under no circumstances will inmates be allowed to receive
  any item from the Commissary until the item has been charged against the inmate’s account).
  Sales to inmate workers assigned to the Commissary are conducted to ensure inmates have no
  access to purchased items until leaving the Commissary under direct staff supervision. Under
  no circumstances are inmates allowed to have previously purchased sales merchandise inside
  the Commissary.
■ Manually pre-bagged items are only sold in clear plastic bags.
■ Two copies are used as a sales receipt.
■ When the sale is completed, one copy of the sales receipt is delivered with the merchandise to
  the inmate for a complete signature. The sales person retains one copy of the receipt and the
  inmate identification card/official picture card until the inmate has signed and returned a
  receipt. The sales person then exchanges the copy and inmate identification card/official
  picture card for the signed receipt. No receipt can be changed or altered in any way after
  removal from the printer. If a change is necessary, an additional sales transaction is
  conducted.

    Note: Once the inmate signs the receipt and leaves the sales area, the sale is final.

■ Inmates use a nylon mesh bag, if necessary, to bag their Commissary merchandise. Staff may
  use brown bags to facilitate Commissary deliveries.
■ Each sales person places receipts for his/her sales station in numerical order to ensure all are
  accounted for. Missing receipts are reported to the Trust Fund Supervisor by the close of
  business the day following the sale. The Trust Fund Supervisor is encouraged to review sales
  packets periodically to ensure that all tickets are present and investigate any missing receipts.
■ After all sales are completed, the “Cash Drawer Summary” reports for each sales station are
  produced indicating the quantity of stamps sold by denomination. TRUFACS posts quantities
  sold to the Warehouse/Trust Fund staff member’s Stamp History by User Screen.

Warehouse/Trust Fund staff reconcile their physical stamp inventory to TRUFACS using the
Stamp History by User Screen immediately following the days sales. Discrepancies are
investigated and reconciled immediately. Unresolved differences are reported in writing no later
than the following business day to the Trust Fund Supervisor. See Section 1.e. for guidance when
differences cannot be reconciled.

Salespersons ensure that their individual sales station’s “Cash Drawer Summary” reports are
attached to all sales receipts, and placed in a single expandable envelope. The date range is noted
on the front of the envelope.




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The Trust Fund Specialist verifies that the “Sales History Report at Selling Price” matches the
Commissary Sales Extract from TRUFACS. Upon verification, the Trust Fund Specialist
sub-certifies the Commissary Sales Extract in the automated accounting system.

The envelope(s) are filed in chronological order by sales date range in a secure area.

b. Sales Procedures – Fingerprint Identification. The sales person uses the inmate’s
fingerprint to identify the inmate before initiating a sale. Sales are conducted using TRUFACS
after positive fingerprint identification of the inmate:

Note: Sales to incorrect inmates shall be corrected by crediting the appropriate inmate account.
No other monetary action shall be taken to correct the accounts.

■ Sales to the inmate population are conducted in a secure manner. Inmates do not have access
  to sales items until they have been charged against the inmate’s account and passed to the
  inmate by a Trust Fund salesperson (under no circumstances will inmates be allowed to receive
  any item from the Commissary until the item has been charged against the inmate’s account).
  Sales to inmate workers assigned to the Commissary are conducted to ensure inmates have no
  access to purchased items until leaving the Commissary under direct staff supervision. Under
  no circumstances are inmates allowed to have previously purchased sales merchandise inside
  the Commissary.
■ Manually pre-bagged items are only sold in clear plastic bags.
■ Receipt tape is used as a sales receipt.
■ When the sale is completed, the sales receipt is given to the inmate.
■ In the event that some sales conducted without the use of the fingerprint process (e.g. SHU,
  medical, fingerprint exempt), the signed receipt must be collected and filed in a sales envelope.

    No receipt can be changed or altered in any way after removal from the printer.

    Note: Once the inmate leaves the sales area, the sale is final.

■ Inmates use a nylon mesh bag, if necessary, to bag their Commissary merchandise.
■ After all sales are completed, the “Cash Drawer Summary” reports for each sales station are
  produced indicating the quantity of stamps sold by denomination. TRUFACS posts quantities
  sold to the Warehouse/Trust Fund staff member’s Stamp History by User Screen.

Warehouse/Trust Fund staff reconcile their physical stamp inventory to TRUFACS using the
Stamp History by User Screen immediately following the day’s sales. Discrepancies are
investigated and reconciled immediately. Unresolved differences are reported in writing no later
than the following business day to the Trust Fund Supervisor. See Section 1.e. for guidance when
differences cannot be reconciled.




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The Trust Fund Specialist verifies that the “Sales History Report at Selling Price” matches the
Commissary Sales Extract from TRUFACS. Upon verification, the Trust Fund Specialist
sub-certifies the Commissary Sales Extract in the automated accounting system.

c. The Trust Fund Supervisor reviews the following reports daily:

■ Item Quantity Below Zero Report. Identify and address any items with a negative quantity
  on hand.
■ Credit Sales Summary Report. Review to determine the appropriateness of credit sales
  transacted on a date other than the date of original sale.

d. National Controlled Items Limits. Trust Fund Supervisor approval shall be required before
bypassing the “lifetime quantity exceeded” warning message during sales.

e. Sales to Inmates Declared Incompetent. In limited circumstances, the Warden may
authorize Commissary sales for incompetent inmates when deemed advisable for the inmates’
welfare. In these rare circumstances, the Trust Fund Supervisor is given written documentation to
support the sale, attached to the original sales receipt and filed by sales staff.

Note: Sales to incorrect inmates due to a failure in the fingerprint software or hardware are
corrected by crediting the appropriate inmate account after receipt of written approval from the
Trust Fund Branch. No other action shall be taken.

3.7 INVENTORY CONTROL

a. Purchase of Resale Items. Trust Fund contracts and POs are subject to the same rules,
regulations, and limitations governing institution transactions, except that it is optional for
institutions to obtain competitive bids for Trust Fund merchandise purchased for resale in the
Commissary. In addition, it is not mandatory that Federal Supply Service (FSS) schedules be
used for purchase of items for resale.

Per the Commissioner, General Services Administration (GSA), on September 13, 1963, stock
items may also be purchased through GSA for resale in the Commissary. When the procurement
is not competitive, and specific brands of merchandise are required, exercise care that the
procurement is made directly from a manufacturer or distributor who will provide a fair and
reasonable cost.

b. Purchase Procedures. Warehouse/Trust Fund staff may review a TRUFACS “hot list” to
help determine ordering requirements.

In addition, it is recommended that an Item Sales Analysis Report be produced. A TRUFACS PO
is generated for all resale items purchased, including Government purchase card purchases. A
Request for Purchase (Delivery/Task Order) (BP-A0101) is not used for resale purchases.



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Based on the TRUFACS-recommended quantity, as well as current and historical sales trends,
Warehouse/Trust Fund staff prepare a TRUFACS PO to replenish stock and submit to the
appropriate approving official. Non-purchase card POs are forwarded to Acquisitions staff;
purchase card POs are forwarded to the card holder for processing.

The non-purchase card purchase of resale items, based on requirements submitted by
Warehouse/Trust Fund staff, is the responsibility of Acquisitions. Acquisitions staff use the
TRUFACS-generated POs as the official PO document and process per the Program Statement
Bureau of Prisons Acquisition Policy. The Supervisor reviews outstanding POs monthly to
ensure accuracy and validity.

c. Government Purchase Card Procedures for Commissary Resale Merchandise. Use of
the Government purchase card for purchases of Trust Fund resale merchandise is strongly
recommended. However, when this method of procurement is used, a Government purchase card
is established that is used only to purchase resale merchandise, not for purchases such as Trust
Fund supplies.

The following procedures apply for purchases of resale merchandise using the Government
purchase card. Refer to the Program Statement Accounting – Recording Obligations for
guidelines and procedures related to accruals and payments for resale merchandise. General
procedures for use of the Government purchase card are found in the Bureau of Prisons
Acquisition Policy and TRM.

Note: These special procedures are different from the procedures for purchasing other than resale
items. These procedures are necessary to maintain control of the Commissary inventory and
match costs to revenue properly in the same accounting period.

Warehouse/Trust Fund staff retain a copy of the Government purchase card PO until the order is
received. Once the order is received and quantities verified, TRUFACS generates a Receiving
Report, which is distributed to the purchase card holder along with supporting packing slips and
receipts, and to the Warehouse or Commissary for the chronological Receiving Report file.

The cardholder follows procedures in the Bureau of Prisons Acquisition Policy for maintaining
records and verifying the monthly Memo Statement.

The Approving Official follows procedures in the Acquisition TRM for maintaining records and
reviewing monthly Government purchase card statements.

The Bureau-wide payment to the vendor for all Government purchase card purchases is generated
automatically at the Central Office; institutions are notified via the automated accounting system
message once the payment has been made. The Program Statement Accounting – Recording
Obligations describes accounting procedures for establishing the accrual for resale merchandise.
Resale merchandise should be purchased and recorded to sub-object 2670. The appropriate



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automated accounting system report is reviewed before the end of each month to ensure the
payments are recorded to the correct sub-object.

The Approving Official maintains the Master Account Summary Reports and copies of monthly
cardholder statements with attached documentation, as required in the Acquisition TRM.

d. Stamp Purchase/Receiving Procedures. Stamps may be purchased with the Government
purchase card. The card holder who purchased the stamps will receive the stamps into TRUFACS
prior to being sold.

e. Cash Purchase Procedures. Cash purchases for Trust Fund merchandise are not authorized.

f. Stores From Surplus Sources. Merchandise for resale in the Commissary must not, under
any circumstances, be acquired through surplus channels.

g. Receipt at the Institution. Trust Fund merchandise received at the institution shall be
inspected and accepted in the same manner as other institution items, except that Trust Fund
merchandise may be received using the TRUFACS handheld item scanner. At the institution’s
discretion, a substitute of a like item may be accepted.

Warehouse/Trust Fund staff ensure that items are received in TRUFACS before being sold.

(1) Receiving Report Preparation for Resale Items. A Receiving Report is prepared and the
copies distributed as applicable.

If, at the time of receipt of Commissary merchandise, there is a discrepancy between the PO price
and the invoice price, staff resolve the difference by contacting the acquisitioner.

If merchandise is determined to be damaged after receipt, and before it is made available for sale, a
contra-Receiving Report shall be prepared. If replacement goods are later received for the
damaged merchandise, a Receiving Report is processed.

(2) Calculation of Selling Price. The selling price of each item sold in the Commissary is
calculated automatically based on the cost and mark-up selected in TRUFACS.

The cost of an item is established when the initial Receiving Report is generated. In the receiving
process, TRUFACS establishes the selling price based on the selected mark-up automatically and
the cost entered. The adjustment for the updated selling price is reflected on the Inventory
History Summary and Inventory Value Change Reports in TRUFACS.

h. Balancing and Reconciliation of Commissary Inventory. The Trust Fund Supervisor
ensures that Commissary sales, inventory adjustments, and Receiving Reports are reconciled with
the Standard General Ledger monthly. Verifications are conducted when the Trust Fund extracts



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are performed – these include a comparison of the TRUFACS/automated accounting system
extract to the corresponding TRUFACS report.

In addition, all Trust Fund extracts may be compared to the Inventory History Summary Report.
The staff member performing the extract documents the verification of all daily extracts by signing
the Extract Report. The TRUFACS Extract Report is attached to the automated accounting
system sub-certification report and filed.

During an inventory period, if the physical inventory of a specific item reveals a difference when
compared to the TRUFACS Stock Status Report, an inventory adjustment may be processed.
Differences identified in the inventory period must be researched before processing an inventory
adjustment. Copies of inventory adjustments are kept in the Inventory File; the originals are filed
in the Inventory Adjustment File.

i. Inventory Limitations. The Trust Fund Supervisor maintains a fresh and adequate stock of
merchandise. The Supervisor makes periodic comparisons of the sales history and the minimum
and maximum order points established in TRUFACS, and reviews order points to prevent
under-/overstocking. If order points are insufficient, the shelf quantity in weeks may be adjusted.
To ensure that operating funds are not tied up in excessive inventory, stock limitations are set as
follows:

■ Regular sales merchandise – 2.0 times the monthly average sales at cost for the last two
  quarters.
■ Stamp inventory – 2.0 times the monthly average sales at cost for the last two quarters.

The Trust Fund Supervisor ensures these limitations are not exceeded.

j. Inventory Maintenance. Trust Fund staff review the Item Sales Analysis Report and items
stocked in the Commissary routinely for those that are slow-moving or nearing expiration.
Before initiating a TRUFACS Report of Survey:

■ When possible, prepare a Contra-Receiving Report for outdated items or items damaged in
  shipment and returned to the vendor for credit, or obtain vendor credit authorization number
  from Central Office if prior fiscal year. If the vendor refuses to accept the merchandise for
  exchange or credit, full documentation outlining the steps taken to return it must accompany
  the Report of Survey. If possible, a statement in writing from the vendor indicating refusal to
  accept the merchandise should be obtained.
■ If an item cannot be sold at its original selling price, but is still sellable, offer it for sale at a
  reduced price, rather than surveying the item with no realized value. The Trust Fund
  Supervisor determines the reduced price in advance of the sale.
■ If an item is slow moving (not sold in the last 12 months) and is determined to be sellable, the
  Trust Fund Supervisor will document the reason(s) for not returning or surveying the item.
  This documentation will serve as the appropriate action for not returning or surveying the item.



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k. Survey Procedures. When Commissary merchandise is damaged in our care, expired, unfit
for resale, or destroyed through an unusual cause such as fire or inmate disturbance, a Report of
Survey is processed per the Program Statement Property Management Manual. The Board of
Survey approves Reports of Survey before final disposition of the merchandise.

When merchandise is lost due to theft or suspected theft, a Report of Survey is prepared per the
Property Management Manual except that the amount of the survey is recorded in the
automated accounting system as an inventory shortage. This is done in TRUFACS by selecting
Report of Survey as the Inventory Difference Adjustment Type. TRUFACS generates the entry
for the automated accounting system through the extract process.

If surveys for unsalable merchandise at cost exceed .0015 times the actual regular Commissary
semiannual sales at cost in any one inventory period, a memorandum and copies of the Reports of
Survey are submitted with the Trust Fund March/September Inventory Tolerance Report from the
Warden to the Regional Director, explaining the necessity for the survey(s) and what action is
being taken, if appropriate, to reduce surveys in the future. A copy of the memorandum and
Reports of Survey is submitted with the Trust Fund March/September Inventory Tolerance Report
to the Chief, Trust Fund Branch.

If merchandise is lost due to major theft, natural disaster (fire, hurricane, etc.) or inmate
disturbance, the Regional Trust Fund Administrator is notified immediately. The Regional Trust
Fund Administrator reports any known details (type of loss, estimate of damages, actions taken)
immediately to the Chief, Trust Fund Branch.

l. Transfer of Commissary Merchandise to Other Institutions. If the Commissary has
excess stock in original condition, and efforts to return the merchandise to the vendor or sell it at a
reduced price have been exhausted, the Trust Fund Supervisor is authorized to contact other
institutions to transfer the merchandise, per the Property Management Manual.

Excess merchandise is offered to other institutions at a predetermined price, not to exceed 25
percent below original cost; the gaining institution pays transportation charges. The gaining
institution processes a PO. The losing institution prepares a Stores Requisition, Invoice &
Transfer Receipt (BP-A0100), generates an inventory adjustment using adjustment type of Sales to
the Institution, and processes an IPAC charge to the gaining institution and enters it into the
automated accounting system. A copy of the BP-A0100 is the supporting document and is
attached to the TRUFACS inventory adjustments identified above.

m. Transfer of Commissary Merchandise Within the Institution. Commissary merchandise
may be transferred within institution appropriation activities (e.g. Food Service, Recreation).
Such transfers should be infrequent and only due to a specific need. The Trust Fund transfers the
items to the institution at cost. An approved Stores Requisition, Invoice and Transfer Receipt
(BP-A0100) is the source document to perform the transfer and support the inventory adjustment
type Sales to the Institution, and process a DVP charge to the gaining cost center and enter into the


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automated accounting system. TRUFACS does not generate an extract for this transaction; the
appropriate entries are entered into the automated accounting system. A copy of the BP-A0100 is
the supporting document and is attached to the TRUFACS inventory adjustments identified above.

n. Inventory Adjustments. TRUFACS Inventory Adjustments are signed by the Trust Fund
Supervisor.

o. Inventory Preparation. Any time during the month of March and during the month of
September an itemized physical inventory of merchandise in the Commissary is performed. The
Commissary may close for the time needed to reconcile the inventory.

The inventory must be done no later than the close of business on the second to the last workday of
the second and fourth quarters of the fiscal year. The inventory is used to document the
semi-annual automated accounting system inventory entry, which is sub-certified in the automated
accounting system on the last workday of each inventory period by Trust Fund Branch staff.

The centralized inventory extract reflects all inventories as of midnight the previous day. A final
Stock Status Report is generated in TRUFACS on the last workday of the inventory period, before
any inventory transactions take place. The Stock Status is recorded as “Final Semi-Annual” and
kept in the inventory file. It is recommended that the semi-annual Stock Status Report be
scheduled to generate automatically.

Before the inventory, the Trust Fund Supervisor ensures the following documents are processed in
TRUFACS and entered in the automated accounting system:

■   Receiving or Contra Receiving Reports for merchandise.
■   Reports of Survey for damaged or outdated merchandise.
■   Sales information through the current period.
■   Stores Requisitions for sales of merchandise to institutions.

p. Conducting the Physical Inventory. Ordinarily, OFM staff make the official count of
Commissary inventory (merchandise and stamps) using the TRUFACS handheld scanner for
merchandise, and the Manual Inventory Worksheet for stamps. The inventory is reconciled to
ensure the accuracy of the physical count.

The inventory is counted by two different individuals or teams. One individual or team is
designated the Official Inventory Team and shall exclude staff who were assigned to conduct
Commissary sales, who did maintain TRUFACS inventory during the two quarters, who did take
part in the Official Inventory Team count during the previous inventory, and who fell under the
supervision of the Trust Fund Supervisor. The Trust Fund Supervisor designates the second
individual or team to conduct a count to be compared to the official count or to help with the
reconciliation. Inmates do not participate in any way during the physical inventory, but may
organize stock before the inventory.



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The following steps are taken when conducting an inventory:

■ Count items in all areas where Commissary merchandise is located (main institution, camp,
  special housing unit, stamp inventory, etc.).
■ After merchandise is inventoried, upload the physical counts in TRUFACS, which calculates
  the variance for each item counted or not counted. Conduct recounts until no items appear on
  the Physical Inventory Variance Count Report.
■ Reconcile differences between the two inventory counts and between the final count and the
  system count. Following reconciliation, only members of the Official Inventory Team sign
  the Items Count Report, the Manual Inventory Worksheet for stamps, and the “final” Stock
  Status Report.
■ Produce a final Stock Status Report after completing the inventory.
■ Upon completing the physical inventory, file the signed Manual Inventory Worksheet for
  stamps, Items Count Report, end of inventory period inventory adjustments, and final Stock
  Status Report in the inventory file.

q. Semi-Annual Inventory Accounting Requirements. The Trust Fund Supervisor ensures
the final Inventory Adjustment Extract is sub-certified in the automated accounting system before
the end of the accounting period.

r. Semi-Annual Reporting Requirements. The Inventory Tolerance Report is reviewed by the
Regional Trust Fund Administrator the month following the semi-annual inventory.

Regional Office staff review the report for excessive inventory differences and to ensure
institutions remain within acceptable tolerance levels. The tolerance level for inventory
differences is calculated by multiplying .0025 times the last six months’ sales at cost. If the
inventory tolerance is exceeded, a memorandum is submitted from the Warden to the Regional
Director, with a copy to the Regional Trust Fund Administrator explaining the inventory
difference and what action is being taken, if appropriate, to reduce the inventory difference in the
future.

The Regional Trust Fund Administrator forwards a copy of the memorandum from the institution
to the Chief, Trust Fund Branch. If appropriate, and based on circumstances surrounding the
difference, the Regional Director or the Chief, Trust Fund Branch, may request a full review of the
inventory difference. If the review reveals neglect, mismanagement, or fraud on the part of staff,
action is initiated.

If inventory differences exceed the tolerance level for two consecutive inventories, the institution
must perform monthly inventories until the problems are resolved. Results of the monthly
inventories are reported to the Regional Trust Fund Administrator, who monitors the institution’s
progress. When inventory differences have been resolved, and at the Regional Trust Fund
Administrator’s discretion, monthly inventories may be discontinued.




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Chapter 5. SPECIAL TRUST FUND SERVICES

5.1 GENERAL

Copier, washer/dryer, and photography services for the inmate population may be operated in the
institution at the Warden’s discretion under the Trust Fund Program. These services are
conducted using sound management practices and have necessary internal controls to ensure that
the Trust Fund recognizes all sales, commissions, or other revenue and that waste, fraud, and abuse
are minimized.

Copier and washer/dryer services operate with a coinless card system. The inmate photo service
uses the TRUFACS-generated photo voucher.

Annually, the Trust Fund Supervisor reviews the internal operation to determine whether an
adjustment in price is necessary to keep it viable. This written evaluation contains the type of
service, associated costs, and price. The Trust Fund Supervisor forwards a copy to the Trust Fund
Branch with the annual Trust Fund budget request.

5.2 INMATE COPIER SERVICE

Copier service is provided by an outside contractor that allows an inmate to purchase copy
services. The contractor may provide a special copy card for sale in the Commissary. The card’s
cost is negotiated with the contractor and marked up as a regular inventory item in TRUFACS.

5.3 INMATE WASHER/DRYER SERVICE

Existing programs provide personal washer/dryer services may be an internal or external
operation.

a. Internal Operation. The responsibility for an internal operation resides with the Trust Fund
Supervisor. Equipment, maintenance, and supplies are purchased/leased by the Trust Fund.
Procedures in Section 5 apply to an internal laundry service operation.

b. External Operation. A contract with an outside contractor is established to provide washers
and dryers, debit card readers, and equipment maintenance. Procedures in Section 6 apply to an
external laundry service operation.

5.4 ESTABLISHING AN INMATE PHOTOGRAPHY (PHOTO) PROGRAM

If the Warden chooses to operate an Inmate Photo Program, it is funded through the Trust Fund
and uses the TRUFACS-generated photo voucher that sells for one dollar each. A Commissary
photo voucher may be transferred and redeemed from one institution to another. Each voucher
entitles an inmate to one photo only. Institutions shall not accept double prints from the vendor.



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a. Responsibilities. The Trust Fund Supervisor manages financial aspects of the program (e.g.,
purchase of equipment, payment for processing, accounting for sales).

Another department, such as Recreation, may supervise and conduct taking inmate photos.

b. Equipment/Supplies for the Photo Program

(1) Camera Equipment. Cameras are purchased by the Trust Fund. All cameras are digital.
Maintenance or replacement of equipment is the Trust Fund Supervisor's responsibility.

(2) Supplies and Processing. The cost of photo processing and associated supplies will be
charged as a Trust Fund cost of goods sold expense.

Only standard size (e.g., 3 x 5 inch or 4 x 6 inch) photos are offered. No reprints or enlargements
of photos may be processed.

(3) Control of Photo Supplies Inventory and Property. Internal controls are established to
maintain accountability of disks and control the process from issue of disks to distribution of
photos. These include:

■ A daily work log (showing exposure number, inmate’s committed name, and 8-digit register
  number) with supporting photo vouchers.
■ Locked storage of supplies.
■ Distribution procedures that acknowledge inmate receipt of finished photos, etc.

c. Inmate Photographer. If an institution elects to employ an inmate photographer, the
photographer is paid from the Trust Fund Appropriation at a rate of $0.55 or $0.75 per hour.
Documentation for the monthly payroll for the inmate photographer is submitted to the Trust Fund
Supervisor.

d. Photograph Procedures. Inmates present a Commissary photo voucher to the photographer
in exchange for having a photograph taken. The photographer accepts the photo voucher and has
the inmate sign the log with committed name and register number next to the exposure number of
the picture to be taken. The log is used to distribute pictures and acknowledge receipt.

After a photo session, the photographer returns the camera, logs, disks, signed photo receipts, and
retake vouchers for the number of pictures taken to the staff supervisor. Staff review the log and
reconcile the photos taken to the number of photo receipts provided to ensure extra pictures were
not taken. Any discrepancy is resolved immediately. Used photo receipts and retake vouchers
are destroyed after reconciliation is complete.




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e. Accounting for the Inmate Photo Program

(1) Recording the Inmate Photo Program Equipment. Equipment purchased for the Inmate
Photo Program is accounted for in accordance with the Program Statement Property
Management Manual. Cameras and other minor equipment are coded to Sub-object Code
31MN.

(2) Recording Other Costs (Government Purchase Card). Costs associated with the photo
program, such as processing and supplies are charged to Sub-object Code 2670 using the
Government Purchase Card.

(3) Recording Accounts Payable (Purchase Order). Staff process the appropriate entry into
the automated accounting system using Transaction Code 2015 for processing and other supplies
associated with the program.

(4) Recording Vendor Payments (Purchase Order). Staff process the appropriate entry into
the automated accounting system to record the vendor payment.

5.5 INTERNAL LAUNDRY SERVICE OPERATION

a. Request for Approval. Before initiating an internal laundry service operation, the institution
forwards a request for approval from the Warden through the Regional Trust Fund Administrator
to the Chief, Trust Fund Branch. The request analyzes the costs and projected revenues for the
internal operation, including:

■ Projected selling price of service being offered.
■ A written funding request for supplies and equipment (Major Equipment Justification
  [BP-A0135]).
■ Equipment repairs, maintenance costs, and other costs associated with the service for a
  one-year period, including costs of an annual maintenance agreement with an outside
  contractor, use of inmate workers to maintain and repair equipment, and use of staff from
  another department to conduct repairs. Costs include training, hourly wage for repair time,
  and estimated number of hours.
■ New equipment is energy-efficient, as indicated by an Energy Star label.
■ Projected use of service items for a one-year period.
■ Expected revenue to be generated over a one-year period, including price charged to the inmate
  per use multiplied by expected usage over one year.
■ Expected income to be generated in year two.
■ Projected payback period for start-up costs.
■ Refund policy.
■ Location and security of equipment.
■ Method of recording income and expenses on a monthly basis by type of service offered.




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b. Accounting Procedures. Spreadsheet templates are provided to record costs and revenue for
services after contacting the Trust Fund Branch Operations Section.

(1) Revenue. Inmates purchase laundry cards through the Commissary. The revenue equals
the value of the laundry cards sold.

(2) Costs. Purchase Orders, Journal Vouchers, and Government Purchase Card orders to incur
costs associated with a service are processed in the automated accounting system using SOC 2697
– Vending Machine Items. Costs associated with a service program, except for startup
equipment, are charged to SOC 2697. Costs in SOC 2697 are recorded in the automated
accounting system General Ledger Account 6500.16 – Cost of Goods Sold – Debit Card/Vending.

This cost of goods account records costs for all types of service. Manual procedures and records
must be established to record the cost for each type of service.

5.6 EXTERNAL OPERATION (OUTSIDE CONTRACTOR)

a. Contract for Service Operations. When an institution chooses to provide services through
an outside contractor, the institution complies with contracting regulations and directives. The
Trust Fund Supervisor serves as Contract Monitor. The Statement of Work contains, at a
minimum:

■ Percentage of profits or commission received on each service. Generally, the percentage of
  profits or commission from any service should not be less than 15 percent of the service selling
  price.
■ Price of each service.
■ Location of the service equipment.
■ Procedures for installing and servicing equipment.
■ New equipment is energy-efficient as indicated by an Energy Star label.
■ Description of the process for submitting reports and initiating payment to the contractor.
■ Procedures for sales auditing to ensure that the correct percentage of profits is received.
■ Language that relieves the Government of any liability arising from any service.
■ Specifications for service equipment (including debit card readers).
■ Security and escort requirements.

b. Verification of Sales and Commissions. The Trust Fund Supervisor ensures that the Trust
Fund receives the appropriate revenue for the operation of an external service program.
Procedures and staff verification responsibilities are established to ensure the institution maintains
records regarding sale of services and commissions received for service operations.

c. Accounting Procedures for an External Service Operation

(1) Revenue. Inmates purchase cards from the Commissary. This transaction is recorded as
revenue through TRUFACS and is uploaded to the automated accounting system General Ledger


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Account 5100.11 – Revenue from Goods Sold – Trust Fund Regular sales. Manual procedures
and records must be established to record the revenues for each type of service.

(2) Costs. The contract awarded to an outside contractor for services is processed in the
automated accounting system using SOC 2697 – Vending Machine Items. The contractor
provides a monthly invoice for the total amount of services sold. Payment is processed for the
invoice amount less the commissions earned.

SOC 2697 costs are recorded in the automated accounting system General Ledger Account
6500.16 – Cost of Goods Sold – Debit Card/Vending. This cost of goods account records costs
for all types of service. Manual procedures and records must be established to record the cost for
each type of service.

d. Security Requirements. Contractors servicing equipment within the institution are subject
to security requirements. To prevent inmates from unplugging or disabling the equipment, a
direct-wire electric power supply is used. The equipment may be enclosed so that inmates only
have access to the control panel and exit chute.




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Chapter 6. INMATE TELEPHONE SYSTEM (TRUFONE)

6.1 GENERAL

The Bureau provides a Trust Fund Inmate Telephone System (TRUFONE) for inmates to
supplement written correspondence to maintain family and community ties.

To ensure the Trust Fund’s financial integrity and for institution security, inmates place all
personal telephone calls over TRUFONE and may not circumvent it via call forwarding/automatic
electronic forwarding, three-way calling, or any other means. The only exceptions are identified
in the Program Statement Telephone Regulations for Inmates.

All calls processed through TRUFONE are recorded.

a. Responsibility. The following individuals have primary management oversight
responsibilities for TRUFONE:

(1) Trust Fund TRUFONE Coordinator. The Chief, Trust Fund Branch, is the Bureau’s
TRUFONE Coordinator. The Chief is the resource person for Bureau staff, other components of
the Department of Justice, law enforcement agencies, and the public.

(2) Trust Fund Supervisor. The Trust Fund Supervisor has responsibility for TRUFONE
operation at the institution. The Trust Fund Supervisor monitors TRUFONE operations and
maintains accurate TRUFONE information. The Trust Fund Supervisor is also the System
Supervisor and maintains internal controls, system integrity, and other aspects related to
TRUFONE security and operations.

b. Staff Use of the Inmate Telephone Service. Staff members may not make calls via
TRUFONE except as outlined in Section 6.5.g. for system testing and trouble resolution.

6.2 TELEPHONE SERVICES

The Trust Fund Branch procures TRUFONE services (local, collect, long distance, and
international) through a national General Services Administration (GSA) contract.

6.3 REQUESTS FOR ADDITIONAL TELEPHONES

Requests for additional telephones are forwarded from the Warden through the Regional Trust
Fund Administrator to the Chief, Trust Fund Branch, for approval.

6.4 TRUFONE RATES

a. Direct Dial Rates. Direct dial TRUFONE rates are set to encourage financial responsibility
and family ties, and to ensure the Trust Fund Program remains financially solvent. The Chief,


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Trust Fund Branch, with the Assistant Director for Administration’s concurrence, sets telephone
rates. The Assistant Director for Administration approves any significant modifications to direct
dial rates (other than those required by routine cost variances).

■ Rates for domestic and international calls are set at a standard per minute flat rate for each type
  of service. Rates are standard throughout the Bureau regardless of location.
■ Wardens ensure that information concerning direct dial rates is kept on file in the institution
  (e.g., law library, inmate library, units).

b. Collect Call Rates. Collect rates are charged in accordance with TRUFONE contract
requirements. The called party may be given collect rates before accepting a collect call. The
billed party may obtain collect rates by contacting the service provider.

c. Prepaid Collect Call Rates. Prepaid collect calls are available to provide the called party the
opportunity to receive collect calls when normal collect calls are not available. Prepaid service is
extended to all recipients to reduce the cost of receiving collect calls. Prepaid collect rates are
charged in accordance with TRUFONE contract requirements.

6.5 SYSTEM OPERATIONS

a. TRUFONE Access. Inmates are responsible for accessing their TRUFONE account using
their PAC number and voice verification process where applicable. Staff shall register the inmate
for voice verification, using the special code provided by Trust Fund staff, prior to allowing access
to place telephone calls. To register, inmates should use both the first and last of their committed
name.

b. TRUFONE Funds. Inmates are responsible for transferring funds from their Commissary
account to their TRUFONE account.

They may transfer funds twice per day from their Commissary accounts to their TRUFONE
accounts via the TRUFONE interactive voice response (IVR).

Inmates are responsible for tracking their Commissary and TRUFONE account balances via the
IVR.

Inmates may only transfer their full TRUFONE balance back to their Commissary account. This
transfer will count as one of the two allowed transfers per day.

Once funds are transferred, they may not be transferred back by staff to inmates’ Commissary
accounts except by Trust Fund staff in the following circumstances:

■ Inmates are released.
■ Inmates on telephone restriction for more than 60 days may request in writing that their


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  TRUFONE funds be returned to their Commissary account. This is a one-time transaction for
  the entire balance of their TRUFONE account.
■ In rare or unusual instances as the Warden deems appropriate. In these circumstances, Trust
  Fund staff are given written documentation to support the transfer.

c. Inmates with a Public Safety Factor (PSF) for Serious Phone Abuse. Inmates with a PSF
for serious phone abuse are initially assigned a “Y” in the PSF field; their accounts are disabled per
the Program Statement Telephone Regulations for Inmates, until a Request for Inmate
Telephone Restriction form (BP-A0740) is received from Unit Management staff.

d. Processing Request for Inmate Telephone Restriction (BP-A0740). Upon receipt, Trust
Fund staff create an Inmate Class of Service (COS) for each type of restriction(s) and assign the
appropriate COS to the inmate.

If a termination date is provided (not to exceed 30 days), the BP-A0740 is kept in a temporary file.
The file is reviewed each business day for pending termination dates. Trust Fund staff obtain the
Warden’s approval for reinstatement or continued restrictions every 30 days. BP-A0740 forms
are permanently kept as an image within TRUFACS.

Additional guidance on telephone restrictions can be found in the Program Statement Telephone
Regulations for Inmates.

e. Inmate Access to TRUFONE Account Information. Inmates are responsible for
transferring funds and tracking their TRUFONE account balance along with their Commissary
account balance. Inmates are given written instructions for using the interactive voice response to
access their balances. Inmates may also access the cost of the last completed telephone call and
the minutes remaining for that month via the telephone.

TRUFONE account statements are not regularly provided to inmates. Inmates requesting a
statement are charged $3.00 for each 30-day period requested.

Trust Fund Specialist processes the completed Request for Withdrawal of Inmate’s Personal
Funds (BP-199). The BP-199 includes the specific 30-consecutive-day period for which the
statement is requested.

The Trust Fund Specialist prepares the statement and delivers it to the inmate in a secure manner.
Account statements are only processed for the most recent 12 months.

f. Inmate Telephone Numbers

(1) Telephone Number List. Inmates with access to TRULINCS generate and maintain their
lists. All other inmates complete form BP-A1054, TRULINCS Contact Request Form, and Unit
Management staff deliver the form to Trust Fund per the Program Statement Telephone
Regulations for Inmates.


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When an inmate requests deletion of a telephone number that is blocked, the number is marked as
inactive on the inmate’s telephone number list while retaining the block. Note: Information on
the BP-A1054 is governed by the Program Statement Release of Information.

(2) Requests for Blocking of Telephone Numbers. There are three types of telephone number
blocks: Bureau-wide, facility-wide, and inmate-specific. Documentation about blocks is
permanently kept as an image within TRUFACS.

Ordinarily, written requests from the Associate Warden or a proposed recipient of an inmate call
for blocking a telephone number are processed within one working day after receipt. If specified,
these blocks are placed on a specific inmate account; however, if a specific inmate is not identified
or where the request specifically states, a block can be placed to prevent any inmate at the facility
from placing a call to a specified number.

Note: Requests for blocking may not be processed by deleting telephone numbers from an
inmate account.

Bureau-wide Block. Requests for Bureau-wide blocks are forwarded to the Central Office
Intelligence Branch for processing.

Facility-wide Block. Trust Fund staff place blocks by entering the telephone number in the
TRUFONE Facility Telephone Number Control Screen.

Inmate-Specific Blocks. The number is marked in TRULINCS with the reason for the block, not
deleted from the list. When a number is blocked at the recipient’s request, the block may be
removed only on receipt of a written request from the called party.

Removal of Called Party Block. When a telephone number is blocked by the called party via
the telephone, staff only remove the block when a written request from the called party is received,
along with a copy of a telephone bill, per the Program Statement Telephone Regulations for
Inmates.

(3) TRUFONE Refunds. Trust Fund Supervisors may approve refunds for the following:

■ New or revised area codes.
■ New or revised local exchanges.
■ Faulty signals from foreign countries resulting in international calls being charged but not
  connected.
■ Telephone service problems that interfere with communication.
■ Potential refunds for reasons not identified above are sent from the Trust Fund Supervisor to
  the Chief, Trust Fund Branch, for approval. The request includes documentation of the
  situation and research conducted to conclude that a refund is appropriate.



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g. TRUFONE “Test” Account. A test account has been established to enable TRUFONE staff
to conduct system testing.

6.6 SYSTEM MAINTENANCE

a. Emergency support. Available 7 days a week, 365 days a year from 7:00 a.m.-9:00 p.m.
EST. For emergency support institution staff call Trust Fund Branch TRUFONE staff, at
202-514-2555 during office hours (7:00 a.m.-3:30 p.m. EST). For after-hours support contact the
TRUFONE duty phone.

b. Non-Emergency Technical Assistance. For non-emergency support use the Trouble Ticket
System or call Trust Fund Branch TRUFONE staff.

c. Telephone Replacement. For replacement telephones use the trouble ticket feature, which
directs a request to the contractor without delay.

d. Hardware and Software Updates/Improvements. The Trust Fund Branch implements
hardware and software improvements. Institution staff are encouraged to provide input and ideas
for improving the system and services.

6.7 RECORDS MANAGEMENT

The following documents are kept as images in TRUFACS.

a. TRUFONE Suspension and Restrictions. This section contains documentation from the
Disciplinary Hearing Officer (DHO) and Unit Discipline Committee (UDC) pertaining to inmate
telephone suspensions, telephone limitations, and Request for Inmate Telephone Restriction
(BP-A0740).

b. TRUFONE Blocks. The following documents are kept under the title TRUFONE Blocks:

■ Written requests from Associate Wardens for blocking an inmate’s telephone number.
■ Requests from the called party for placing or removing a block on their phone number,
  including removal of called-party blocks.

c. 30-Day Temporary File for Request for Inmate Telephone Restriction (BP-A0740). A
file is kept in the TRUFONE office for tracking temporary (30-day) telephone restrictions.
Temporary restrictions are discussed in the Program Statement Telephone Regulations for
Inmates. Trust Fund staff review this file each business day to determine the need to remove a
temporary restriction.




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6.8 MONTHLY RECONCILIATION

Each month the Trust Fund Supervisor and Accountant jointly complete a monthly reconciliation.
The grand total from the Monthly TRUFONE Reconciliation Report is reconciled with General
Ledger Account 5200.15 – Revenue from Services Provided – TRUFONE and the TRUFACS
Trial Balance.




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Chapter 7. TRUST FUND SYSTEMS SECURITY

7.1 COMPUTER SECURITY

This chapter details guidelines for maintaining computer security and ensuring data
confidentiality, integrity, and availability throughout the Trust Fund wide area network (WAN)
and local area network (LAN).

Diligence in maintaining a secure system environment and ensuring that data is protected is
essential to the system’s efficient operation. The primary areas of concern to maintain system
security at the institution level include access control, physical and environmental protection,
media protection, and incident response. The following guidelines shall be followed for all Trust
Fund systems.

a. Access Control. Managing user accounts is important to the security of the system.
Ensuring users are properly authorized with the appropriate access permissions is critical. Access
Control is enforced by TRUNET Security. To create a user account an electronic request shall be
generated by a TRUACCESS Requester. The electronic request shall be approved/denied by the
appropriate Role Manager. User forms shall be created automatically based on the request and
approval process. In addition to the account management procedures the following access control
requirements apply:

■ Only authorized staff may have direct access to any Trust Fund application.
■ Users have one user ID per staff member. Social Security Numbers will not be used.
■ Annually, the user level or group assignment of each user account is required to be reviewed.
  This process will help to ensure each user maintains the least privilege necessary to perform
  his/her duties. The deadline for completing this procedure shall be set to March 1st of each
  year.
■ Accounts for recently separated or terminated employees shall be disabled within 24 hours.
■ Inmate Access. Inmates are prohibited from operating any Trust Fund computer equipment
  with the exception of inmate phones, and TRULINCS workstations designated for inmate use.

b. Physical and Environmental Protection. In order to protect the system from unauthorized
access and ensure the proper functioning of computer equipment and hardware, it is important to
have physical and environmental controls in place. The following requirements apply:

(1) Computer Room. The area where a file server and/or telecommunications hardware is used
to process/store sensitive data is designated as a computer room. The computer room must be
secured to prevent tampering with data and misuse of equipment. This room must be monitored
for environmental conditions to prevent equipment damage. This includes HVAC and electrical
concerns.




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Computer rooms must have a secure lock on the door and access is restricted to appropriate staff.
An Access Control List (ACL) is maintained to designate those staff that have been authorized to
have access to the computer room. Trust Fund computer room keys are “restricted” keys and are
to be issued only to designated staff. Employees listed on the ACL do not have keys to these
areas. A key to the Trust Fund computer room is kept under glass in the control room for
emergencies (e.g., fire or refrigeration breakdown).

When it is in the Bureau’s best interest that computer room keys remain at the institution, use the
following procedures: A special wood/metal box(s) with a glass front, large enough to contain
the entire computer room key ring(s), or an individual computer room key ring, is kept in the
control room. At the end of each work day, the computer room ring(s) is locked securely in this
box. A key to the locked box may be checked out on a 24-hour basis to employees assigned to the
computer room and the Trust Fund Supervisor. In an emergency, the glass may be broken to
obtain the keys. After any such incident, a memorandum is sent to the Warden with a copy to the
Captain and Trust Fund Supervisor documenting the situation that required emergency access.

The Trust Fund Supervisor must submit an ACL to the CEO for approval for the designated Trust
Fund Computer Room, identifying personnel authorized for unescorted access. As the approving
authority, the CEO need not be listed.

The ACL must contain:

■ The date and signature of the current CEO.
■ Names and position titles of individuals authorized for unescorted access (general position
  titles, such as Communications Technician or IT Manager, without a corresponding staff name
  are not permitted).

The ACL must be:

■ Posted at all Computer Rooms and Data Centers, clearly visible prior to entry.
■ On file with any key-issuing authorities (e.g., Control and Lockshop).
■ Located on the outermost door to the Computer Room or Data Center.

Staff members listed on the ACL may serve as escorts for persons not listed.

(2) Visitors Log. Anyone entering the Computer Room or Data Center not on the ACL must be
logged. The log must contain the name and signature of the visitor, name of the escorting staff,
and the date and time entering and exiting the Computer Room.

Prior ACLs and Computer Room/Data Center visitor logs must be maintained by the ISO for the
prior 12-month period.

(3) All information technology (IT) equipment used to access the system or provide
communication on the system, including computers, switches, etc., shall be maintained in a


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secured area. If the device must be kept in a common area (e.g., commissary sales area) then the
device shall be secured to minimize access.

(4) All monitors must be positioned to avoid casual views of sensitive data.

(5) All workstations and peripherals must be protected at all times from logon until logoff.
When workstations are unattended, users are logged off the network or the workstations are locked
by pressing CTRL-ALT-DEL and ENTER. The potential for unauthorized access must be
limited to the extent possible.

c. Media Protection. Media is defined as any storage device or report that contains sensitive
data and information pertaining to the system. This includes, but is not limited to, electronic or
hard copy of reports, hard drives, floppy drives, CDs, etc. Media must be:

■ Secured when not being used.
■ Labeled “Sensitive but Unclassified” or “SBU.”
■ Only provided to authorized individuals who have a “Need-to-Know.”

d. Incident Response. IT security violations pertaining to the Trust Fund Branch systems must
be reported immediately; e.g., password sharing, computer hacking, software viruses, theft or loss
of equipment or data, and/or social engineering (an attempt to manipulate staff in order to divulge
sensitive information regarding the IT system). The Trust Fund Supervisor reports all violations
to the IT Security and Audit Compliance Section of the Trust Fund Branch.

e. Other. The following areas of concern are also important to ensure the security of the
system:

■ Additional software programs or hardware not authorized by the Trust Fund Branch may not
  be used on any Trust Fund system.
■ Problems with hardware or software must be reported to the Trust Fund Branch by opening a
  trouble ticket.
■ Anti-Virus Management. Trust Fund Branch staff manage anti-virus protection for Trust
  Fund workstations.
■ Workstations must be powered on in order to receive the anti-virus protection updates and
  system patches. Staff restart the system and leave the workstation powered on when activities
  have completed for the day. Monitors may be turned off.
■ Contingency Plans. Contingency Plans are maintained by the Trust Fund Branch. In the
  event of loss of any Trust Fund system, equipment, or data regardless of the severity of the
  situation, the institution must contact the Trust Fund Branch. At that time, Trust Fund Branch
  staff take appropriate steps to restore the system(s) back to normal operation.




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Chapter 8. GENERAL DEPOSIT FUND OPERATIONS

8.1 ACCOUNTABILITY OF EMPLOYEES

Employees whose duties include handling monies belonging to inmates or who make entries to
Inmates’ Deposit Fund accounts are liable for the accuracy of their work. Staff are held
responsible for the proper disposition (entries) of funds.

a. Resolution of Errors. Most staff errors are explainable and must be corrected immediately.
Errors such as entering the incorrect inmate name or 8-digit register number on the receipt,
depositing funds to the incorrect account, and selling or withdrawing from the incorrect account(s)
are corrected by:

■ Posting a Corrective Transaction(s). A correcting transaction is made and documented
  regardless of the current balance in the inmate account(s). Negative balances are managed per
  Section 5.

    Any correcting entries are documented with reference to the source of the error. Funds
    received subsequently apply automatically to any negative balance, if applicable. If sufficient
    funds are received, eliminating a negative balance before the inmate’s release, no further
    action is necessary.

■ Initiating Debt Management Procedures. If correcting entries creates a negative balance
  on an inmate account that cannot be resolved before the inmate’s release, debt management
  procedures are initiated per the Program Statement Financial Management - Debt
  Management.

b. Restitution by Employee(s) Involved. Staff provide restitution to the proper Inmate Deposit
Fund account for any negative balance occasioned by their error or negligence, after debt
management procedures have been exhausted.

8.2 ESTABLISHMENT OF INMATE ACCOUNTS

28 CFR § 506.1 What is the purpose of individual commissary accounts?

The purpose of individual commissary accounts is to allow the Bureau to maintain
inmates' monies while they are incarcerated. Family, friends, or other sources
may deposit funds into these accounts.

Inmate accounts are established and maintained automatically through the nightly process. The
account is created initially at the inmate’s designated location. The nightly process updates
TRUFACS with changes to the inmate’s TRUFACS account, including housing unit, living
quarters, and IFRP status changes. These are effective in TRUFACS the day after the nightly
process.


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8.3 DAILY MANAGEMENT OF INMATE ACCOUNTS

a. TRUFACS Facility SENTRY Update Report. The staff member who enters Inmate
Deposit Fund transactions into TRUFACS reviews the TRUFACS Facility SENTRY Update
Report each day. This report identifies inmates’ accounts in the following categories:

(1) New. Newly created TRUFACS accounts. At a minimum, verify the following
information: Administrative Hold Indicator, No Power of Attorney, and Maximum Allowed
Deduction Percentage for Debts.

(2) Transfer Out. Inmates have been transferred to their new location. No account
maintenance is required.

(3) Transfer In. Inmates have transferred in from another facility. The TRUFACS General
Information and the account balance of transferring inmates should be reviewed to ensure
institution staff are aware of any unique circumstances. Normally, unique circumstances are
referenced in the comments field; any negative balance and debts owed has a document image
associated with the transaction or transaction type.

(4) Release. Inmates have been released from Bureau custody in SENTRY and TRUFACS.
No account maintenance is required. The Trust Fund Specialist reviews released inmate accounts
that have a non-zero balance weekly and processes funds accordingly.

(5) Needs Released. Inmates have been released in SENTRY, but must be released manually in
TRUFACS. In addition to being listed on the Facility SENTRY Update Report, TRUFACS
displays a SENTRY/Needs Released message upon user login when there are inmates in this
category. Needs Released inmate accounts are processed from the TRUFACS release screen
daily by the Trust Fund Specialist. The account status code changes automatically to Release
when the release has been done.

Additional TRUFACS inmate account maintenance is done as the need arises for such items as
Sort Codes, Spending Limit Overrides, Weekly or Bi-weekly Re-validation, Restricted Spending
Limit, Item Restriction, Comments, etc.

b. Personal Access Code (PAC). Inmates are given a unique 9-digit PAC for access to their
individual account and instructions on using the ITS system. A PAC is generated automatically
when an ITS account is created. Staff are not required to print PACs for inmates transferred from
other Bureau institutions.

PACs are delivered to inmates in a secure manner. Staff advise inmates that their PACs are
confidential and should not be shared with other inmates, and they should report a compromised
PAC immediately to Unit Management staff. Unit Management staff notify the Trust Fund
Supervisor of a compromised PAC. Trust Fund staff restrict telephone access for the affected



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account immediately. Staff inform inmates that a $5 fee is charged when a replacement PAC is
required.

8.4 INMATE ACCOUNT TRANSACTIONS

a. Recording Inmate Deposit Fund Transactions. TRUFACS is used to record Inmate
Deposit Fund account transactions. Generally, transactions are completed within two business
days upon receipt of the source document. IFRP Withdrawals are processed automatically upon
posting of UNICOR pay. The IFRP function is initiated immediately following the Inmate
Performance Pay posting and reconciliation to collect IFRP payments. See Chapter 11 for further
IFRP processing instructions.

TRUFACS assigns each Deposit Fund transaction a unique internal control number, U.S. Treasury
payment number, cash sub-voucher number, debt number, and/or transaction receipt numbers.
Source documents are grouped and processed by transaction type or reference number. The staff
member posting an income or withdrawal JV assigns the JV number before posting. A total
amount for each transaction type and/or reference/payment number is determined for control
purposes.

This total is compared to the total transaction listing from TRUFACS to ensure the proper
amount(s) have been posted. Each payroll type is assigned an individual JV number. Debt
numbers assigned by TRUFACS are in the following format: YXXXD001 (Y is current fiscal
year, XXX is the institution’s alpha code initializing the debt, D is the identifier for a debt, and 001
is the numerical counter). When funds are collected by the TRUFACS automated process, an
Automated Debt Payment Report and JV prints with the TRUFACS assigned debt reference
number.

After each transaction is totaled and verified, extracts are performed for the specific document(s)
processed. Supporting documentation is forwarded to the Certifying Officer or Approving
Official as appropriate for certification. Local procedures are established for control and
verification of data processed and uploaded into the automated accounting system from
TRUFACS.

The time frames for performing extracts are as follows:

                     Extract Type                                         Extract Requirements

 Commissary Sales Extract                                    Daily.
 Inmate Outside Payment Extract                              BP-199 – immediately after processing;
                                                             Release – U.S. Treasury Checks – after the
                                                             inmate has departed from the institution;
                                                             Debt Payments – immediately after
                                                             notification that payment is ready (Automatic


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                                                             Debt Payment Report).
 Inmate Release Card Certification Screen                    Daily.

 Inventory Adjustment Extract                                Immediately upon completion of the
                                                             adjustment.
 TRUFONE Withdrawal Extract                                  Daily.
 JV Extract                                                  Daily/Weekly/Monthly at institution’s
                                                             discretion.
 Outside Income Extract                                      When the balance equals or exceeds $5,000 or
                                                             weekly (on Thursday).
 Purchase Order Extract                                      Upon completion of the Procurement Process.
                                                             Use to establish the obligation (when
                                                             available).
 Reimbursement Voucher Extract                               Weekly. Inmates who have not yet left the
                                                             institution at the time of the extract shall not be
                                                             included.


 TRULINCS Withdrawal Extract                                 Daily.

When a posting error is discovered, the transaction is voided and re-entered using the exact
reference number used in the original entry, with the exception of negotiable instruments posted
locally. Correcting entries for locally posted negotiable instruments requires the original receipt
number with a prefix of “9” as the reference number. Voiding entries removes and replaces the
incorrect transaction from the extract file if the correction was made before extracting the
transaction(s).

If the correction was made after the extract was performed, the voided and re-entered transaction is
included in the new extract file. The only exception is a U.S. Treasury check payment
transaction. Once an extract has been performed in TRUFACS for a U.S. Treasury payment
transaction, the voiding entry is not included in the new extract file, but is included on the
TRUFACS Trial Balance Report.

Note: A voiding entry for a U.S. Treasury payment transaction removes the original record from
the extract file if the extract was not performed before processing the voiding transaction. U.S.
Treasury payment transactions containing errors are deleted in the automated accounting system
before disbursement, or through PACER after disbursement.

U.S. Treasury checks sub-certified in the automated accounting system which were erroneously
voided in TRUFACS require an Administrative number to correct. Institution staff must contact

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the Trust Fund Branch, Deposit Fund staff, via the trouble ticket system to request the
Administrative number.

b. Inmate Account Balance Inquiries. Inmates are instructed to use TRULINCS to view their
account balance and transactions or to use the Inmate Telephone System to access their account
balance. Although inmates are allowed to make inquiries concerning their account transactions
as prescribed locally, institutions are not required to provide TRUFACS receipts to inmates for
withdrawals and income transactions.

c. Accounting for TRUFACS Deposit Fund Transactions. TRUFACS generates JVs as
required along with automated accounting entries for transactions that affect inmate funds. The
only exceptions are transactions requiring an accounts receivable entry or requiring corresponding
entries affecting the Salaries and Expenses Appropriation.

8.5 MANAGEMENT OF INMATE ACCOUNTS WITH NEGATIVE BALANCES

Documentation relating to creation of a negative inmate account balance is scanned and attached
to the transaction that created the negative balance. Scanned documentation includes a
memorandum from the Trust Fund Supervisor notifying the Warden of the negative balance,
explaining events leading to the negative balance, and identifying corrective steps. A negative
balance created as a result of a LockBox correcting entry does not require Warden notification.
Trust Fund Branch Deposit Fund staff provide supporting documentation in cases of LockBox
errors/entries resulting in negative account balances.

Upon TRUFACS transfer of a negative balance, the gaining institution receives the negative
balance with the inmate account record and images of all scanned documents for reference. The
Trust Fund Supervisor, or the staff member responsible for oversight of Deposit Fund activities,
reviews the images related to the inmate’s account balance to determine if the documentation
explains the negative balance.

See Section 8.1.b if a negative balance is a result of a staff error. If the negative balance is not the
result of staff error, only the above-referenced memorandum to the Warden is necessary while the
inmate is in custody. If funds are not recouped before release, debt management procedures are
initiated per the Program Statement Financial Management – Debt Management when the
inmate is being or has been released.

8.6 MANAGEMENT OF CONFISCATED FUNDS

Funds in an inmate’s possession are delivered promptly to the Cashier. The Warden, or
authorized representative, provides in writing a determination whether the funds are considered
confiscated funds or credited to an inmate’s account.

Confiscated funds are deposited immediately to Miscellaneous Receipts Account – Forfeitures of
Unclaimed Money (151060).


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Funds found in an institution that cannot be attributed to a specific inmate are delivered to the
Accounting Section and deposited in accordance with the Program Statement Imprest Funds,
Collections, and Deposits.

8.7 MANAGEMENT OF DECEASED INMATES’ FUNDS

If an inmate dies with funds remaining in his/her Inmate Deposit account, that money should be
distributed in accordance with the laws of descent and distribution in the relevant state. If the
inmate dies with monies due from the United States, payment is not authorized except to a legal
representative of the estate or in accordance with the laws of descent and distribution of the state of
domicile (most recent legal residence).

a. Claims for Funds of Deceased Inmates. Claims received against funds of deceased inmates
are handled at the institution level per 4 GAO 3500. Institutions should submit claims to the Trust
Fund Branch Deposit Fund Section for GAO settlement only when doubt exists as to:

■ The amount or validity of the claim.
■ The person(s) properly entitled to payment under the laws of the domicile of the descendent.

In such cases, the institution transmittal shall explain that doubt exists, and is accompanied by a
Claim Against the United States for Amounts Due in the Case of A Deceased Creditor (SF-1055)
and/or Acknowledgment of Inmate, Part 3 & 4 (BP-A0408) and a copy of the death certificate.

If there is urgent need for payment of a balance under $100 in a deceased inmate’s account, and if
conditions as outlined in the paragraph above are satisfied, the amount may be disbursed from
TRUFACS with the Trust Fund Branch Chief’s written approval. Copies of the BP-A0408 are
attached to such vouchers in lieu of the usual withdrawal request. Documentation is attached to
the payment in TRUFACS through the document imaging process.

b. Unclaimed Funds of Deceased Inmates. Procedures for processing “whereabouts
unknown” inmates are followed when disposing unclaimed funds of deceased inmates with no
relatives or claimants for the funds.

8.8 ENCUMBRANCE OF INMATE FUNDS

Encumbrance of inmate funds for various reasons is essential. Careful consideration is given
before any action; encumbrances are not made indiscriminately. An encumbrance may be made
for various reasons (e.g. to ensure inmates do not seriously deplete their funds before release,
disciplinary measures, inmate’s request, claims). Encumbrances are at the Warden’s discretion or
the result of a disciplinary hearing sanction or notification of a pending Federal court order. This
authority is not delegated below the Associate Warden. Funds the Warden encumbers may only
be released upon his/her approval or upon inmate release.



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a. Recording. It is essential to document all encumbrances. If the funds are encumbered at the
local level, a memorandum signed by the Warden is prepared indicating the amount to be
encumbered and the reason for the encumbrance.

If the funds are to be encumbered as a result of a Disciplinary Hearing Sanction, the signed DHO
Sanction replaces the memorandum.

If the funds are to be encumbered as a result of a pending Federal court order, the pending order
replaces the memorandum and is processed by Central Office Deposit Fund staff.

The original memorandum is forwarded to the Trust Fund Specialist, who establishes the
encumbrance. The memorandum is imaged in TRUFACS and assigned to the encumbered
record.

Upon the inmate’s transfer, the gaining institution has access to the comments and document
image associated with the encumbrance.

b. Funds Received Locally from Unauthorized Correspondent. If funds from unauthorized
correspondents are received and opened inadvertently by Mail Room staff, they are returned to the
sender using a Stamps, Negotiable Instrument & Other Returned to Sender form (BP-A0328). A
copy of the form is forwarded to the inmate and to the inmate’s central file. If the sender’s name
and address cannot be established, the funds are disposed of as follows:

(1) Checks. Checks are returned to the financial institution on which drawn, by the Mail Room
Officer using a Stamps, Negotiable Instrument & Other Returned to Sender form (BP-A0328).
The sender may make a claim to the financial institution or the inmate may make a claim as payee
and receive payment upon release.

(2) Money Orders. U.S. Postal Money Orders are returned to the Post Office with a letter
requesting the funds be placed in their Suspense Account awaiting claim of the sender or claim of
inmate as payee and other pertinent facts. The letter and Postal Money Order are mailed to the:

Money Order Branch
P.O. Box 82452
St. Louis, MO 63182-2452

The Post Office keeps records to approve a claim if one is submitted under established procedures.
Other money orders are returned to the issuing office, by the Mail Room Officer, using a Stamps,
Negotiable Instrument & Other Returned to Sender form (BP-A0328). It is the issuing office’s
responsibility to retain the money orders until a claim is made. In either situation, copies of the
BP-A0328 are forwarded to the inmate and to the inmate’s central file.

c. Funds Received Via the LockBox from Unauthorized Correspondent. Institution staff
may encumber funds posted to an inmate’s account via the LockBox from an unauthorized


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correspondent. Following the encumbrance, staff notify the Trust Fund Branch Deposit Fund
Section by entering a ticket directly into the trouble ticket system. The message includes:

■   Inmate’s committed name.
■   8-digit register number.
■   Date of transaction.
■   Reference number.
■   Amount.
■   Circumstance.

Depending on circumstances, the Trust Fund Branch Deposit Fund staff may void the deposit
made to the inmate account and follow procedures outlined in Section 8.8.b(1) or 8.8.b(2). Funds
returned to the sender, U.S. Post Office, or financial institution are made by U.S. Treasury check.
A letter and copy of the original negotiable instrument are forwarded to the person or organization
receiving the funds.

8.9 MANAGEMENT OF FUNDS OF INMATES WHOSE WHEREABOUTS ARE
UNKNOWN

The U.S. Treasury Financial Manual for Guidance of Departments and Agencies, Chapter 3000 of
Part VI, titled Payment of Unclaimed Monies and Refund of Monies Erroneously Received and
Covered, provides the basic directive for the disposition of funds for inmates whose whereabouts
are unknown.

Claims for funds deposited six or more years ago into whereabouts unknown are not processed or
disbursed. Management of funds for inmates identified whereabouts unknown are managed by
the Trust Fund Branch Deposit Fund Section.

a. Processing Activities for Whereabouts Unknown Accounts

(1) Local Processing. Each institution determines the current or last known location of any
inmate who has funds on a TRUFACS account but has been released. Management of the
inmate’s remaining balance is conducted as described below.

Inmates in SENTRY as Prolonged-In-Transit for 120 days automatically have their TRUFACS
account status changed to SENTRY Release. When an inmate account changes to SENTRY
Release status because it has reached 120 days of Prolonged-In-Transit in SENTRY, research is
done to find the inmate’s current location and an attempt(s) made to disburse the funds.

Attempt(s) to locate the inmate are documented in the comments field of the TRUFACS Inmate
Release Screen.




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If an earnest attempt to locate the inmate fails, the account balance is processed through the
TRUFACS Release Screen by selecting the release type of Transfer Whereabouts UNK. (A sort
code of WUNK Transfer Out is automatically assigned to the account).

When the release type “Transfer Whereabouts UNK” is used, the inmate’s status changes to
Released, and the account transfers from the institution to the Trust Fund Branch Deposit Fund
Section “Whereabouts Unknown Funds Received Account,” pending disposition. The
accounting transactions for this transfer are included in the daily inmate transfer record identified
by the “WH” prefix assigned as the reference number. At this point, the funds become the
responsibility of the Trust Fund Branch Deposit Fund Section.

Note: Inmates returning to Bureau custody whose account balances were transferred to the Trust
Fund Branch Deposit Fund Section or to U.S. Treasury suspense accounts receive their account
balance the next business day following the SENTRY change. A Public Voucher for Purchases
and Services Other Than Personal Form (SF-1034) is not required for these funds to be returned to
the institution. TRUFACS generates a reversing entry for inmates in the 90-day category, and a
“claim” transaction from the appropriate suspense account for inmates whose account balance
transferred to Fund XH or ZE to Fund PF, Central Office. Trust Fund Branch Deposit Fund staff
generate a TRUFACS transfer to the designated institution.

(2) Central Office Processing. The inmate’s account balance is held for 90 days in the Trust
Fund Branch Deposit Fund Section. On the 90th day, after the account record has transferred to
the Trust Fund Branch Deposit Fund Section, TRUFACS generates a JV and an automatic transfer
from Inmates Deposit Fund, PF (15X6085), to either Payment Unclaimed Money, Fund XH
(20X6133), for amounts of $25 or more, or Forfeitures of Unclaimed Money and Property, Fund
ZE (151060), for amounts less than $25. The JV is reported by the Trust Fund Branch Deposit
Fund Section against Agency Location Code 15-10-0903 and the accounting transactions post to
the Trust Fund Branch Deposit Fund FMIS Trial Balance. The JV transferring funds to the
20X6133 account includes the notation, Unclaimed balances under 31 U.S.C. § 725p, p-1.

Claims made by inmates not returning to a Federal institution for amounts previously classified as
whereabouts unknown are forwarded to and processed by the Trust Fund Branch Deposit Fund
Section. Before disbursing funds, the inmate-claimant must provide either a completed SF-1034
or a letter containing their register number, committed name, address, and signature. Upon
receiving the claim, the Certifying Officer processing it certifies the claim’s validity.

When processing the claim, TRUFACS generates the appropriate JV, disbursing the claimed
amount from Fund ZN for amounts less than $25 and from Fund XH for amounts $25 or greater,
collecting to Fund PF. The Trust Fund Branch Deposit Fund Section then processes a U.S.
Treasury payment to the claimant. The processed claims are kept with the JV as backup
documentation.




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8.10 MANAGEMENT OF INMATE SAVINGS PROGRAM

Inmates should be encouraged to participate in a continuous savings program and regularly set
aside a portion of their funds. Savings may be in the form of a passbook savings account,
certificate of deposit, or money market accounts.

a. Saving Accounts. Inmates may open an account and deposit funds to a recognized financial
institution. Unit Management staff assist inmates establishing such accounts. Any passbook,
certificate, checkbooks, etc., received as a result of this account are kept with the inmate’s central
file. Inmates are not permitted to withdraw passbooks, certificates, checkbooks, etc., from the
central file to draw personal checks for other individuals or organizations.

However, when approved, an inmate may withdraw savings to be deposited in the inmate’s
institution Deposit Fund account. A cashier’s check or money order must be requested by the
inmate to be withdrawn from the financial institution where the savings account has been set up.
The requested cashier’s check or money order is mailed to the LockBox for posting to the inmate’s
Deposit Fund account.

b. Savings Bonds

(1) Bond Retention. No provision is made for retention of bonds or issue of “Safekeeping
Receipts” at the Federal Reserve Banks, U.S. Treasury, or the Bureau. Inmates must have bonds
sent to individuals outside the institution.

(2) In Possession Upon Commitment. If savings bonds are in an inmate’s possession at
commitment, the inmate is instructed to mail them to an individual outside the institution.

(3) Received Through the Mail. Bonds received through the mail are returned to the sender by
the Mail Room Officer using a Stamps, Negotiable Instrument & Other Returned to Sender form
(BP-A0328) and certified mail return receipt requested (see the Program Statement Mail
Management Manual).

8.11 MANAGEMENT OF INMATE PRE-RELEASE ENCUMBRANCE

The Inmate Pre-Release Encumbrance allows inmates to encumber (set aside) funds prior to their
release from custody. Inmates set up and manage the Pre-Release Encumbrance by utilizing
TRULINCS. Inmates must designate a percentage of their income (outside source, payroll,
and/or both) they want applied to their Pre-Release transfer. Inmates must designate a target
Pre-Release Encumbrance Balance. Funds will continue to be encumbered towards the
Pre-Release Encumbrance balance until the inmate is released from custody or requests via
TRULINCS to stop the encumbrance. Once funds are transferred, they may not be transferred
back to the available balance by staff except in the following circumstances:




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■ Inmates are released.
■ In rare or unusual circumstances as the Warden deems appropriate. In these circumstances,
  the Trust Fund Supervisor will be given written documentation and process the transfer.

All outside source income and payroll received by an inmate will be applied to outstanding debts
prior to being encumbered towards the Pre-Release Encumbrance.

Pre-Release Encumbrance balances will be utilized when IFRP payments are processed if
necessary to meet the required minimum payment determined on the Inmate Financial
Responsibilities Contract signed by the inmate.

Pre-Release Encumbrances will transfer with the inmate if transferred to another Bureau of Prisons
facility.




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Chapter 9. INMATE ACCOUNTS – DEPOSITS

9.1 AUTHORITY TO ACCEPT FUNDS

Inmate funds are deposited to the U.S. Treasury per the U.S. Treasury Financial Manual, the
Program Statement Accounting Management Manual, and this Manual.

a. Deposit of Funds. The Accounting Technician or the agent representing the LockBox
deposits inmate funds into the Inmate Deposit Fund (15X6085).

b. Deposit of Inmate Earnings. Sources of inmate earnings include UNICOR, Trust Fund, and
Inmate Performance Pay and awards. These funds are posted to inmate accounts as described in
Section 9.10.

c. Acknowledgment of Inmate. The Acknowledgment of Inmate, Part 1 & 2 (BP-A0407)
contains a Power of Attorney assignment that gives the Bureau authority to endorse negotiable
instruments for deposit to the Inmate Deposit Fund account. If an inmate refuses to sign the
BP-A0407, staff flag the inmate’s account as No Power of Attorney and scan the unsigned
form.

Funds received through the LockBox for an inmate with “No Power of Attorney” authorized are
not deposited but returned to sender if an address is available. If an address is not available, the
original instrument is returned to the financial institution that issued it. Only cash upon
commitment may be deposited for inmates flagged “No Power of Attorney.”

Inmates with “No Power of Attorney” authorized are not allowed to receive Western Union or
MoneyGram funds.

d. Endorsement. The Accounting Technician/Cashier and the LockBox agent are authorized to
endorse negotiable instruments only for the purpose of depositing negotiable instruments in the
U.S. Treasury for the personal credit of the inmates. Refer to Section 9.4.b for joint-payee
procedures.

e. New Commitments. New commitments are instructed, during the institution’s Admission
and Orientation Program, to notify their family and friends of the following procedures:

(1) LockBox Procedures

■ Acceptable negotiable instruments (see Section 9.2.a) are sent to the LockBox processing
  center identified in Section 9.5.
■ The inmate’s committed name and 8-digit register number are identified as part of the address
  on the outside of the envelope and on all negotiable instruments.
■ Personal checks, cash, and any negotiable instrument not payable in U.S. dollars cannot be
  accepted.


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■ Any enclosures received with the negotiable instruments (letters, pictures, etc.) will be
  discarded.

(2) Western Union/MoneyGram. Inmates are given Western Union, Quick Collect, and
MoneyGram Express Payment Program procedures to forward to family and friends upon arrival
at the designated institution or during A&O.

9.2 ACCEPTABLE/UNACCEPTABLE NEGOTIABLE INSTRUMENTS

a. Acceptable Negotiable Instruments.

■ Money orders.
■ U.S. Government checks (Federal, state, county, municipal).
■ Foreign negotiable instruments payable in U.S. dollars only with a U.S. Correspondent Bank
  and routing number on the instrument.
■ Business checks.
■ Cashier’s checks/certified checks/bank drafts

The inmate’s committed name (no nicknames) and register number must be printed legibly on all
negotiable instruments and on the outside of the envelope that contains the negotiable instrument.

b. Unacceptable Negotiable Instruments. The following items will not be accepted and will
be returned to sender or the issuing agency, or deposited into the U.S. Treasury Miscellaneous
Receipts Account:

■ Negotiable instruments that do not contain both a valid committed name and 8-digit register
  number.
■ Negotiable instruments with expired dates.
■ Negotiable instruments that appear suspicious in nature or appear to have been altered.
■ Personal checks.
■ Foreign funds and other negotiable instruments not payable in U.S. dollars and/or lacking a
  U.S. Correspondent Bank and routing number on the instrument.
■ Cash received through the mail.
■ Mailings not containing sender information.
■ Mailings to the LockBox that do not contain valid inmate committed names and 8-digit
  register numbers on the envelope.
■ Counter checks.

9.3 HELD NEGOTIABLE INSTRUMENTS

a. Held Negotiable Instruments. A 15-day hold is placed automatically on negotiable
instruments, except those in paragraph 9.3.b. Foreign negotiable instruments payable in U.S.
dollars are held for 45 days.



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The hold period begins on the date the transaction is posted to the inmate account as an outstanding
negotiable instrument. The amount of the outstanding negotiable instrument is reflected on the
inmate’s account balance (but not the available balance) until the hold period expires.

(1) Release of Held Funds. Funds placed on hold are posted automatically to the inmate’s
account when the hold period expires.

(2) Adjusting Release Dates. Institutions are authorized to adjust the system-calculated
release date of an outstanding negotiable instrument if an error was made during processing.

b. Negotiable Instruments Without Holds. Ordinarily, the following items are not held and
funds are immediately available to the inmate. However, some negotiable instruments may
require a hold if they are deemed a financial risk:

■ U.S. postal money orders.
■ U.S. Government-issued checks (Federal, State, county, municipal).
■ Privately contracted correctional facility checks.
■ Postal money orders issued by Anguilla, Antigua and Barbuda, Bahamas, Barbados, Belize,
  British Virgin Islands, Coronado, Dominica, Grenada, Montserrat, St. Christopher, Nevis, St.
  Lucia, and St. Vincent and the Grenadines.
■ Canadian postal money orders payable in U.S. dollars.

9.4 NEGOTIABLE INSTRUMENTS REQUIRING SPECIAL HANDLING

a. Endorsed or Mutilated Checks. Endorsed or mutilated checks are not included on a
schedule of canceled checks. The U.S. Treasury examines the facts relating to each endorsed
check that has been returned after negotiation by the payee. This is required to protect the rights
of the endorser, who may be holder in due course.

Also, the Treasury examines the facts relating to mutilated checks; such checks must be in their
possession to issue new ones to the payee or claimants.

Consequently, a separate schedule is prepared for endorsed or mutilated checks showing the
number and amount on each and indicating the action to be taken. In each case, the U.S. Treasury
gives the administrative office a disposition of each undeliverable check returned. Following
receipt of the returned check notice, remailing, cancellation, or deposit in the U.S. Treasury is
authorized as indicated.

b. Joint-Payee Checks. Joint-payee checks received are not credited to an inmate’s account or
permanently retained in the institution to preclude liability for endorsement. Whenever a
joint-payee check is received, it is recorded in a Joint-Payee Check Register, which includes:

■ Date received.
■ Date of check.


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■   Amount of check.
■   Financial institution’s routing number.
■   Name of drawer.
■   Drawer’s account number.
■   Names of joint payees.
■   Disposition (Trust Fund Supervisor initials and date).

The Cashier is responsible for maintenance of the register and security of the check on receipt at
the institution. When received through the LockBox, the joint-payee check is forwarded to the
Trust Fund Branch Deposit Fund Section where it is logged into the register and forwarded to the
institution.

Upon receipt of a joint-payee check, the Unit Manager is notified and every effort made to send the
check out of the institution within two business days. The Unit Manager contacts the inmate to
determine the disposition of the check.

The inmate is advised that the check cannot be processed or retained in the institution and that the
inmate is to make any arrangement for disposition of the check’s proceeds with the other joint
payee through correspondence.

A letter of transmittal is prepared, with copies for the Accounting Technician/Cashier (to support
the disposition entry), inmate, and the inmate’s central file.

Note: Use the following examples below as guidance for preparing transmittal letters.

Example (a): Used to return or forward the check to the other joint payee when the inmate has
placed his/her endorsement on the check that was originally received by the inmate, was in the
inmate’s possession at the time of commitment, or was sent by the other joint payee and the inmate
refuses to endorse the check sent by the other joint payee:

    “Enclosed is a check dated ___________ in the amount of $_________ payable to (show
    name of joint payee exactly as written on check) issued by (show name of payer). (a)
    (show name of inmate) has placed his/her endorsement of the enclosed check, and it is
    forwarded to you for further handling. Any proceeds of this check returned for his/her use
    should be in the form of a money order, cashier’s check, certified check, etc., but do not
    return the attached check, as it cannot be negotiated. (b) (show name of inmate) has
    refused to endorse the enclosed check, and it is forwarded to you as it cannot be retained at
    this institution.”

Example (b): Used to return the check to the payer when the inmate has it in his/her possession at
time of commitment or received it directly from the payer and the inmate refuses to endorse the
check for forwarding to the other joint payee or the inmate has endorsed the check that was
forwarded to the other joint payee, who returns the check unendorsed:



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    “Enclosed is your check dated _______ in the amount of $________ made payable to
    (show exactly as written on check). (Name of joint payee refusing to endorse the check)
    has refused to endorse this check. As we cannot retain or negotiate the check, it is being
    returned. Any correspondence pertinent to this matter should be directed to the joint
    payee involved.”

Distinctions should be made between joint-payee checks that require the endorsement of only one
payee to negotiate and those that require the endorsement of all joint payees. For example, checks
written payable to “John or Mary Doe” and “John and/or Mary Doe” require only the endorsement
of the inmate. This type of check is handled in the same manner as any other check after the
inmate has endorsed it. Checks written payable to “John and Mary Doe” require endorsement of
both parties to negotiate and are handled as joint-payee checks.

c. Returned Checks. If a check posted to an inmate’s account is returned by the U.S. Treasury
on a debit voucher or notification of credit advice from the LockBox for insufficient funds (NSF),
the amount of the returned check plus any service charges incurred is removed from the inmate’s
account immediately. If a negative balance is created, immediate action is taken as required in
Chapter 8. The original NSF check is filed with the debit voucher.

d. Questionable or Evidence Funds. If, at the time of admission, there is a question regarding
the funds received with the inmate, one of two courses of action is followed:

(1) Evidence Funds. If the funds are required as evidence in a case, they are not accepted.

(2) Other Than Evidence Funds. If a claim exists on the funds other than as evidence, such as
for theft, embezzlement, etc., the funds are received in the usual manner. The receipt issued bears
the provision “Unavailable Pending Determination of Legal Ownership.” The funds are
deposited into the U.S. Treasury Miscellaneous Receipts Account pending a determination.

e. Insurance, Trust, and All Other Similar Settlement Checks. Endorsement and deposit of
insurance, trust, and similar checks are generally considered as acceptance of settlement.
Whenever such negotiable instruments are received locally, they are held in the Mail Room and
the Unit Manager notified. When received through the LockBox, the check is forwarded to the
Trust Fund Branch Deposit Fund Section, where it is logged into the check register and forwarded
to the institution Business Administrator/Trust Fund Supervisor to be processed by the discipline
responsible for Deposit Fund activity. If the inmate desires to accept settlement, the inmate
endorses the check and it is processed locally. If the inmate refuses to endorse the check, it is
returned to sender with a letter indicating the inmate refused to endorse.

f. U.S. Treasury Checks. U. S. Treasury checks should not be deposited at the local level
unless the check has been forwarded from the Trust Fund Branch for an inmate’s signature. This
does not include checks scheduled by the institution to come back c/o Cashier or returned from the
payee to be canceled. All other U.S. Treasury checks should be forwarded to the following
address:


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Trust Fund Branch
Deposit Fund Section
ATTN: Financial Assistant
320 First St., NW, Room 5004
Washington, DC 20534

9.5 RECEIPT OF FUNDS – LOCKBOX

The Bureau has an Interagency Agreement with the U.S. Treasury to operate a LockBox Program.

a. Receipt of Inmate Funds. Funds for deposit to inmate accounts (Inmate Deposit Fund) are
sent to the LockBox at the following address:

Federal Bureau of Prisons
Insert Inmate’s Committed Name
Insert Inmate 8-Digit Register Number
PO Box 474701
Des Moines, IA 50947-0001

Example:

Federal Bureau of Prisons
John Doe
12345-678
PO Box 474701
Des Moines, IA 50947-0001

Note: The only exceptions to this procedure are in Sections 9.6 and 9.7.

The inmate’s committed name (no nicknames) and register number must be printed on all
Bureau-approved negotiable instruments (a list of these is in Section 9.2.a.), and on the outside of
the envelope.

Negotiable instruments or mailing envelopes that do not have the inmate’s committed name
and 8-digit register number are returned to the sender if an address is available. If an
address is not available, funds are deposited into the U.S. Treasury Miscellaneous Receipts
Account.

b. LockBox Procedures. Inmates’ family and friends send negotiable instruments to the
LockBox. The LockBox receives mail seven days a week, excluding Federal holidays, and
processes negotiable instruments the same day they are received.




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Negotiable instruments are verified to ensure they are Bureau-approved. Inmate names and
register numbers are verified with SENTRY data.

The Bureau receives electronic funds and images of negotiable instruments/envelopes to facilitate
staff monitoring of inmate funds.

TRUFACS distributes funds to each inmate’s account after the nightly process. Funds are
available to the inmate the following day.

Negotiable instruments negotiated in error by the LockBox, or that do not have a valid committed
name or register number, are not returned to sender until after any hold period expires.

c. LockBox Inquiries

(1) Inmate. Inmates are advised to direct LockBox inquiries to local Trust Fund staff. Trust
Fund staff contact the Trust Fund Branch Deposit Fund Section for support only after they have
exhausted local avenues to address the inquiry.

Note: Institutions do not communicate directly with the U.S. Treasury or the LockBox
contractor.

(2) Public. Inmates are instructed to advise their family and friends who have inquiries on
funds sent to the LockBox to call 202-307-2712 for assistance after enough time has passed for
the mail to reach the LockBox. Family and friends may need to place a tracer on these funds
with the originator of the negotiable instrument.

9.6 RECEIPT OF FUNDS – LOCAL INSTITUTION

Funds received through the mail at the institution for credit to the Inmate Deposit Fund are
returned to the sender with a letter containing the LockBox address. Funds received at the
institution may be processed locally or forwarded to the LockBox for processing only in unusual or
special circumstances:

■   Funds received from a self-commitment inmate.
■   Funds received from inmates on escorted trips or furlough returns.
■   Cash funds received from inmates escorted by the U.S. Marshals.
■   Insurance, Trust, and similar settlement checks.
■   Joint payee checks (only those requiring one signature; e.g., John or Mary Doe).

a. Funds Forwarded to the LockBox. The LockBox deposits inmate funds upon receipt.
Funds received by the LockBox are processed the day they are received and posted to the inmate’s
account the following day. A LockBox Field Submission (BP-A0905) is required for negotiable
instruments made out to multiple inmates and forwarded to the LockBox.



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Funds forwarded to LockBox are in the form of an acceptable negotiable instrument (see Section
9.5.b.). Copies of the negotiable instruments and BP-A0905s are kept.

A single negotiable instrument made out to multiple inmates sent from institutions to the LockBox
is rejected by the LockBox and returned to the Trust Fund Branch Deposit Fund Section when:

■ It is received without a BP-A0905.
■ The value of the negotiable instrument(s) and the BP-A0905 are not in balance.

b. Funds Processed Locally. Inmate funds processed for deposit locally are receipted on a
Temporary Receipt (BP-197). A register of these receipt books is kept and stored with the
BP-197s in the Cashier’s Office, in the safe or a securely locked cabinet. When a book is issued,
the register indicates date of issue and is signed by the receiving staff. When the book is returned,
the date is indicated on the register. The staff member issuing the BP-197 is accountable for
receipted funds.

Completed books are stored. An individual receipt number register is kept for each book. As the
yellow copies of the BP-197, including voids, are received with the schedule of collections, they
are checked off the register. The Accounting Section ensures that all receipts, including voids,
are accounted for. Once funds are posted to the inmate’s account, the Accounting Section files
the BP-197.

Funds received from inmates are entered on the BP-197. The staff member completes and signs
the BP-197. The original receipt is given to the inmate. The staff member totals daily receipts
and verifies the cash collected. The funds and the yellow copy of the BP-197 are sealed in an
envelope; the staff member writes the amount and signs his/her name across the seal. Only funds
belonging to inmates are placed in the depository. The second carbon copy (blue) remains in the
receipt book as a permanent record.

c. Night Depository Procedures. The night depository is located in a secured area and
constructed to prevent access to funds through the outside deposit slot. The depository consists of
a double locking device. Two separate locking devices are required for complete depository
security.

Each Accounting Technician/Cashier and alternate maintains a key to one lock on his/her personal
key ring along with his/her cash drawer keys. Under no circumstances are these keys turned into
the Control Room. A duplicate of the Accounting Technician/Cashier’s depository key is kept in
the same manner as the duplicate key to each cash box per the Program Statements Accounting
Management Manual and Correctional Services Manual. The other key required to open the
depository is kept on a separate key ring in the Control Room.

d. Pick-up of Funds. The institution shall establish local procedures to ensure that funds
receipted via BP-197 are deposited within one business day. The Accounting
Technician/Cashier, accompanied by the Business Administrator or designee, opens the


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depository and verifies the contents of the envelopes by comparing the amounts with the enclosed
receipts. As each envelope is opened and verified, the Accounting Technician/Cashier initials the
blue copy of the BP-197, accepting responsibility for the funds. The Accounting Technician/
Cashier processes the funds in TRUFACS using the BP-197 as the reference number.

9.7 WESTERN UNION QUICK COLLECT/MONEYGRAM PROGRAM

Ordinarily, funds sent to an inmate via the Western Union Quick Collect/MoneyGram Program are
posted to the inmate’s account within two hours of the transfer, if it was initiated between 7:00
a.m. and 9:00 p.m. EST. Fund transfers after 9:00 p.m. EST are posted by 7:00 a.m. the following
day. Funds received may be viewed by the inmate on TRULINCS immediately after the posting.

9.8 ACCOUNTING FOR CENTRALIZED PROCESSES

LockBox, Western Union Quick Collect, MoneyGram Express Payment funds, and centralized
UNICOR payroll are processed in the automated accounting system and reported to the U.S.
Treasury by the Trust Fund Branch Deposit Fund Section. Funds processed by the Deposit Fund
Section affect each institution’s automated accounting system Trial Balance by debiting General
Ledger Account 1190.30 and crediting General Ledger Account 2400.10. These funds are
reflected on the institution’s automated accounting system FMS 224 in the Trust Fund Receipts
column and are used to complete the local monthly proof check.

9.9 INMATE RECEIPTS/STATEMENTS

Inmates will not be issued receipts/statements (except BP-197) at institutions where inmates may
view receipt/statement information utilizing the TRULINCS terminals.

9.10 INMATE EARNINGS

Inmates may earn UNICOR, Trust Fund wages, or Inmate Performance Pay. Inmate Performance
Pay and Trust Fund Pay are processed using TRUPAID. Individual receipts are not issued to
inmates for pay earned. Pay may not be posted on the first day of any month.

a. Inmate Performance Pay. Inmate Performance Pay is processed per the Program Statement
Inmate Work and Performance Pay and is submitted to the Inmate Pay Coordinator by the fifth
workday after the end of each pay period. Inmate Performance, Trust Fund, Drug Abuse
Program, and Psychological Services pay are posted during the same processing. Pay must be
posted by the 10th day of each month to ensure timely processing of IFRP payments.

The Trust Fund Specialist performs the JV extract for the inmate pay and uploads it to the
automated accounting system after the pay is reconciled.

b. Centralized UNICOR Pay. UNICOR furnishes each inmate a monthly statement of
earnings. The centralized UNICOR pay is posted on the 8th calendar day each month. When the


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centralized UNICOR file is processed, payments for active IFRP contracts that are based on the
required percentage are calculated, and payments deducted and stored for the nightly process.
The centralized UNICOR pay process calculates the percentage to apply to IFRP. If the IFRP
deduction does not meet the $25 minimum requirement, the process deducts available funds
(available before pay posting) from the inmate’s balance. If the minimum IFRP requirement is
not met, the inmate is flagged as “IFRP Refuse” by Unit Management staff in SENTRY per the
Program Statement Inmate Financial Responsibility Program. The nightly process flags the
inmate as IFRP Refuse and applies the appropriate spending limit.

The Trust Fund Specialist is responsible for completing the IFRP process after the centralized
UNICOR pay has posted.

The IPAC to bill UNICOR and the associated accounting entries impacting the Inmate Deposit
Fund, PF, 15X6085 will be accomplished by the Trust Fund Branch, Deposit Fund Section.

c. Trust Fund Pay. Trust Fund pay is forwarded by the Trust Fund Supervisor to the Inmate
Pay Coordinator after it has been certified and marked ready for extraction.

d. Advance Pay. Inmates receive all personal funds at the time of their release. Staff post an
advance pay transaction at least three days before the inmate’s release. The Trust Fund Specialist
reviews and posts to the inmate’s account any valid advance pay transaction using the Inmate
Release function in TRUFACS. The Trust Fund Specialist extracts the advanced pay at least
monthly.

e. Multiple Payments. Inmates may receive wages from more than one pay department if both
are based on an hourly wage and inmates are paid only for hours actually worked. The Inmate
Pay Coordinator uses the TRUPAID Multiple Pay/Restriction Report to verify duplicate
payments.

f. Accounting for Inmate Pay. Accounting for pay is only partially automated in TRUFACS.
The Trust Fund Specialist performs a TRUFACS JV extract to upload into the automated
accounting system. The extract generates the JV accounting entries to record the collection to the
Inmate Deposit Fund, PF. A manual entry to record the disbursement of these funds is entered in
the automated accounting system when the collection is uploaded. Payroll reports and backup
documentation are filed in the Deposit Fund Monthly File with the pay.




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Chapter 10. INMATE ACCOUNTS – WITHDRAWALS

10.1 AUTHORITY TO WITHDRAW INMATE FUNDS

No funds are withdrawn from an inmate’s account without his/her prior consent except as noted
below. The inmate’s prior consent is his/her signature; it is required to authorize withdrawals,
except:

■   To correct administrative errors.
■   For court-ordered PLRA filing fees.
■   For medical care co-pay payments.
■   For release payments.
■   To process “whereabouts unknown” accounts.
■   For transfers to Bureau facilities.
■   For phone transfers.
■   Processed for accounts of deceased inmates.
■   Processed for inmates deemed incompetent.
■   Processed for debit vouchers.
■   Processed for payments over cancel.
■   Processed for Internal Revenue Service (IRS) tax liens.
■   For TRULINCS transfers.
■   To comply with Federal court orders.

The requirement for prior inmate consent includes withdrawals for committed fines, attachments,
liens, or any other legal process for the satisfaction of claims. Exceptions are IRS Tax Liens (see
Section 5.n) and Federal court orders (see Section 5.z). Funds on deposit in the Bureau’s Deposit
Fund are properly subject to tax lien and levy.

Inquiries from claimants (except from the IRS and Federal court orders) are acknowledged by
communicating that if the claimant wishes to pursue the attachment of funds through the courts,
Bureau policy only allows claimants to be notified before the inmate’s release.

When specifically requested, institutions/Trust Fund Branch have the discretion to encumber
funds for which claims are made. However, encumbrance is not mandatory and all claims, except
from the IRS and Federal court orders, are handled in the same manner.

10.2 APPROVAL TO WITHDRAW INMATE FUNDS

Staff approval is required for processing withdrawals initiated by inmates to send funds to outside
parties. Approving officials for these withdrawals are:

■ Unit Managers and Supervisors of Education for withdrawal requests up to $500.




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■ Disciplinary Hearing Officers (DHO) for repayment of willful and malicious damage to
  Government property following a DHO finding that the inmate committed such a prohibited
  act. There is no dollar limit on the approval authority.

    Note: If the institution prepared a Request for Withdrawal of Inmate’s Personal Funds
    (BP-199) for the inmate to sign to pay for damage to Government property, etc., and the inmate
    is unwilling to sign, funds may not be withdrawn; this would be contrary to the terms of the
    Trust. The inmate is advised of the institution’s intention to encumber their personal funds up
    to the amount represented by the Government’s claim for damage; the encumbrance remains
    on his/her account for the rest of the inmate’s sentence.

■ Associate Wardens, Superintendents of Industries, and Camp Administrators for withdrawal
  requests over $500.

Approving officials and the Accounting office ensure that multiple Withdrawal Record – Inmate
(BP-201) forms or Request for Withdrawal of Inmate’s Personal Funds (BP-199) are not used to
circumvent the $500 withdrawal limitation. Withdrawals made under the IFRP are exempt from
the $500 limit. Unit Management staff approve the IFRP withdrawal request.

After the inmate signs the Request for Withdrawal of Inmate’s Personal Funds (BP-199), at no
time and under no circumstances is the inmate permitted to handle or see any information
contained on it, or process/view transactions on the automated accounting system. To prevent
possible alteration of the approved BP-199, a staff member hand-delivers inmate-signed BP-199s
to the Trust Fund Specialist or secured Trust Fund designated area for processing. If there is any
question concerning the BP-199’s security, Trust Fund staff return the BP-199 to the originating
office.

10.3 CHECK TRACERS AND STOP PAYMENTS

a. Check Tracers. Staff do not initiate check tracers requested by inmates for a Request for
Withdrawal of Inmate’s Personal Funds (BP-199) processed on their behalf by the Bureau unless
at least 90 days have passed since it was certified in the automated accounting system.

b. Stop Payments. Staff do not initiate stop payments requested by inmates for a Request for
Withdrawal of Inmate’s Personal Funds (BP-199) processed on their behalf by the Bureau unless
at least 90 days have passed since it was certified in the automated accounting system.

c. Check Copies. Check copies requested by inmates will not be provided unless 90 days have
passed since it was certified.

10.4 GENERAL PROCESSING OF DEPOSIT FUND WITHDRAWALS

a. Source Documents. Source documents used to initiate inmate withdrawals vary depending
on the type of withdrawal. The appropriate document for each withdrawal is identified in the


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following section. Withdrawals initiated by inmates and requiring a staff signature for approval
are made using a Request for Withdrawal of Inmate’s Personal Funds (BP-199), or a Withdrawal
Record – Inmate (BP-201).

These requests are completed in TRULINCS or legibly in ink and signed by the inmate in the
presence of Unit Management staff, then hand-delivered by the staff member to the approving
official, who signs the form and hand-delivers it to the Trust Fund Specialist or secured Trust Fund
designated area.

Before processing withdrawals, the Trust Fund Specialist verifies that the forms have been
accurately completed and signed. Forms not accurately completed and signed are voided and
returned to the inmate. In addition, the Trust Fund Specialist annotates the voucher number and
staff’s initials. The Trust Fund Specialist and Certifying Officer are both responsible for ensuring
that the approval process has been completed before BP-199s are processed.

b. Funds Availability. Approved withdrawal requests are subject to availability of funds.
Withdrawal requests are processed for payment from the Inmate Deposit Fund (15X6085).
Withdrawal transactions in TRUFACS generate an immediate verification of the inmate’s account
balance before completing the transaction. Depending on the withdrawal type selected,
TRUFACS creates a debt automatically, allows the inmate’s account to go into a negative balance,
or records a zero non-sufficient funds (NSF) tracking transaction if the amount of the transaction
exceeds the balance in the inmate’s account. Refer to the specific transaction to determine the
action initiated by TRUFACS.

c. Processing Time. Requests for Withdrawal of Inmate’s Personal Funds (BP-199) are
processed and scheduled at least once a week.

d. Repeating Monthly Withdrawals. Inmates requiring repeating monthly withdrawals
indicate the begin date and end date on the Request for Withdrawal of Inmate’s Personal Funds
(BP-199). A subsequent request to stop a monthly withdrawal is made by the Inmate in
TRULINCS or on an Request to Staff Member only when TRULINCS is not available. Requests
for repeating withdrawals are scanned; the scanned copy of the BP-199 serves as the original
request each month.

If the inmate is unable to make a monthly withdrawal because of NSF, the status of the monthly
withdrawal request is set to inactive and must be resubmitted by the inmate. If this type of
withdrawal request exceeds the available funds, a zero dollar NSF tracking transaction is
generated. These withdrawals do not allow creation of a negative account balance or a debt.

e. Processing Withdrawals to Foreign Countries. The Code of Federal Regulations (CFR),
Title 31, Part 211, restricts check delivery to certain addresses outside the United States, its
territories, and possessions. Upon receiving a request for withdrawal in favor of a payee in a
foreign country, the Business Administrator/Trust Fund Supervisor reviews 31 CFR, Part 211, to
determine whether the withdrawal can be effected. If so, the withdrawal is at the Business


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Administrator/Trust Fund Supervisor’s discretion and is certified appropriate for payment. If,
after reviewing the regulation, there is any question concerning payment, it is referred to the Chief,
Trust Fund Branch.

f. Cash Payments. Effective October 1, 2001, 31 U.S.C. § 3321-3333 required Federal
agencies to eliminate imprest funds except where cash payments were required by law.

The Bureau is required by 18 U.S.C. § 3624 to provide inmates cash gratuities at release. In
addition, cash payments are allowable based on a waiver to the U.S.C. in 31 CFR § 208 for
transportation expenses and personal funds for releases, furloughs, escorted trips, furlough
transfers, and emergency furloughs for the purpose of bedside visits or funeral attendance.

When cash payments are made for escorted trips, furloughs, furlough transfers, emergency
furloughs, and releases, TRUFACS generates a Reimbursement Voucher Extract, Reimbursement
Sub-Voucher Report, and transaction listings. The original document(s) are forwarded to the
Cashier to support the Reimbursement Voucher.

10.5 SPECIFIC PROCESSING OF INMATE WITHDRAWALS

a. Inmate-Initiated Withdrawals to Outside Entities. These include withdrawals requested
in favor of individuals or organizations outside the institution. Examples include: Bills, Books,
Law Books, Child Support, Court Fees, Donations, Education Materials, Gifts, Legal Fees,
Outside Savings, Subscriptions, Support, Tithes, and Tuition. This type of withdrawal is made in
favor of the payee and initiated on receipt of a signed, written request using a Request for
Withdrawal of Inmate’s Personal Funds (BP-199) or Withdrawal Record – Inmate (BP-201). The
original BP-199 or BP-201 is attached to the TRUFACS Outside Payment Report and the
Sub-Certification Report received for the inmate funds withdrawn and scheduled for U.S.
Treasury check payments.

If an inmate lacks sufficient funds to allow a BP-199 or BP-201 to be processed, the Trust Fund
Specialist stamps it “Non-Sufficient Funds,” notes in the margin the amount of funds in the
account, and returns it to the inmate.

If this type of withdrawal request exceeds the inmate’s available funds, a zero dollar NSF tracking
transaction is generated. These withdrawals do not allow the creation of a negative account
balance or a debt.

b. Inmate-Initiated Withdrawals to the United States. These include withdrawals requested
in favor of the United States. Examples include: escorted trip settlements, COIF, Damage to
Government Property, DHO Sanction, TRUFONE Reports, PAC Replacement, institution charges
for telephone calls, copies, postage, and urinalysis fees.

A signed Request for Withdrawal of Inmate’s Personal Funds (BP-199)/Withdrawal Record –
Inmate (BP-201) is the source document and is drawn in favor of the Treasurer of the United States


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for the transactions listed above. Since this type of BP-199 is processed manually, inmates are
not required to complete the bubble section of the form. If the inmate has NSF to process the
withdrawal, TRUFACS prompts the staff to create a debt and the BP-199 is scanned into
TRUFACS. The debt’s creation assigns a debt number automatically, and encumbers funds until
the total owed the government is satisfied. When the debt is satisfied, a JV is processed and the
appropriate accounting entries forwarded to the JV extract section for upload to the automated
accounting system.

c. Prison Litigation Reform Act (PLRA) Withdrawals. In accordance with the PLRA, 42
U.S.C. § 1997e, inmates may be assessed certain fees for filing lawsuits. The source document
for these withdrawals is the court order. No inmate signature is required to process these
withdrawal types. PLRA documents are scanned into TRUFACS.

PLRA withdrawals are processed using the Misc Inmate Debt Maintenance Screen in TRUFACS.
These withdrawals do not allow creation of a negative account balance. The source document is
attached to the TRUFACS Outside Payment Report and the Sub-Certification Report received for
the inmate funds withdrawn and scheduled for U.S. Treasury check payment.

d. Transfer of Funds Between Inmates

(1) Transfers of Funds Between Inmates at Same Institution. Funds may be transferred
from the account of one inmate to another when the inmates are close relatives and the Warden
approves in writing. The Request for Withdrawal of Inmate’s Personal Funds (BP-199) shall be
completed legibly in ink and signed in the presence of Unit Management staff. The source
documents are the approval memorandum from the Warden authorizing the transfer between
inmates and the signed BP-199. The Warden’s memorandum is scanned into TRUFACS

If this type of withdrawal request exceeds the inmate’s available funds, a zero dollar NSF tracking
transaction is not generated. These withdrawals do not allow creation of a negative account
balance or a debt.

(2) Transfers of Funds Between Inmates at Different Bureau Institutions. When the
transfer of funds involves inmates in separate institutions, it is necessary to obtain both Wardens’
prior written approval. Once both have been obtained, the inmate transferring the funds signs the
Request for Withdrawal of Inmate’s Personal Funds (BP-199) for the amount to be transferred.
The institution withdrawing the funds uses the special TRUFACS “Transfer Between Institutions”
function. This transfers the funds to the receiving inmate at the other institution automatically.
TRUFACS generates the appropriate reference number and accounting entries, which are
uploaded to the automated accounting system by Trust Fund Branch staff.

The source documents for these withdrawals are the approval memorandums from the Wardens
and the signed BP-199. The Wardens’ memorandums are scanned into TRUFACS.




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If this type of withdrawal request exceeds the inmate’s available funds, a zero dollar NSF tracking
transaction is not generated. These withdrawals do not allow creation of a negative account
balance or a debt.

e. IFRP Withdrawals. Refer to Chapter 11.

f. Medical Co-Pay Withdrawals. Per the Medical Copay Act (18 U.S.C. § 4048) inmates are
assessed a fee for certain medical visits. Health Services staff enter the appropriate information
on each medical visit and TRUFACS processes the withdrawal automatically, if required. If the
inmate has NSF to process the withdrawal, TRUFACS automatically creates a debt.
TRUFACS creates a JV automatically and the accounting entries are forwarded to the JV extract
section for upload to the automated accounting system.

g. Inmate Releases – Release Cards. All funds with the exception of gratuities and
transportation are paid utilizing inmate release card.

h. Inmate Releases – Release Card Unavailable. Unit Management staff furnish the
recommended amounts for gratuities to be paid in cash before release so that the Prisoner’s
Personal Funds and Cash Gratuities Voucher (BP-A0112) may be ready for signature when the
inmate is discharged. Inmate Systems Management furnishes the Accounting Technician a list of
inmates to be released. Cash disbursements related to releases are listed on the BP-A0112 and
signed by a Certifying Officer as approved before the payment is made. The inmate signs the
voucher when the funds are received.

If an after-hours release is conducted, the control room officer signs the cashier’s copy of the
BP-A0112, taking responsibility for the funds. The Control Room Officer obtains the inmate’s
signature on the original BP-A0112 when the release funds are given to the inmate, and the form is
returned to the cashier the next business day.

Payments from the imprest fund may not exceed $500 for any one transaction, except that
unlimited cash may be provided:

■ For the personal funds of individuals being deported as illegal immigrants.
■ For the personal funds of unsentenced inmates upon their release from custody.
■ From personal funds of individuals authorized emergency furloughs for bedside visits or
  funeral attendance.

The limits above are the maximum amounts allowable for payment by the Cashier. Institutions
may establish lesser amounts for cash payment, with the balance being forwarded promptly by
check.

Inmates, upon release, are entitled to receive their personal funds in their Inmate Deposit Fund
Account. Upon release, inmate personal funds to be paid in cash are held to a minimum.
Release payment computations include accrued institution earnings, by providing the inmate with


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an Advance Pay for payroll that has not been processed. Payments made to the inmate upon
release are in the form of cash up to $500; the remaining balance is disbursed via a U.S. Treasury
check, except where noted below.

(1) Cash Payment of Inmate Personal Funds. Payment is made from a Prisoner’s Personal
Funds and Cash Gratuities Voucher (BP-A0112) generated in TRUFACS. Withdrawals from
inmates’ accounts are processed before the authorized Certifying Officer’s signature on the
BP-A0112. (Payments do not include funds for negotiable instruments on hold.)

Staff processing the release assign the next available release number for each group of releases.
TRUFACS assigns the next Deposit Fund sub-voucher number automatically when the release is
processed.

(2) Schedule of U.S. Treasury Check Payment of Personal Funds to Be Sent to Destination
Upon Release. The portion of the release payment to be paid by a U.S. Treasury check is
scheduled for payment when the release is processed in TRUFACS. This payment is made to
arrive at the inmate’s release destination. U.S. Treasury checks are always issued in the inmate’s
committed name so, when cashed, they are prima facie evidence of payment.

i. Gratuities and Transportation. Inmates recommitted as parole or conditional release
violators are again provided with suitable clothing, transportation, and gratuity on release.

(1) Gratuities. A cash gratuity, not to exceed $500, may be paid to each inmate on release.
The amount is determined per the Program Statement Release Gratuities, Transportation, and
Clothing.

Release to Contract Residential Re-Entry Centers (RRC). Inmates accepted for release to a
contract RRC with inadequate funds, as determined by Unit Management staff, may be eligible for
a gratuity.

Release to Other Custody. If an inmate is being released to another law enforcement agency
and in all probability will be released promptly, the inmate may be paid a gratuity.

(2) Transportation. Transportation is furnished to an inmate upon release, to their place of
residence within the United States, place of conviction, or another destination approved by the
Warden. When the inmate obtains their own transportation home, no transportation cost is
authorized.

Transportation Requests. Transportation furnished to released inmates may be procured by the
authorized travel management center’s Government Transportation Accounts (GTA). The most
economical means of transportation is used. Transportation may be furnished for travel to airport,
train, or bus terminals, and may also be furnished by relatives.




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Cash Payments. Transportation furnished to releasing inmates may be purchased or paid for in
cash, not to exceed $100 including tax (excludes taxis) and within imprest fund capability.

The normal procedure provides for tickets in advance. If cash is given to purchase tickets, the
amount is entered in the release screen under transportation and included in the total paid
transportation column of the Prisoner’s Personal Funds and Cash Gratuities Voucher (BP-A0112).
Arrangements may be made with the authorized travel management center to have the ticket at the
terminal for the inmate. The authorized agency charges the ticket to the institution’s GTA.

j. Special Circumstances.

(1) Immediate Releases After Normal Business Hours. Institutions establish procedures
detailing the return to duty of essential staff who can make transportation arrangements and
provide funds for inmates being released at the direction of the courts to comply with release
orders.

(2) Immediate Release of Inmates Awaiting Trial. Inmates awaiting or held during trial and
released immediately may be paid with an inmate release card, regardless of the amount.

(3) Out to Court/Writ. When an inmate leaves an institution under court order and is not
expected to return, the inmate is paid the balance remaining in their personal account. A
reasonable amount may be paid in cash and the balance as appropriate. When inmates are
released on “writ” and held in a state or county correctional institution for more than 120 days,
their account balance is paid via U.S. Treasury check. If the inmate submits a written request
prior to 120 days, the available balance will be forwarded via U.S. Treasury check.

(4) Deportees. Deportees may be paid the full amount of their personal funds with an inmate
release card. Immigration and Customs Enforcement provides illegal immigrants released to
their custody with transportation to their residence. Gratuities are provided per the Program
Statement Release Gratuities, Transportation, and Clothing.

k. Correction of Administrative Errors. Withdrawals processed to correct administrative
errors are processed per Chapter 8.1 and do not require an inmate’s signature. TRUFACS places
the account into a negative balance when sufficient funds are unavailable when processing such
withdrawals.

l. Phone Withdrawals. Phone withdrawals are initiated by inmates using the Inmate
Telephone System and their PAC. Phone withdrawal attempts that fail due to lack of funds do not
create a debt and do not generate a zero dollar transaction. There is no source document for these
transactions. The appropriate accounting entries are forwarded to the phone withdrawals extract
section for upload to the automated accounting system.

m. TRULINCS Withdrawals. TRULINCS withdrawals are initiated by inmates using
TRULINCS workstations. TRULINCS withdrawal attempts that fail due to lack of funds do not


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create a debt and do not generate a zero dollar transaction. There is no source document for these
transactions. The appropriate accounting entries are forwarded to the TRULINCS withdrawals
extract section for upload to the automated accounting system.

n. Internal Revenue Service (IRS) Tax Liens. IRS Tax Liens are covered under Sections
6321, 6331, and 6334 of the Internal Revenue Code of 1954, and court orders. Funds on deposit
in the Bureau Deposit Fund are subject to tax lien and levy. The source document for this type of
withdrawal is an IRS order.

o. Furloughs and Emergency Furloughs. In no instance can appropriated funds be used to
pay furlough costs when the inmate is furloughed for self purposes (see the Program Statement
Inmate Furloughs). A properly completed Request for Withdrawal of Inmate’s Personal Funds
(BP-199) is the source document for furloughs.

TRUFACS places the inmate account into a negative balance when funds are insufficient to
process emergency furlough withdrawals. Staff allow a negative balance to be created only when
the Warden has determined that the furlough is an emergency, as defined in the Program Statement
Inmate Furloughs. Refer to Chapter 8.5 for processing negative account balances.

p. Furlough Transfers. Central Office appropriated funds may be given to an inmate for meals
and transportation for a furlough transfer. At the end of a furlough transfer, any funds in an
inmate’s possession are refunded to the Central Office Cost Center using the automated
accounting system. Inmates are not allowed to have personal funds withdrawn for furlough
transfers. Personal funds are transferred during the nightly process.

q. Escorted Visits. Costs for these visits are at the inmate’s expense, except for the escorting
staff member’s first eight hours cost of pay each day the inmate is in his/her custody. The first
eight hours may be regular time or overtime. Any amount paid the escorting Officer after the first
eight hours is collected from the inmate. A Travel Authorization is carried by the escorting staff
to support the trip’s official nature, as well as support travel duty status on time and attendance
records.

The inmate completes two Requests for Withdrawal of Inmate’s Personal Funds (BP-199). The
first BP-199 totals the trip’s estimated costs, including estimates of the escorting staff’s salary
chargeable to the inmate, and any other miscellaneous costs that may be reimbursed to the
Government per Federal Travel Regulations and Bureau policy. The Trust Fund Specialist/
Cashier verifies that the total estimated cost is available in the inmate’s account. Upon the
Warden’s approval, a withdrawal entry resulting in a temporary negative balance may be posted to
an inmate account for an escorted visit. The Trust Fund Specialist/Cashier verifies that the funds
are available for that purpose through the mailroom or by contacting Central Office Deposit Fund
staff for Western Union, MoneyGram, and Lockbox funds.

The second BP-199 is used to issue a cash advance, in the amount indicated, for the inmate to take
on the escorted trip.


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Using the BP-199 associated with the escort advance, the Accounting Technician withdraws the
funds using the Inmate Withdrawal function in TRUFACS, withdrawal type Escort-Advance.
The original BP-199 is given a TRUFACS reference number and initialed by the OFM staff
withdrawing the funds. (The sub-voucher number is assigned by TRUFACS at time of
withdrawal.) The BP-199 is attached to the transaction report, and forwarded to the cashier for
cash payment.

The Accounting Technician/Cashier makes a cash payment based on the BP-199; the inmate signs
the payees signature line on the BP-199 showing receipt of payment. The withdrawal is sent to
the Reimbursement Voucher Extract, to be extracted upon preparation of the next reimbursement.

The BP-199 associated with costs reimbursed to the Government is encumbered using the
Miscellaneous Encumbrance Entry function in TRUFACS. The BP-199 is secured until the
travel is complete and a travel voucher submitted.

The escorted trip’s total cost is settled using a travel voucher. Expenditures by the escorting staff
are accounted for as required under Federal Travel Regulations and Bureau policies. Any
advanced funds are returned to the Accounting Technician/Cashier, who receipts the funds and
posts them to the inmate’s account. The Accounting Technician/Cashier also audits the travel
voucher immediately and has it certified.

Based on receipt of the certified travel voucher, the Trust Fund Specialist unencumbers the funds
held for costs to be reimbursed to the Government. The Trust Fund Specialist, using the held
BP-199, withdraws the total amount reimbursed to the Government using TRUFACS withdrawal
type Escort Settle – Misc. This requires a JV number, and generates a JV upon saving the
transaction. The JV number is noted on the original travel voucher and the BP-199.

A copy of the travel voucher is attached to the JV, which is filed and scanned into TRUFACS.
TRUFACS generates the appropriate accounting transactions, which are extracted and uploaded
into the automated accounting system.

If the total travel costs were underestimated, the inmate is required to complete another BP-199 for
the amount owed the Government.

Any salary due the escorting staff is paid by the institution and recorded in the institution’s pay
records and employee’s W-2.

r. Deceased Inmates. See Chapter 8.7 for processing withdrawals for funds of deceased
inmates.

s. Debit Vouchers. See Chapter 9.4.(c) for processing withdrawals to apply debit vouchers to
inmate accounts.



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t. Withdrawals for Whereabouts Unknown Accounts. See Chapter 8.9 for processing
withdrawals for inmates’ accounts whose whereabouts are unknown.

u. Transfers to Other Bureau Facilities. TRUFACS automatically transfers inmate Deposit
Fund account records, related debts, BP-199 refusals, and account balance to the inmate’s
designated institution when transferring to another Federal institution. The inmate record status
at the losing institution changes to “Transfer,” and the gaining institution will be “Active.”

Funds posted to the inmate’s account in a “Transfer” status are forwarded to the designated
institution automatically. The Trust Fund Specialist runs the Facility SENTRY Update Report in
TRUFACS to review transfers. See Chapter 8.3 for guidance on managing transferred inmates’
accounts.

v. Transfers to Non-Bureau Facilities. Inmates transferring to non-Bureau institutions or
inmates identified in TRUFACS as “Needs Release” are processed through the TRUFACS release
screen; funds are forwarded to the gaining institution via U.S. Treasury check. A forwarding
address is obtained from SENTRY; if one cannot be found, follow procedures for inmates whose
whereabouts are unknown in Chapter 8.9.

w. Withdrawals From Accounts of Inmates Declared Incompetent. Only the legally
appointed guardian has the right to act in personal property matters for an inmate declared
incompetent, except for the Warden (see Chapter 3.6.e). When it is necessary to withdraw funds,
a Request for Withdrawal of Inmate’s Personal Funds (BP-199) is sent, with an explanatory letter,
to the guardian for signature on behalf of the incompetent inmate.

A certified copy of guardianship appointment must be furnished when the signed form is returned,
unless one is already in the inmate’s central file. When there is no guardianship record, the matter
is referred to Regional Counsel to determine if a guardianship appointment should be made.

x. Withdrawals for Processing Payments Over Cancel. Upon notification by the U.S.
Treasury that a previously cancelled disbursement has been negotiated, a withdrawal is processed.
This notification, via the cancelled check report from the automated accounting system, serves as
the source document for the withdrawal transaction.

TRUFACS places the inmate account into a negative balance if sufficient funds are unavailable
when processing a withdrawal type of payment over cancel. The staff member processing the
withdrawal ensures that adequate documentation is available. See Chapter 8.5 for processing
negative account balances.

y. Commissary Sales. See Chapter 3.6 for processing Commissary sales.

z. Federal Court Orders. Federal Court Orders requiring disbursement of funds from an
inmate account must be followed. The court order serves as the source document for the
withdrawal.


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Chapter 11. PROCESSING INMATE FINANCIAL RESPONSIBILITY PROGRAM
(IFRP) PAYMENTS

11.1 GENERAL

This chapter establishes procedures for processing automated and manual payments in TRUFACS
for IFRP through SENTRY. IFRP was developed to encourage sentenced inmates to satisfy
court-ordered financial obligation(s). Inmates receive help from Unit Management staff to
develop a financial plan to satisfy these obligation(s).

The SENTRY IFRP Module facilitates processing procedures for payments made on behalf of
inmates who have court-ordered financial obligation(s). It allows tracking of financial data
entered into the SENTRY database. TRUFACS automates IFRP withdrawals, SENTRY
transmission, and processing of the Business Disbursements and Excess Withdrawal transactions.

Unit Management staff enter the appropriate data into SENTRY for all inmates with a financial
obligation. The stored information is updated monthly or quarterly after OFM/Trust Fund staff
process payments, or when the inmate changes participation status, or as necessary for a change in
a financial obligation. The Trust Fund Branch transmits the payment data and funds to the
appropriate component.

11.2 OVERSIGHT RESPONSIBILITY

The Chief, Trust Fund Branch, has oversight of IFRP payments and ensures that the IFRP data
transmitted to outside components is accurate and timely. If errors are detected in the data or
IPAC amounts each institution processes, Deposit Fund staff contact the institution and request
corrective action.

After reconciliation, the Trust Fund Branch transfers the funds to the appropriate component(s),
authorizes SENTRY to release the IFRP data file to the component, and generates reports. Each
institution ensures the accuracy of data they process and promptly corrects errors identified by
Deposit Fund staff.

11.3 ACRONYMS AND SENTRY IFRP TERMINOLOGY

a. Financial Obligation. Any court-ordered payment for restitutions, fines, assessments, child
support, etc.

b. Plan. Document generated via SENTRY by Unit Management staff and signed by the inmate
detailing financial obligations and payment terms.

c. Cycle Type. Identifies the type of pay from which the withdrawal is being processed
(UNICOR or Inmate Performance Pay).



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d. Cycle Period. Identifies the month and year associated with the payment.

e. Freeze Cycle. The automated function in SENTRY that establishes the cut-off for processing
contracts during the current cycle period. The cut-off date is automated by SENTRY and is the
last day of each month.

f. Transaction Code. The four-digit code used to access various SENTRY screens.

g. Excess Withdrawal. The amount by which an expected withdrawal exceeds the financial
obligation balance.

h. Business Disbursement. The amount of an inmate’s financial obligation for which a U.S.
Treasury payment is required. During the IFRP process, on day three, business disbursements are
re-posted automatically to the inmate account; a TRUFACS outside payment extract is generated
for OFM/Trust Fund staff to sub-certify and upload to the automated accounting system.

11.4 SENTRY INPUT

Unit Management staff enter inmate obligation data and generate a SENTRY IFRP contract. The
contract includes the payment terms agreed upon and is signed by the inmate. This form is filed
in the inmate central file in accordance with the Program Statements Inmate Central File,
Privacy Folder, and Parole Mini-Files and Inmate Financial Responsibility Program.

11.5 MONTHLY CUT-OFF

OFM/Trust Fund staff process two payment cycle types each month (UNICOR and Inmate
Performance Pay), if appropriate. No later than the 15th of each month, these cycle types are
completed and the funds transmitted via IPAC to the Deposit Fund, Trust Fund Branch, Agency
Location Code 15-10-0903.

11.6 SENTRY IFRP PAYMENT PROCESSING

The IFRP is processed in TRUFACS and SENTRY on the same day the associated pay (UNICOR
or Inmate Performance Pay) is posted. Single and monthly payments are processed each month,
and quarterly payments are processed only during the last month of each quarter. Payments of
less than $25 are not made unless they are final payments.

The SENTRY transaction codes for the following procedures are explained in the SENTRY
Inmate Financial Responsibility Technical Reference Manual.

a. SENTRY Changes Applied to TRUFACS. SENTRY updates TRUFACS when one of the
following occurs:

■ Unit Management staff creates or stops an IFRP contact.


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■ Unit Management staff changes an inmate’s participation status; e.g., FRP Refuse, temp
  exempt.
■ The balance of an obligation falls below $25 and the contract is for repetitive Inmate
  Performance Pay withdrawals. When this occurs, SENTRY stops the repetitive withdrawal
  and issues a second Trust Fund change for the final payment. If, in the next cycle following
  the creation of this single final payment withdrawal, the inmate has insufficient funds to cover
  the balance, SENTRY allows a second chance to complete the obligation by generating a
  second single final payment.

Trust Fund changes, and active contracts generated in SENTRY, are updated in TRUFACS on the
first day of each month. Contracts entered into SENTRY by Unit Management staff and received
as part of the nightly process are considered valid. Unit Management staff ensure that each
contract contains cycle type, cycle period, payment terms, and signatures before establishing the
contract in SENTRY.

Note: An inmate may be in IFRP Refuse status and have an active contract, which is processed
with the normal IFRP.

b. Freeze the SENTRY Cycle Transaction. SENTRY automatically freezes the IFRP cycle
for UNICOR and Inmate Performance Pay on the first day of each month. Changes made in
SENTRY after the current cycle has been frozen are not updated in TRUFACS until the next cycle.

c. Repetitive Payment Process. OFM/Trust Fund staff perform the “Process IFRP” function in
TRUFACS immediately following posting the Inmate Performance Pay. Repetitive payments
may be monthly or quarterly. Single payments are processed during the IFRP process, along with
monthly and quarterly payments.

IFRP withdrawals for UNICOR contracts are withdrawn by TRUFACS automatically when
UNICOR pay is posted, except for single, monthly, and quarterly payments, which are part of the
repetitive payment process.

d. Verification of TRUFACS Actual Single and Actual Repetitive Withdrawals in
SENTRY. After IFRP withdrawals have been transmitted from TRUFACS to SENTRY,
OFM/Trust Fund staff verify the withdrawal amount as outlined in the SENTRY TRM.
Documentation is kept verifying that the TRUFACS IFRP withdrawals and SENTRY IFRP
withdrawals are in balance.

If there is a difference between the amount withdrawn from TRUFACS and the Actual Withdrawal
Amount in SENTRY, contact the Trust Fund Branch.

e. Authorize SENTRY Deductions Transaction – (PIAP). After verifying that the amounts
withdrawn from TRUFACS equal the withdrawal amounts reported to SENTRY, OFM/Trust
Fund staff use the Authorize Deduction from Inmate Financial Obligation (PIAP) screen to


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authorize SENTRY to use the actual withdrawal amounts and create deductions from inmate
obligation balances maintained in SENTRY. The PIAP screen must be printed and included in
the monthly folder.

f. Corrections. A correction to the actual amount withdrawn can be made using the Display
Expected and Update Actual Withdrawals Screen (PIAW), before closing the current cycle.

g. Display SENTRY’s Cycle Totals Transaction – (PIDT). OFM/Trust Fund staff generate
the Display Cycle Totals and Update IPAC Numbers transaction for each cycle type, on the work
day after generating the AUTHORIZE DEDUCTION FROM INMATE FINANCIAL
OBLIGATION transaction. This indicates the:

■ IPAC amount and destination.
■ U.S. Treasury check amounts.
■ Excess withdrawal amounts that were posted automatically back to the inmate accounts.

The IPAC document reference number and date are entered on this screen, indicating that the
IPAC amount(s) specified on the DISPLAY CYCLE TOTALS report has been transmitted. A
copy of this report is printed and kept on file.

h. Display Business Disbursements Transaction – (PIBD). This transaction displays a list of
payees and addresses to which the U.S. Treasury check disbursements identified in the DISPLAY
CYCLE TOTALS & UPDATE IPAC NUMBERS (PIDT) transaction are forwarded by
OFM/Trust Fund staff. These disbursements are generated automatically by TRUFACS and are
in a pending status awaiting OFM/Trust Fund processing. Payments are extracted from
TRUFACS and uploaded to the automated accounting system.

i. Display Inmate Excess Withdrawals Transaction – (PIEW). The DISPLAY INMATE
EXCESS WITHDRAWALS report identifies amounts withdrawn from the inmates’ accounts in
TRUFACS in excess of their financial obligation balance(s). These funds are posted
automatically back to the inmates’ TRUFACS account the day after the AUTHORIZE
DEDUCTION FROM INMATE FINANCIAL OBLIGATION (PIAP) is performed.

11.7 SENTRY IFRP REPORTS

The day after the Authorize Deduction from Inmate Financial Obligation cycle has been run to
apply withdrawals, OFM/Trust fund staff print the following SENTRY reports for each cycle type.
These reports are kept chronologically for each fiscal year in an area inaccessible to inmates.

■ Display Cycle Totals & Update IPAC Number. Used to verify the amount(s) to be
  transmitted via IPAC to the Trust Fund Branch by OFM/Trust Fund staff, to determine if any
  IFRP payments are to be processed via U.S. Treasury check, and to identify excess
  withdrawals processed during the cycle. The IPAC document reference number and date are
  entered, indicating the IPAC was transmitted.


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■ Display Business Disbursement. Lists payees and their mailing addresses for payments to
  be made by OFM/Trust Fund staff via U.S. Treasury check.
■ Display Inmate Excess Withdrawals. Identifies amounts withdrawn from inmates’
  accounts in TRUFACS in excess of their SENTRY financial obligation balances. SENTRY
  applies payments not to exceed the obligation; therefore, amounts indicated on this report are
  automatically posted back to the inmates’ TRUFACS accounts.

11.8 CERTIFICATION OF IFRP PAYMENTS

Disbursements for IFRP are made either via IPAC or U.S. Treasury check. The IPAC and U.S.
Treasury disbursements are certified in accordance with current accounting requirements. Each
IFRP payment voucher includes:

■   Display Business Disbursements Report.
■   TRUFACS IFRP Reports.
■   Sub-certification report and confirmation report, when applicable.
■   IPAC document transaction listing, when applicable.

11.9 PAYMENT TRANSMISSION

The IFRP funds are transmitted via IPAC to the Trust Fund Branch the next business day after the
cycle has been processed, no later than the 15th of each month. The total amount of funds
withdrawn from TRUFACS and the amount indicated on the SENTRY Display Cycle Totals
Report for each cycle must equal the IPAC plus U.S. Treasury check amounts.

11.10 BATCH PROCESSING

The Office of Information Systems (OIS) collects IFRP data and batch process information every
night for completed cycles. This creates the file for submission to the appropriate component and
updates the SENTRY database.

11.11 IFRP REFUNDS FOR OVERPAYMENTS

When an inmate overpays his/her IFRP obligations, the Clerk of the Court refunds the
overpayment to the inmate. The refund is sent to the inmate’s current location either by IPAC
from the Trust Fund Branch Deposit Fund Section or by check from the Clerk of the Court.
Checks received from the Clerk of the Court are forwarded to the LockBox for processing.

11.12 TRANSFERRED INMATES

If an inmate is transferred to another institution, SENTRY stops the existing IFRP contract
automatically, as long as the cycle has not been frozen. If it has been frozen, and the inmate has
an expected withdrawal for this cycle, SENTRY indicates the contract as having a stop in progress


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and processes the contract during the cycle. Once the cycle has run, SENTRY stops the contract
automatically.

11.13 INMATES OUT ON WRIT

Withdrawals for inmates on writ continue to be processed until Unit Management staff update the
contract.

11.14 INMATES ON ESCAPE STATUS

Withdrawals for inmates on escape status continue to be processed until Unit Management staff
update the contracts.

11.15 PAYMENTS

Inmates with questions regarding IFRP payments contact Unit Management staff.




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Chapter 12. WAREHOUSE OPERATIONS

12.1 GENERAL

Warehouse operations manage the receipt, storage, and distribution of general supplies,
clothing/linen, Commissary merchandise, food stores, and personal property. Substantial
quantities and varieties of supplies and other stores are kept ready for use as the need arises.

A specified area or room is provided for retaining shipments as they arrive, until they have been
checked and accepted, and a Receiving Report or other receiving document has been prepared.
The area or room, to the extent possible, is under the exclusive control of Warehouse/Trust Fund
staff.

Due to the inherent risk of contraband being introduced into the secure perimeter of the institution,
attention to the physical security of the Warehouse is warranted.

12.2 RECEIVING PROCEDURES

a. Government Purchase Card. General procedures related to Warehouse/Trust Fund staff
and receipt of merchandise procured via Government Purchase Card are in the Program Statement
Bureau of Prisons Acquisition Policy and the Acquisition TRM.

b. Commissary Resale. Guidelines related to receipt of Commissary merchandise are in
Chapter 3.

c. Commissary Non-Resale. These are received per the process in Section 4.

d. Purchase Orders (Non-Purchase Card)

(1) Identification. The first step in the receiving procedure is to match articles received with
the vendor, PO, or contract specifications. Warehouse/Trust Fund staff examine, count, measure,
or weigh the articles to determine positively their acceptance as to quantity, quality, and
conformity with the contract.

(2) Receipt. A receipt in the form of a signature on a freight ticket presented by common carrier
is only conditional acknowledgment of gross containers, weights, etc., and does not constitute a
release of either the carrier (for concealed damage) or the vendor (for contract compliance).
Apparent or probable damage, shown by the container’s condition, is noted on the receipt.

(3) Specifications. Warehouse/Trust Fund staff must be familiar with the requirements of the
supply specifications. In addition to quantity, measurement, or weight, the examination
encompasses details of type, class, style or design, size, grade, quality, and condition of articles in
the shipment.



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Comparisons are made with bid samples (if any) and tests made when advisable. If any doubt
exists, Warehouse/Trust Fund staff enlist the aid of other institution specialists concerned with the
particular articles. If satisfied, they initial the Receiving Report to signify approval.

(4) Verification. Unless the contract specifies otherwise, reasonable commercial and trade
practices govern the verification and acceptance of goods. For instance, minor and immaterial
deviations in quantity or reasonable deviations occasioned by standard packing are accepted and
the actual amounts received are reported accurately so payment will be made accordingly. It is
not necessary to open every carton or weigh each container, but Warehouse/Trust Fund staff
should test weights or contents if necessary.

(5) Timeliness. Warehouse/Trust Fund staff examine supplies routinely received as promptly
as possible; normally no later than close of business one working day after receipt. The vendor
may assume (and the law presumes) that goods are accepted unconditionally after a reasonable
period for inspection. When goods are determined to be unacceptable, it is essential that the
vendor be notified promptly.

(6) Receipt at Other Than Warehouse. To avoid unnecessary handling, materials for
immediate use may be unloaded at the job or storage site. The Trust Fund Supervisor delegates
authority, in writing, to other employees for checking and accepting such goods at the delivery
point and ensures they are familiar with receiving procedures. The employee receiving the
material notifies the Warehouse and provides documentation for receipts. The employee also
signs the receiving report once it has been prepared by the Warehouse.

(7) Arms and Ammunition. Arms and ammunition are not received in or pass through the
Warehouse but are received by Armory staff. The Armory Officer signs invoices, shipping bills,
and other pertinent papers and forwards them to the Warehouse to prepare the Receiving Report,
normally within close of business of the day of receipt. The same procedures apply to explosives,
blasting accessories, and tear gas.

(8) Containers. When supplies or materials are received in containers (drums, carboys, reels,
etc.) on loan, the Receiving Report covering the goods reflects the serial number of the container
when available. For containers delivered directly to the work site, the individual accepting
delivery informs Warehouse/Trust Fund staff of the serial number(s).

12.3 PURCHASE ORDERS

The PO, Request for Purchase, and Purchase Card Purchase Form provide information as to what
supplies/property have been ordered and the anticipated delivery date. This enables
Warehouse/Trust Fund staff to make adequate storage space available. These documents,
together with the items’ specifications, should provide all the information necessary to determine
by inspection the acceptability of the supplies.




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a. Copies of Purchase Documents.

(1) Copies of Purchase Orders. Two copies of each PO are forwarded to the Warehouse and
filed, one in an open file and the other alphabetically in a master file. Acquisition staff mark all
PO copies covering HOT ITEMS with a readily noticeable insignia for Warehouse identification.

(2) Copies of Requests for Purchase. One copy of each Request for Purchase is forwarded to
the Warehouse and filed numerically by fiscal year. Acquisition staff mark each Request for
Purchase copy covering HOT ITEMS with a readily noticeable insignia for Warehouse
identification.

b. Review of Open Purchase Orders. Warehouse/Trust Fund staff establish an internal
schedule to review open orders on a monthly cycle, bearing in mind when the goods are needed,
and follow up with vendors to secure timely deliveries.

(1) Review. A portion of the open orders must be analyzed weekly to ensure that orders do not
exceed 30 days beyond the required delivery date on the PO or Request for Purchase.

(2) Follow-up. Telephone calls to vendors may be used for the first three inquiries. Notations
are made on the ordering document and include:

■   Person contacted.
■   Date of contact.
■   Vendor response.
■   Initials of the staff member making contact.

After the three telephone follow-up inquires, the Trust Fund Supervisor is notified and appropriate
action taken.

12.4 RECEIVING REPORTS

To certify payment to a vendor, the receipt of goods or services provided is documented, normally
by a Receiving Report.

a. Subscriptions/Services. Receiving Reports are not required for procurement of
subscriptions or services. The “services and supplies received” stamp may be used in lieu of a
Receiving Report (see the Program Statement Accounting Management Manual).

b. Non-Personal Service Contracts. Receiving Reports are not required for non-personal
service contracts. The SF-1034 signed “approved for payment” serves as the Receiving Report.

c. Charge Accounts. The preparation of Receiving Reports for charge accounts is at each
institution’s discretion.



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d. Complete Orders. The PO may be used as the receiving document for complete orders.
Warehouse/Trust Fund staff sign and date the original and make two copies. The original is sent
to Accounting with any invoices received; one copy is signed by the staff member picking up the
order, and kept numerically in the Warehouse. The requestor receives a copy.

e. Partial Orders. A Receiving Report is prepared when the quantity of goods received
represents a partial shipment. As shipments are received, the number and date of the Receiving
Report covering the shipment are noted on the Warehouse Copy of the PO, then returned to the
open file. In partial shipments, notations are made to identify the individual items or parts of
items with their corresponding Receiving Report. Thus, the order will have a complete record of
each delivery.

Warehouse/Trust Fund staff initial any corrections made to the Receiving Report on all copies.
When the order is complete, the open copy of the PO is attached to the final Receiving Report
before filing in the closed file.

f. Controlled Property. When the item received is controlled property, the assigned Federal
Prison System Identification (FPS-ID) number is documented per the Program Statement
Property Management Manual. The items are generally considered controlled non-capitalized
personal property, a list of these items can be found in the Property Management Manual. A
copy of the completed and signed Receiving Report – Accounting Copy and a Property
Management System Input Transaction Form are forwarded to the Property Officer following the
APO’s verification and signature.

The FPS-ID number assigned to controlled property appears in the article column of the Receiving
Report.

Warehouse/Trust Fund staff complete certain fields of the Property Management System Input
Transaction Form per the Property Management Manual. The APO verifies that the item’s
FPS-ID number, item description, serial number, and cost center agree with the information on the
form, then signs it.

Warehouse/Trust Fund staff forward the form to the Property Officer for entry into the SENTRY
Property Management System (SPMS). If the item and the Property Management System Input
Transaction Form do not agree, the APO notifies Warehouse/Trust Fund staff to initiate corrective
action.

The Trust Fund Supervisor or designee acquires and maintains the stock of property tags in a
secure location.

A log must be maintained, consecutively, of all FPS-ID numbers that includes:

■ Date the number was issued.
■ Program Area (PA/PAL) to which the item was issued.


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■ Item description.
■ Receiving Report number used for receiving the personal property.

If at any time it is necessary to void an FPS-ID number, attach the FPS-ID sticker to the
corresponding number in the log.

Note: When controlled property equipment is out for repair, the Warehouse assists the APOs in
shipping out and receiving the controlled property.

g. Timeliness. Receiving Reports are completed promptly and forwarded to Accounting in time
to comply with the Prompt Payment Act, but no later than three working days after receiving the
order. Exceptions are authorized for Commissary merchandise during semi-annual inventories.

h. Preparation. Receiving Reports are completed as follows:

(1) Numbering. Numbered consecutively at the beginning of each fiscal year followed by the
last digit of the fiscal year; e.g., 0001-7, 0002-7. Except for the Trust Fund Appropriation,
appropriations (Salaries and Expenses, Buildings and Facilities, etc.) are in the same numbering
sequence.

(a) TRUFACS Receiving Reports. Numbers automatically assigned by TRUFACS.

(b) TRUTRAC Receiving Reports. Number automatically assigned by TRUTRAC.

(c) Non-Resale Trust Fund Receiving Report. A separate series of numbers is established for
Trust Fund Non-Resale Receiving Reports. The numbers are preceded by TF and numbered
consecutively at the beginning of the fiscal year (e.g., TF0001-7, TF0002-7). Accounting, in
conjunction with the Warehouse, maintains number control of Receiving Reports.

(d) S&E, B&F, etc., Receiving Reports. Numbered consecutively at the beginning of each
fiscal year followed by the last digit of the fiscal year; e.g., 0001-7, 0002-7.

(2) Received From. The name of the vendor as shown on the PO. If supplies are received
from a shipper other than the vendor, his/her name and address, preceded by the words Actual
Shipper, are shown in the body of the Receiving Report.

(3) Contract Number and Date. As shown on the PO.

(4) Government Bill of Lading (GBL) Number. Indicate if appropriate.

(5) Via. Name of the transportation company or mode of delivery, such as Vendor’s Truck,
Picked Up, or Mail. For orders when the institution pays postage, the amount is shown. If
shipment was by common carrier, show whether the carrier or the Government performed pickup
or delivery between the carrier’s terminal and institution.


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(6) Accounting Data. Entered the YREGDOC number on the Receiving Report exactly as
shown on the PO.

(7) Transportation Prepaid or Collect. Always completed with the amount indicated. If the
amount cannot be determined, UNK (for unknown) is entered.

(8) Stock Number/Serial Number, Quantity, Unit, Article, Unit Price, Amount. Most are
self-explanatory. The PO. price of the item received is used to prepare the Receiving Report.
When the PO. is an estimated or not to exceed amount, the actual unit price is used if it is less than
the PO price (e.g., actual price is $10, for an item identified as NTE $12).

(9) Receiving Clerk. Signature of Warehouse/Trust Fund staff receiving the goods or services.
Any correction after preparation of a Receiving Report requires the initials of a Warehouse/Trust
Fund staff member.

i. Distribution of Receiving Reports.

(1) Original. After Warehouse/Trust Fund staff verify and sign it, the original is forwarded to
Accounting with any invoices or GBLs and filed with the copy of the PO and the vendor’s invoice
pending preparation of the basic voucher for payment.

(2) Receiving Clerk Copy. May be utilized at local discretion.

(3) Requisitioner Copy. Forwarded to the requisitioner, Cost Center Manager, or APO,
whichever is appropriate.

j. Contra Receiving. Prepared when necessary to reject a shipment that had previously been
received and when cylinders or drums are returned for credit. Contra Receiving Reports are
prepared, recorded, and distributed using the same forms and in the same manner as regular
Receiving Reports, except copies are conspicuously marked Contra Report.

The line Received From is changed to read Shipped To or Returned To. Full details are included
regarding:

■ Source of the articles.
■ Reason for rejection or purpose of shipment.
■ If offsetting a previous Receiving Report, cross-referenced to its number and date.

12.5 TRANSPORTATION CHARGES

Transportation costs are entered on Receiving Reports except when goods are purchased F.O.B.
destination.



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a. F.O.B. Destination. When merchandise is shipped F.O.B. destination, the vendor pays
shipping charges with no additional charge to the Government.

b. F.O.B. Shipping Point. When merchandise is shipped F.O.B. shipping point, the
Government pays the cost of transportation from the vendor’s dock to the final destination.

c. Receiving Reports. If the shipment is on a GBL, the GBL number, gross weight of the
shipment, and transportation cost as revealed by the freight bill, freight receipt, etc., are entered on
the Receiving Report. Shipments on a commercial collect Bill of Lading are converted to a GBL.

When the Government pays for transportation that is prepaid by the vendor, costs are billed as
separate item(s) on the invoices. This estimate or actual cost for transportation charges is shown
on the Receiving Report.

12.6 GOVERNMENT BILL OF LADING

a. Incoming Deliveries. The GBL (SF-1103) does not require completion by the consignee. It
is not expected that a detailed examination is made of each shipment before signing the carrier’s
delivery document. However, when cursory inspection at delivery indicates possible shortage,
loss, or damage, the carrier’s representative is requested to make a notation to that effect on the
delivery ticket and the consignee’s copy of the GBL.

If shortage, loss, or damage is discovered later, the carrier is notified immediately by telephone,
followed by a written confirmation. The carrier is requested to inspect damage, breakage,
contamination, loss, etc., and furnish the consignee with a copy of the report. Pending inspection
by the carrier or designated agent, the damaged articles, containers, and packing material are kept
intact.

b. Outgoing Shipments. When a GBL is needed for outgoing shipments, Warehouse/Trust
Fund staff prepare the GBL and provide the carrier with the following copies:

■   Original (SF-1103).
■   Shipping Order (SF-1104).
■   Freight Waybill - Original (SF-1105).
■   Freight Waybill – Carrier’s Copy (SF-1106).

The remaining copies (SF-1103A) are distributed as follows:

■ 1 copy to consignee’s accounting station for obligation.
■ 1 copy to consignee’s receiving department.
■ 1 copy for GBL numerical file (located in procurement).

c. Lost GBLs. The original GBL is the carrier’s primary shipping document, which is used to
bill the Government for transportation. If, upon delivery, the original GBL cannot be located, the


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carrier may, after certification by the issuing office, use the Freight Waybill - Original (SF-1105)
as a substitute when submitting public vouchers to the Government paying office. In this case,
the following actions are taken:

The delivering carrier forwards the SF-1105 to the issuing office, which determines that the
services were ordered and the shipment was received. The issuing office places the following
certification on the reverse of the SF-1105 (5 GAO 3045.15):

    “I certify that the services shown on the Freight Waybill were requested and have been
    rendered.”



            (Signature of issuing office)                    (Date)

The issuing office returns the SF-1105 to the carrier and places on the reverse of the SF-1105 an
identical Certificate of Carrier Billing for Charges that appears on the original GBL, indicating the
condition of the shipment upon receipt. Reproduced copies of the SF-1105 are not acceptable.

If the original GBL is located by the carrier before settlement is made on the SF-1105, the original
GBL should be substituted and the SF-1105 marked with the notation (5 GAO 3045.25):

    “CANCELED - ORIGINAL BILL OF LADING LOCATED AND DELIVERED TO THE
    DESTINATION CARRIER.”

The canceled SF-1105 is returned to the issuing office.

If the original GBL is located after settlement is made on the SF-1105, the original GBL is marked
with the notation:

           “TO BE VOIDED. PAYMENT RECEIVED ON FREIGHT WAYBILL.”

The original GBL is forwarded to the Government paying office indicated on the front of the GBL,
where it is voided, properly annotated, and forwarded to the U.S. Government Accountability
Office (5 GAO 3045.30).

12.7 LOST AND DAMAGED SHIPMENTS

a. F.O.B. Shipping Point. Property purchased F.O.B. shipping point becomes the property of
the Government upon delivery. If a shipment is damaged, one of the following procedures is
required:

If the property can be repaired, arrangements can sometimes be made for the carrier to contract
with a local repair shop.


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The institution may contract for the repairs or may make the repairs in the institution. The actual
cost of restoring the article to its original condition is the amount required from the carrier in
satisfaction of the damages.

If repair is impractical, the damaged article may, with the carrier’s consent, be disposed of as
salvage. The replacement cost or original cost, including transportation in either case, is the
amount of damages to be recovered.

When a shipment is received on an F.O.B. shipping point basis and is completely or partially
damaged, the Receiving Report shows items accepted; the damaged items are listed separately
with corresponding values of the merchandise. The damaged items are be covered by a Report of
Survey, which is used for posting to the Stock Record Card.

b. F.O.B. Destination. If the damaged articles were the property of the vendor while in transit
(e.g. F.O.B. destination), the Government’s remedies against the carrier are limited. If the goods
were rejected and left in the carrier’s possession, or were received and held at the institution, it is
important that prompt notice of the damage and rejections be given to the vendor. Arrangements
may be made for a replacement shipment and to permit the vendor to make whatever claim the
vendor has against the carrier and to authorize disposition of the damaged goods.

The institution should cooperate in any reasonable way to protect the shipper’s interest, through
joint inspection of the goods and furnishing the vendor a copy of the inspection report and freight
bill, restoration of the damage by repair rather than replacement if not detrimental to the
Government, or disposition of the damaged articles in the way most advantageous to the owner.
The institution must insist upon prompt disposition of any unacceptable goods held for the shipper.

c. Shipment Partially Damaged. When a shipment received F.O.B. destination is only
partially damaged, the Receiving Report indicates the acceptable items and notates the articles
damaged. If the damages are negligible, the order is marked complete and a voucher deduction
made from the vendor’s invoice for the amount damaged.

d. Shipments Totally Damaged and Not Acceptable. When all items in a shipment received
F.O.B. destination are not acceptable, a Receiving Report is not prepared. Follow the actions
described above.

12.8 INVENTORY REQUISITIONS via TRUTRAC

Staff enter information into TRUTRAC to requisition supplies as required.

a. Staff receiving the requisition items will sign the TRUTRAC Inventory Issue Report.

b. The Warehouse staff will process pending requisitions. Once the order is filled, quantities
issued will be updated in TRUTRAC.


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c. The Warehouse staff file the signed TRUTRAC Inventory Issue Report.

12.9 STORES REQUISITION FOR NON-TRUTRAC ITEMS

A Stores Requisition, Invoice & Transfer Receipt (BP-A0100) is used to record the issue, transfer
(temporary or permanent), or return of supplies and accountable property, and to provide a
document for accounting control.

a. Controlled Property. Accountability of controlled property out for repair is transferred via a
Stores Requisition, Invoice & Transfer Receipt (BP-A0100) form.

b. Preparation. Stores Requisition forms are available to all employees. The requisitioning
officer fills in the form and forwards it to the Warehouse. The form is completed as follows:

Warehouse/Trust Fund staff number requisitions for supplies consecutively, beginning with No.
0001 at the start of each fiscal year. Staff maintain a separate block of numbers for transactions
involving controlled property with FPS identification numbers. These are identified as ETR001
(Equipment Transaction Request).

Note: Only designated APOs may sign Stores Requisitions involving transfer of controlled
property.

12.10 ARRANGEMENT OF STORES

Accessibility and convenience are important factors in Warehouse operations. New stock is
placed in shelves, bins, etc., so that the oldest stock is issued first.

a. Segregation of Supplies. Supplies purchased out of special funds, such as B&F and Trust
Fund, are segregated and are not issued for purposes other than that for which purchased.

b. Convenience. Articles are stacked or shelved in uniform tiers and rows to facilitate rapid
counting when taking inventory. Full cartons or other containers are placed so the label or
marking indicating the contents is on the outer or top side, whichever is most readily visible.
Clothing is arranged by size, and bins marked to facilitate inventory.

c. Security. Supplies, except those such as gasoline, fuel oil, motor oil, coal, subsistence items,
and discharge clothing that may be issued by other employees, are under the Warehouse/Trust
Fund staff’s control. Each Warehouse, building, or enclosed area is locked securely when not in
use. Due to their type and quantity and the lack of indoor storage space, some materials may be
kept separately from the Warehouse.

d. Hot Room. Each Warehouse has a securely locked room or enclosed area for the safe storage
of HOT ITEMS that are most likely to be pilfered, or might facilitate an escape attempt: small


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tools, files, knives, drills, abrasives, hacksaw blades, antifreeze, lye, hypodermic needles, drugs,
acids, poisons, certain spices, etc. Institution staff concerned with custody and safety prepare a
list of HOT ITEMS for their institution. The list may expand or shrink, depending on the
institution and particular hazards present. Copies are given to Acquisitions and Warehouse/Trust
Fund staff.

e. Advanced Planning. Plans for placement of supplies must be made in advance of receipt to
expedite distribution and avoid delay in filling requisitions. In allocating storage space, two
factors are considered:

■ Quantity and type of supplies.
■ Frequency of turnover.

Make every effort to arrange stock to facilitate issue of older stock first (First-in, First-out, or FIFO
method).

f. Donated Items. Donated articles are kept in TRUTRAC.

g. Stock Levels of Supplies. The stock level of supplies in the Warehouse must not exceed a
manageable supply. Excess stock is disposed of per the Program Statement Property
Management Manual.

12.11 TRUTRAC

a. General Supplies. Stock supplies, under control of the Warehouse, believed to be a threat to
security or safety or those highly desirable and subject to theft are maintained in TRUTRAC. The
Trust Fund Supervisor determines which supplies under their control are kept in TRUTRAC and
prepares a memorandum identifying them.

The requirement for maintaining items in TRUTRAC does not apply to establishing stock levels
for final issue points, such as supply closets located in office space.

b. Medical Supplies. Recording and receiving of medical and hospital supplies are in
accordance with the Program Statements Patient Care and Pharmacy Services.

c. Subsistence Supplies. At institutions where subsistence supplies are stored and controlled in
the Warehouse, inventory records are updated per the Program Statement Food Service Manual.

12.12 STORES INVENTORIES

Annual Inventories of Items Under Warehouse/Trust Fund Staff Control. An OFM
employee or assigned employee, other than one having control of the items to be inventoried,
performs annual inventories of items maintained in TRUTRAC during any month of the last
quarter of the fiscal year. Items such as laundry stores are included.


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The person performing the inventory completes and signs a TRUTRAC Inventory Worksheet B.
Upon completion, the worksheet is forwarded to the Trust Fund Supervisor for approval before
any adjustment is made to TRUTRAC. After approval, adjustments are made that will generate a
Report of Survey. The TRUTRAC Inventory Worksheet B and TRUTRAC Report of Survey are
distributed as follows:

■ One as an inventory file copy by the Warehouse.
■ One to the Property Officer.

12.13 DISPOSITION OF SLOW-MOVING SUPPLIES

Warehouse/Trust Fund staff review supplies in stock to determine overstock or obsolescence.

a. Determination. Supplies in excess of the institution’s current or emergency needs are
disposed of per the Property Management Manual.

b. Transfer to Another Institution. Supplies are transferred to another institution or agency
per the Property Management Manual. When supplies are delivered directly to a
representative of the receiving institution or agency, rather than shipped, the recipient signs the
requisition.

c. Received from Another Institution. Excess supplies received at no cost from other
institutions and maintained in TRUTRAC are recorded on the Receiving Report in TRUTRAC and
need not be referred to the Board of Survey.

d. Report of Survey. Reports of Survey are processed per the Property Management
Manual.

12.14 SANITATION/MAINTENANCE OF EQUIPMENT

The Program Statements National Environmental Protection Policy and National
Occupational Safety and Health Policy provide specific guidance related to sanitation.

a. Warehouse Storage. Items on floor skids are stacked in accordance with the best Warehouse
practices so that a good appearance is obtained, the storage is safe, and inventories are facilitated.
Supplies are stored in bins, on racks, or on skids).

b. Damage Control. Precautions are taken to avoid insect and rodent infestation, preserve
metals and fabrics, detect breakage and leaks, and eliminate thefts and damage.

c. Passageways. Clear passageways are kept around skids and bins to facilitate cleaning.
Warehouse/Trust Fund staff inspect storage areas daily.



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d. Equipment. Warehouse equipment and vehicles are kept clean and in good repair. Scales
are adjusted accurately and tested frequently using weight standards.

12.15 SAFETY

The Program Statements National Environmental Protection Policy, National Occupational
Safety and Health Policy, and National Fire Protection Policy provide specific guidance related
to safety. Aspects related to Warehouse operations are cited here as responsibilities of
Warehouse/Trust Fund staff. The Trust Fund Supervisor enforces safety regulations in all areas
under his/her supervision, by training employees and inmates in proper working methods and by
properly storing and handling materials that present safety hazards.

a. Flammable Articles. Highly flammable articles such as paint thinner, kerosene, and oil are
stored, and fire extinguishers placed in strategic locations.

b. Equipment Maintenance. Ladders, skids, trucks, pallet jacks, etc., are maintained safely
and frequently inspected. Pipe, lumber, and bulky items do not extend out of racks into aisles or
walkways. Refrigerator floors are kept clear of ice. Employees must be alert to these and other
possible causes of injury in and about the Warehouse. Employees and inmates working in the
Warehouse wear safety shoes.

12.16 TECHNICAL REFERENCES

Federal and other specifications covering materials received in the institution are filed in the
Acquisition Office and can be used by Warehouse/Trust Fund staff. The Warehouse should have
a copy of the latest General Services Administration Catalog.

These regulations do not prescribe the more technical aspects of storage and handling of supplies,
such as those pertaining to the proper temperatures and humidities for preservation of foods, care
of specialized equipment, or eradication of rodents and insects.

12.17 KEY CONTROL

Warehouse keys are controlled as follows. A wood/metal box(s) with a glass front, large enough
to contain the entire Warehouse key ring(s), is placed in the control center. At the end of each
work day, the Warehouse key ring(s) are securely locked in this box. A key to the locked box
may be checked out on a 24-hour basis to designated Warehouse/Trust Fund staff. In an
emergency, the glass may be broken. After the incident, a memorandum is sent to the Trust Fund
Supervisor documenting the situation that required emergency key access.




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12.18 WAREHOUSE SECURITY

a. Inmate Work Detail

(1) Quantity of Inmate Workers. No more inmates than staff can manage and control
effectively are permitted to work in the Warehouse. Inmates shall not work without staff
supervision and are never locked in the Warehouse without a staff member present.

(2) Screening of Inmate Workers. Prior to assigning inmates to the Warehouse detail, the TFS
shall request from the SIS a review to determine if a pre-existing relationship or other issues exist
which raise security concerns (e.g. history of introducing contraband, ongoing investigation, or a
relative housed inside the secure perimeter).

(3) Items Allowed. Personal property items an inmate may bring into the Warehouse are
normally limited to a single cup.

(4) Work Clothing. Inmate workers assigned to the Warehouse will be required to wear a vest
that differentiates them from inmates not assigned to the Warehouse.

(5) Searching Inmate Workers. Inmate workers entering or leaving the Warehouse area are
scanned with a walk-thru or hand-held metal detector and pat searched per the Program Statement
Searches of Housing Units, Inmates, and Inmate Work Areas.

b. Warehouse Perimeter Security

(1) Identify Boundaries. Borders will be established that readily identify out-of-bounds
Warehouse areas. Inmates not assigned to the Warehouse are not authorized to be in these areas.

(2) Staff Access. Annually, the Trust Fund Supervisor must submit to the CEO for approval an
Access Control List (ACL) for the Warehouse, identifying personnel who are authorized access.
As the approving authority, the CEO need not be listed. The ACL must contain:

■ Date and signature of the current CEO.
■ Names and position titles of individuals authorized access (Trust Fund/Warehouse staff).

The ACL must be:

■ Posted in the Warehouse, clearly visible prior to entry.
■ On file with any key-issuing authorities.

Any staff not on the ACL List must notify Warehouse staff of their presence immediately upon
entering the Warehouse.




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(3) Inmate Access. No inmates except those on the warehouse detail or specifically authorized
by Warehouse staff may enter the Warehouse.

(4) Warehouse Entrances. All entrances will be secured unless there is a specific need for
them to remain open.

(5) Delivery Vehicle Management

(a) Delivery Vehicle Driver Identification. When available, delivery vehicle drivers are
required to present their valid driver’s license for scanning by BOP staff using the driver’s license
reader.

(b) Empty Trucks. Empty trucks must be secured when not in use. Trucks must be visually
inspected prior to loading or entering the secure confines of the institution.

(c) Delivery Vehicles Outside of Business Hours. No delivery vehicles destined for the
Warehouse will be allowed on institutional grounds for an extended period of time during
non-Warehouse business hours.

c. Warehouse X-Ray Scanners. Institutions that use x-ray scanners shall have a radiation
badge attached to the scanner near controls utilized by the operator. In addition, staff assigned to
operate or work in close proximity to the scanner will have badges available upon request for their
personal use. All staff using pallet scanners should receive approved training.

When properly used, these machines effectively supplement other security procedures and prevent
and limit the introduction of contraband into Federal prisons.

(1) Contraband

(a) X-Ray Scanner. Items that are discovered that may be hard contraband remain in the
scanner and the Operations Lieutenant is contacted immediately. All inmates in the area are
removed.

(b) All Other Areas of Warehouse. The area in which hard contraband is found shall be
secured and the Operations Lieutenant notified immediately.

(2) X-Ray Screening. X-ray machines can be effective in screening pallets loaded with
loosely-packed or low-density items, such as coffee, bread, cereal, chips, general warehouse
supplies, toilet paper, mattresses, etc. Pallets loaded with very dense and/or tight-packed items
such as frozen foods, meats, fruits and vegetables, milk, cases of printing paper, cleaning liquids,
etc., cannot be effectively x-rayed using existing technology. These pallets should be broken
down into smaller units and x-rayed. Items that cannot be penetrated by x-ray must be physically
inspected.



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d. Warehouse Security Post Orders. The Trust Fund Supervisor develops outside Warehouse
post orders that address Warehouse security issues that are not otherwise addressed in policy and
are unique to the institution.

Note: There may be post order changes that affect conditions of employment that may warrant
bargaining over procedures and appropriate arrangements.




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Chapter 13. LAUNDRY OPERATIONS

13.1 GENERAL OPERATIONS

Institutions furnish each inmate with sufficient clothing to allow three changes of clothes weekly.
Clothing issue is consistent with this chapter, the Program Statement Inmate Personal Property,
and established local procedures.

Institutions that allow inmates to wear personal clothing purchased from the Commissary are still
required to furnish the institution’s standard wardrobe. Dry cleaning of personal clothing is
prohibited.

13.2 ISSUING, CLEANING, AND MAINTAINING ACCOUNTABILITY OF
CLOTHING AND LINEN

a. Availability of Clothing. Each institution maintains an inventory to supply clothing, linen,
and bedding to inmates. Generally, total inventory levels of the major categories (e.g.
pants/dresses, shirts, sheets, towels, jackets/coats) should not exceed a 360-day supply, including
items purchased or obtained through surplus.

The following example will help calculate the 360-day supply. If reserve supplies are
maintained, for example inside the laundry supply closet or other final issue point, they should
generally not exceed a 30-day supply.

Example:         Maximum inventory level for a single item:

Pants issued: week 1 – 150
              week 2 – 300
              week 3 – 125
              week 4 – 420

995 items/4 weeks = 250 (average issue/week)

250 items/week x 52 weeks = 13,000 (approximate 360-day supply of pants)

Excess inventory is disposed of per the Program Statement Property Management Manual.
If inventory maintained in TRUTRAC is lost due to theft or damage, a TRUTRAC Report of
Survey is prepared.

b. Issue of Clothing, Bedding/Linen, and Personal Hygiene Items

(1) Issue of Clothing. The institution issues clothing to inmates that is properly fitted,
climatically suitable, durable, and presentable. The standard wardrobe includes the following,



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per restrictions in the Program Statement Inmate Personal Property and appropriate for the
institution:

■   Shirts.
■   Blouses.
■   Dresses/skirts.
■   Pants.
■   Belts.
■   Underwear.
■   Slips.
■   Socks,
■   Shoes (ASTM Standard F2412-05 and F2413-05).
■   Coats.
■   Jackets.
■   Headgear.

(2) Issue of Special or Protective Clothing. Inmates assigned to special work areas are
provided clothing and shoes per the requirements of their assignment. Local guidelines are
established for purchase, maximum and minimum quantities, and accountability of special or
protective clothing.

When inmates require special shoes due to medical reasons, the Health Services Department
purchases them.

(3) Issue of Bedding/Linen and Miscellaneous Supplies. The institution issues suitable, clean
bedding and linen, including:

■ One mattress.
■ Two sheets.
■ One pillow and pillowcase. If not built into the mattress.
■ Towels.
■ Sufficient blankets to provide comfort under existing conditions – cotton blanket mattress
  cover (optional).
■ Two nylon mesh bags (Commissary and Laundry, if applicable).

(4) Issue of Personal Hygiene Items. Personal hygiene items (soap, toothbrushes, etc.) are made
available to inmates per the Program Statement Grooming.

c. Procedures for Exchange and Cleaning of Linen/Clothing. Inmates are allowed at least
three changes of clean clothing and one change of linen per week. A reasonable cleaning
schedule applies to blankets and pillows. Mattresses are cleaned as necessary.

The institution may provide clean clothing in several ways: access to self-serve washers, a central
clothing exchange, or a combination of the two.


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When no central laundry is available, institutions provide detergent (low-suds and biodegradable)
for inmate use. Non-chlorine bleach may be furnished within budgetary constraints.

Procedures are established for exchanging clothing no longer usable. Disciplinary action may be
taken against inmates who willfully damage Government-issued clothing and linen. Inmates are
issued release clothing per the Program Statement Release Gratuities, Transportation, and
Clothing.

d. Inmate Accountability for Government-Issued Items. Institutions establish local
procedures to account for the initial issue of Government-furnished items to inmates and for their
return before release or upon placement in special housing.

Upon receiving their clothing, inmates are required to sign for receipt and instructed that clothing
is returned at release. Records are kept documenting items and quantities issued. The return of
clothing at release is recorded on the inmate's record.

e. Services to Other Institution Components. Institutions establish local procedures for
laundering Government-owned staff clothing, such as Health Services or Food Service smocks.

13.3 LAUNDRY INVENTORY MANAGEMENT

a. TRUTRAC. Inmate clothing/linen received in the Warehouse is maintained in TRUTRAC.
Inmate clothing/linen stored at a location other than the Warehouse that has an inventory in excess
of a 30-day supply is maintained in TRUTRAC using a separate inventory location.

Stock Record Cards are not required for stock maintained at final issue points, such as the laundry
closet or stock issued to the hospital or units.

b. Annual Clothing Stores Inventory. An annual clothing stores inventory is required for
supplies maintained in TRUTRAC. The annual inventory is conducted per Chapter 12. Staff
that do not have control of laundry stores, conduct the inventory.

13.4 HEALTH AND SAFETY

The Program Statements National Environmental Protection Policy, National Occupational
Safety and Health Policy, and National Fire Protection Policy provide specific guidance related
to health and safety.

Certain aspects of safety related to laundry operations are cited here as responsibilities of laundry
personnel. The Laundry Foreman/Trust Fund Supervisor enforces safety regulations in all areas
under his/her supervision, both by training employees and inmates in proper working methods and
in proper storage and handling of materials presenting safety hazards.



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Staff working in the laundry shall be familiar with the operation of the washing and drying
equipment. Particular attention shall be given to clothes drying procedures. Directions on the
operations of the washers and dryers shall be posted for all staff to review.

a. Laundry Separation. Clean laundry is kept separately from soiled laundry. Laundry carts
are used exclusively for dirty or clean laundry, and are clearly marked to prevent any mingling.

b. Contaminated Laundry. Local procedures are established to identify contaminated
clothing and linen and for sending them to the laundry.

c. Hazardous Chemicals. Calcium Hypochlorite (bleach) is not used in granular form because
of its explosive potential. Authorized staff may dispense liquid bleach.

d. Clothes Soiled With Flammable Materials. Special care shall be taken to ensure that
clothes soiled with flammable materials (e.g., grease, gasoline, oil) are washed and dried
according to the manufacturer’s specifications.

e. Inmate Training. Each inmate assigned to the laundry receives training from the Laundry
Supervisor concerning safe working conditions and use of equipment per manufacturers’
recommendations. Particular attention shall be given to training inmates on proper clothes drying
procedures.

13.5 LAUNDRY SECURITY

a. Laundry Area. At a minimum, inmate workers entering or leaving the laundry area are
pat-searched daily. Occasional strip searches are conducted per the Program Statement Searches
of Housing Units, Inmates, and Inmate Work Areas. A staff member inspects trash leaving
the area. Boxes and cartons are broken down. The laundry area is inspected daily for potential
hazards and contraband.

No more inmates than staff can manage and control effectively are permitted to work in the
Laundry. Inmates never work without staff supervision, and are never locked in the Laundry
without a staff member present.

b. Key Security. Laundry keys are considered “restricted” keys and are only issued to
designated staff. The Trust Fund Supervisor and employees assigned to the Laundry may have
keys to the Laundry and storage areas on a 24-hour checkout basis. Employees not directly
assigned to the Laundry or storeroom do not have keys to these areas.

If an institution experiences repeated pilferage or unauthorized access to the laundry area, the
following procedures are followed. A special wood/metal box(s) with a glass front, large enough
to contain the entire Laundry key ring(s) (or an individual Laundry key ring) is constructed and




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placed in the control room. At the end of each work day, the Laundry ring(s) are securely locked
in this box. A key may be checked out on a 24-hour basis to designated employees assigned to the
Laundry, and the Trust Fund Supervisor.

In an emergency, the glass may be broken. After such an incident, a memorandum is sent to the
Trust Fund Supervisor documenting the situation that required emergency key access and noting
any item(s) removed from the laundry.

c. Clothing Retrieval. As needed, the Trust Fund Supervisor requests that Correctional
Services staff perform an institution shakedown to retrieve unauthorized Government-issued
items.

d. Laundry Fires. Any fires located in the Laundry area will be reported by the staff working in
the Laundry through the Trust Fund Supervisor to the Chief, Trust Fund Branch as soon as
practical.

13.6 LAUNDRY FIRE SAFETY

It has been determined there are three general causes for Laundry fires. They are:

■ Spontaneous ignition – laundry items not thoroughly cleaned, dried, and processed (removing
  items from the dryer, sorting, folding, and distributing) has led to spontaneous ignition.
■ Unsupervised dryer operations – dryers have been left in operation after staff have left the
  worksite for the day.
■ Lack of proper maintenance and cleaning of laundry equipment, particularly dryers, dryer lint
  traps, and dryer vents.

To minimize the potential for fires involving laundry operations:

■ Manufacturers’ guidelines/instructions on the use of institutional washers and dryers shall be
  posted for staff and inmates to review.
■ Staff and inmates must ensure adherence to manufacturers’ guidelines/instructions on the use
  of institutional washers and dryers.
■ Staff must ensure equipment manufacturers’ load limits are not exceeded for washers and
  dryers.
■ Do not launder or dry any rags, towels, mop heads, etc., that appear to be contaminated with
  solvents, oils, or other potentially hazardous material until a waste determination has been
  conducted and an approval has been granted by the institution’s Safety and Environmental
  Compliance Administrator.
■ The laundry drying process must be completed early enough in the day/shift to allow at least
  one hour prior to the end of the day/shift to appropriately process laundered items.

     Use of dryer cooling cycle is mandatory.
     Under no circumstances will laundry remain in a dryer at the end of the shift.


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     After the dryer manufacturer’s recommended cool down cycle, laundry should be placed
      on a suitable surface to ensure adequate cooling prior to being placed in carts for
      transportation purposes.

■ Lint traps shall be cleaned after each load.
■ Laundry equipment must be inspected and cleaned weekly.
■ Government-issued clothing is not recommended to be washed or dried in laundry bags. In
  most cases the clothing is still damp in the center of the bag, which is where the greatest
  amount of heat is found. Bags of clothing that are not completely dry have a greater potential
  for spontaneous ignition.
■ If laundry bags are used, limit the amount/weight of clothing items laundered in the bags to
  provide a better opportunity for cleaning and drying of all the items in the bag. Linens,
  pillows, and blankets will not be placed in laundry bags. Laundry bags should be secured at
  the top of the bag so the items in the bag are not compacted, allowing water and air to flow
  freely throughout the bag.
■ Laundry carts used in the drying process shall be fire-resistant.
■ Laundry equipment should be evaluated to ensure an adequate number of machines, in the
  appropriate sizes, are available to meet industrial laundry specifications.




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Chapter 14. TRUST FUND LIMITED INMATE COMPUTER SYSTEM

14.1 GENERAL

The Trust Fund Limited Inmate Computer System (TRULINCS) provides inmates with a
computer system that does not jeopardize the safety, security, orderly operation of the correctional
facility, or the protection of the public or staff. Inmates do not have access to the Internet.

TRULINCS is the property of the United States Department of Justice. The Department may
monitor any activity on the system and search and retrieve any information stored within the
system. By accessing and using this system, inmates consent to such monitoring and information
retrieval for law enforcement and other purposes. Inmates have no expectation of privacy as to
any communication on or information stored within the system.

14.2 AUTHORITY

The Warden shall prohibit or discontinue the operation of TRULINCS, or individual inmates’
participation, whenever it is determined to jeopardize the safety, security, or orderly operation of
the correctional facility, or the protection of the public and staff.

Use of TRULINCS is a privilege; therefore, the Warden may limit or deny the privilege of a
particular inmate (see Section 14.9 for restrictions). This authority may not be delegated below
the Associate Warden level.

Individual inmates may be excluded from program participation or individual services as part of
classification procedures (see Section 14.9). Information supporting the exclusion is forwarded
to the Warden for final determination.

14.3 RESPONSIBILITIES

a. TRULINCS Coordinator. The Chief of the Trust Fund Branch is the designated
TRULINCS Coordinator − the resource person for Bureau staff, other components of the
Department of Justice, law enforcement agencies, and the general public.

b. Trust Fund Supervisor. The Trust Fund Supervisor has responsibility for the overall
operation of TRULINCS at the institution. The Trust Fund Supervisor administers, maintains,
and monitors the system; provides training to inmates during Admission and Orientation;
supervises inmate workers assigned to the TRULINCS detail; and responds to inmate inquiries
regarding the system.

The Trust Fund Supervisor is also the designated System Supervisor and maintains internal
controls, system integrity, user accounts, and all other aspects of TRULINCS security and
operations.


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c. Staff Use. Staff members may not use TRULINCS for personal use.

d. Contacts and Inmates. By participating in the TRULINCS Program, inmates, and the
contact(s) with whom they correspond, voluntarily consent to having all system activity, including
email and transactional data, monitored and retained by authorized personnel. This authority
includes rejecting individual emails sent to or from inmates that jeopardize the interests identified
in Section 14.2.

(1) An inmate’s participation in the TRULINCS Program is conditioned on his/her notice,
acknowledgment, and voluntary consent to the Warden’s authority, as indicated above. Inmates
consent to monitoring when they accept the TRULINCS Electronic Messaging Warning/
Responsibility/Acknowledgment Statement each time they access the system.

(2) A community person’s consent to Bureau staff monitoring of all TRULINCS emails and
activity is obtained when he/she receives the initial system-generated email notifying him/her the
inmate wants to add him/her to their contact list and when he/she proceeds with corresponding.

14.4 RATES

The Chief of the Trust Fund Branch, with the concurrence of the Assistant Director of the
Administration Division, sets all program fees. By participating in the program, the inmate
consents to have the Bureau withdraw program fees directly from his/her Deposit Fund account.

14.5 EQUIPMENT AND SUPPLIES

Requests for additional equipment or alternative locations are forwarded from the Warden through
the Regional Trust Fund Administrator to the Chief of the Trust Fund Branch for consideration.

a. Equipment. Inmate computers and printers must clearly display a blue label as “INMATE
ACCESS.”

b. Multi-Purpose Workstations. Ordinarily, workstations are located in the housing units and
law library. Workstations located in the housing units ordinarily are multi-purpose, offering
various services, with the exception of the Electronic Law Library and print services.

c. Electronic Law Library (ELL) Workstations. TRULINCS ELL workstations located in
the institution Law Library ordinarily offer access to only the ELL Service and limited supporting
services (e.g., TRU-Unit Management and Bulletin Board services). TRULINCS ELL
workstations are located in the Law Library due to the sensitivity of information and supervision
within the area.

d. Print Workstations. Ordinarily each institution will have two print stations available on the
main compound and one in a satellite camp.



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e. Operating Supplies. Funds are provided in the annual TRULINCS budget to purchase
operating supplies (e.g., paper, toner, mailing labels). Procedures for procuring these items are in
Chapter 2.

14.6 TRULINCS INMATE WORKERS

Inmates receive compensation from the Trust Fund Appropriation for work performed in support
of TRULINCS. Relatively short absences due to callouts, hospitalization, sick line, etc., do not
affect the period covered. Extended absences such as furloughs, lay-in assignments, or
lockdowns are not compensable.

a. Screening of Inmate Workers. Inmates who refuse to participate in the Inmate Financial
Responsibility Program may not work in TRULINCS. Prior to assigning inmates to the detail, the
Trust Fund Supervisor shall request the Special Investigative Supervisor (SIS) to determine if any
issues exist that raise security concerns (e.g., ongoing investigation).

b. Work Hours. Ordinarily, TRULINCS inmate work details do not exceed four hours per day.

c. Rate of Pay. The hourly rate of pay for inmates assigned to TRULINCS activities is:

    $0.55 per hour starting
    $0.75 per hour after 3 months’ service, if warranted

Any increase in pay (not to exceed $0.75 per hour) is based on the inmate’s work performance and
availability of funds provided in the annual budget.

d. Bonus Pay. Bonus Pay may be awarded to TRULINCS inmate workers. It may not exceed
one-half of the inmate’s monthly pay. A bonus recommendation is made by the work assignment
supervisor.

e. Restrictions on Inmate Duties. TRULINCS equipment should be secured adequately to
prevent inmates from accessing the internal components of computers or peripherals. If inmates
are used to clean secured equipment (e.g., workstations, printers), they must be directly supervised
by staff at all times to prevent theft, damage, or misuse, until the equipment is secured.

14.7 ACCOUNTING

a. Daily Reconciliation. The Trust Fund Specialist compares the TRUFACS Withdrawal
Report total (TRUFACS Withdrawal Type = TRUL Withdrawal) with the TRULINCS
Reconciliation with TRUFACS Report daily. The Trust Fund Specialist verifies that these
balances are equal. If they differ, the Trust Fund Specialist contacts the Central Office Trust Fund
Branch Deposit Fund immediately. Upon verification of the balances, the Trust Fund Specialist
uploads the daily TRULINCS extract to the automated accounting system.



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b. Monthly Reconciliation. Staff complete the monthly reconciliation as required in the
institution proof-check.

c. Refunds. Refunds are provided in the following circumstances:

■ When granted by the Trust Fund Supervisor as a result of a system malfunction that has been
  documented through the trouble ticket system.
■ Refunds for printer malfunctions, in the form of a reprint unless documented through the
  trouble ticket system.
■ When granted by the Central Office when purchased media has been deemed defective,
  explicit, or inappropriate.

d. Funds Returned to TRUFACS. Funds are returned to TRUFACS by staff only in the
following circumstances:

■ Inmates are released.
■ Inmates on Public Messaging and/or MP3/Music restriction for more than 60 days may request
  in writing that their TRU-Units be returned to their Commissary account. This is a one-time
  transaction for the entire TRU-Unit balance.
■ In rare or unusual instances deemed appropriate by the Warden when inmates do not have
  access to TRULINCS. In these circumstances, Trust Fund staff are given written
  documentation to support the transfer. This is a one-time transaction for the entire balance.

e. Processing Inmate Releases. A TRULINCS account is released when an inmate is released
in TRUFACS. If there is a communication issue between TRUFACS and TRULINCS, staff may
proceed with the release in TRUFACS. A secondary TRUFACS release must be completed once
connection with TRULINCS is restored. The Trust Fund Specialist shall run the TRULINCS
Released Inmate with TRU-Unit Balance Report weekly and take corrective action for inmates
listed on this report.

14.8 INMATE ACCOUNTS. TRULINCS inmate accounts are established and maintained
automatically through the TRUFACS nightly process.

a. Account Access. Inmates access their accounts using their eight-digit register number;
nine-digit phone access code (PAC); and fingerprint identification or four-digit Commissary
personal identification number (PIN).

It is the inmate’s responsibility to maintain possession of his/her login information. Inmates will
not share passwords (login criteria) and will log off the system when leaving the TRULINCS
terminal.

b. Locked Accounts. After three consecutive failed attempts to access the system, the inmate’s
account is locked. Inmates request in writing to the Trust Fund Supervisor that their accounts be
unlocked.


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14.9 SYSTEM ACCESS

It is important that staff ensure inmates are only restricted from using TRULINCS, or individual
TRULINCS services, when absolutely necessary to protect the safety, security, or orderly
operation of the correctional facility, or the protection of the public or staff.

Due to the “self-service” format TRULINCS provides, all inmates who are physically capable of
accessing a TRULINCS terminal should be provided access in all but limited cases. Public
Messaging is the only exception to this approach, as it involves communication with persons in the
community and the possibility of continuing criminal or other prohibited activity that may
jeopardize the safety and security of the institution.

a. Program/Service Exclusions. Inmates excluded from participation under this section are
notified of the specific reason(s) by a written explanation of the decision, unless possessing such
written information would threaten the safety of the inmate or other legitimate penological
interest(s). If prohibited from possessing a copy of the written explanation, inmates remain
entitled under the Freedom of Information Act (FOIA) to access this information from their central
files, and must be provided reasonable opportunities to access and review such documents. At the
inmate’s request, expense, and preparation of an envelope, staff may photocopy and mail the
documents.

An inmate’s exclusion from participation must be based on his/her individual history of behavior
that could jeopardize the legitimate penological interests listed above. Inmates must not be
excluded from participation based on general categorizations of previous conduct.

(1) Sex Offenders. Inmates whose offense, conduct, or other personal history indicates a
propensity to offend through the use of email, or jeopardizes the safety, security, orderly operation
of the correctional facility, or the protection of the public or staff, should be seriously considered
for restriction.

As a method of identifying these inmates, staff responsible for local sex offender management
should review inmates with SENTRY CMA Walsh Assignments of Certified, With Conviction,
and No Conviction, to determine if their participation in the Public Messaging Service poses a
realistic threat. TRULINCS automatically applies a temporary restriction on inmates’ accounts
with the above SENTRY CMA Walsh Assignments. These restrictions may be over-written
when deemed appropriate by staff responsible for local sex offender management and approved by
the Warden.

Inmates may be permanently restricted from corresponding and/or communicating with
individuals who are:

■ Prior child or adult victims of sexual offenses committed by the inmate.



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■ Children who are being groomed by the inmate for sexual assault or other predatory behavior
  involving children and/or the caregivers of those children.
■ Other sexual offenders.
■ Any other contact with the general public deemed inappropriate by staff responsible for local
  sex offender management due to its association with the inmate’s risk to engage in sexually
  offensive behavior.

(2) Secure Units. The Warden may determine which services shall be available to inmates
housed in areas of the institution in which there are special security concerns that limit regular
access. Special consideration should be given to the type of services being made available in
these areas. No services with text input/retention fields (e.g., Contact List Service) shall be
available as inmates may use the system to communicate indirectly with other inmates.

At a minimum, workstations located in secure units shall provide access to the following services:

(a) Law Library − per the Program Statement Inmate Legal Activities, the Warden shall provide
an inmate confined in disciplinary segregation or administrative detention a means to access legal
materials.

(b) Purchase TRU-Units − to facilitate charging for printing of law library content, when
applicable.

(c) Print − to facilitate printing of law library content, when applicable.

(d) Request to Staff − for reporting of allegations of sexual abuse and harassment directly to the
Office of Inspector General (OIG). The Request to Staff Service will not be made available to
inmates located in Protective Custody Units (PCU).

Inmates housed in secure units will request access to the TRULINCS workstation per local
procedures.

(3) Segregation. Inmates confined in segregation will not have access to the Public Messaging
Service. Inmates may continue to receive incoming emails while in segregation. Staff are not
responsible for printing emails for inmates without access to the Public Messaging Service.

(4) Protective Custody. Inmates confined in Protective Custody Units (PCU) will not have
access to the Public Messaging Service.

(5) Communication Management Units. Inmates confined in communication management
units will have access to the Public Messaging Service.




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b. Restrictions

(1) Inmate Discipline/Criminal Prosecution. Inmate use of the program in violation of the
procedures subjects the inmate to disciplinary action or criminal prosecution. In addition,
inmates who abuse, circumvent, or tamper with TRULINCS (equipment, application, furniture)
are subject to disciplinary action or criminal prosecution. The DHO or UDC may impose the
sanction of loss of Public Messaging or Music/Media privileges for inmates found guilty of
committing prohibited acts.

Note: Inmates are only restricted from accessing the Music Service during the designated period
of time. There is no effect on the MP3 player; therefore, it will continue to operate until it expires.

(2) Pending Investigation or Disciplinary Action for TRULINCS Abuse or Misuse. If an
inmate is pending either investigation or disciplinary action for possible abuse or misuse, a partial
or total restriction is authorized by the Warden. A restriction in this situation is discretionary to
ensure the institution’s safety, security, and orderly operation, or the protection of the public and
staff. When deemed necessary, ordinarily the SIS office recommends this type of restriction.
Any TRULINCS restriction recommended by the SIS office may only be imposed with the
Warden’s approval, in accordance with the procedures outlined in this section and documented on
form BP-A0740, Request for Inmate Telephone or TRULINCS Restriction.

Initial Public Messaging restrictions, imposed pending an investigation or pending disciplinary
action for possible TRULINCS abuse or misuse, are limited to 30 days. If additional 30-day
periods are required to complete either the investigation or disciplinary process, the Warden must
re-authorize the restriction in writing on form BP-A0740, Request for Inmate Telephone or
TRULINCS Restriction. Trust Fund staff shall obtain the Warden’s approval for reinstatement or
continued restrictions every 30 days.

14.10      TRULINCS SERVICES

a. Account Transactions. Inmates are responsible for tracking their Commissary, TRUFONE,
and TRULINCS account balances. Inmates have access to view account information and
transactions for free. Inmates have the ability to print transactional information for a fee.

Inmates that have access to the Account Transactions Service are responsible for printing their
own account statements. In rare and unusual circumstances when an inmate demonstrates an
imminent need for an account statement and he/she does not have access to TRULINCS, staff may
print the statement and charge the inmate the applicable print fee. Staff prepare the statement and
deliver it to the inmate in a secure manner within a reasonable timeframe from the date of the
request and at a time that does not interfere with the normal operations of the institution.

b. Bulletin Board. TRULINCS offers an electronic bulletin board for posting information for
viewing by the inmate population. Departments that opt to use this service are responsible for
posting their own documents and the documents’ content.


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All postings must be in PDF format and may not exceed 2 MB in size.

c. Contact List. Inmates may only communicate with approved persons on their contact lists
for the purpose of postal mail, TRUFONE, Public Messaging, and/or any person to whom they
want to send funds.

It is the inmate’s responsibility to maintain his/her own list with accurate contact information, to
include first name; last name; relationship; language; and postal address. Inmates are subject to
disciplinary action for lying and/or providing false or fictitious information regarding a contact
(e.g., when complete name is not used; when information is altered to hide the identity of the
contact; and any/all other attempts to mislead reviewing and monitoring staff as to the true identity
and contact information).

Ordinarily, inmates are limited to having 100 active contacts on their contact list.

Staff are not responsible for printing contact lists for inmates in SHU. However, if an imminent
need is demonstrated staff may print a TRULINCS phone list for inmates in SHU. Staff prepare
the phone list and deliver it to the inmate in a secure manner within a reasonable timeframe from
the date of the request and at a time that does not interfere with the normal operations of the
institution.

(1) Postal Mail. Inmates are limited to entering two postal addresses for each contact on their
list.

Ordinarily, inmates are required to place a TRULINCS-generated mailing label on all outgoing
postal mail. The Warden may exempt inmates from this requirement if he/she determines that an
inmate has a physical or mental incapacity, or other extraordinary circumstances that prevents
him/her from using the TRULINCS terminal, or the inmate poses special security concerns
prohibiting regular access to TRULINCS terminals (e.g., SHU, SMU).

The Warden may exempt inmates housed in SHU or other areas of the institution in which there
are special security concerns that limit regular access to TRULINCS.

If an inmate fails to place the TRULINCS-generated label on outgoing postal mail, the mail is
returned to the inmate for proper preparation, in the same way outgoing mail is returned for failure
to follow other processing requirements (lack of return address, etc.).

Mailing labels are only placed on outgoing postal mail to identify the recipient. Inmates are
prohibited from printing return address labels. Inmates who use mailing labels for other than their
intended purpose may be subject to disciplinary action for misuse of Government property.




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Ordinarily, inmates are limited to marking for print five mailing labels per day. Inmates may be
authorized to print labels in excess of the parameter setting when approved by the Warden or
designee.

(2) Telephone Contacts. Inmates request that telephone numbers be added to their TRUFONE
lists by creating a contact with a telephone number. Telephone number requests are processed to
TRUFONE within approximately 15 minutes.

Ordinarily, inmates are limited to having 30 active telephone numbers on their phone list.

(3) Public Messaging Contacts. Inmates request to exchange emails with a person in the
community by creating a contact with an email address. Ordinarily, inmates are limited to having
30 active messaging contacts on their list.

Inmates may only exchange emails with contacts who have accepted the inmate’s request to
communicate. Inmates may not exchange emails with any unauthorized contacts including, but
not limited to, victims, witnesses, other persons connected with the inmate’s criminal history, law
enforcement officers, contractors, vendors who make deliveries of physical goods to the institution
(e.g., Commissary, Food Service), and/or volunteers.

Note: Inmates may place attorneys, “special mail” recipients, or other legal representatives on
their public email contact list, with the acknowledgment that public emails exchanged with such
individuals will not be treated as privileged communications and will be subject to monitoring.

(a) Consent. If the contact consents to receive emails, that person is activated on the inmate’s
email contact list.

(b) Notices. Upon receiving the system-generated email, the contact is notified that:

■ The Federal inmate identified seeks to add the person in the community to his/her authorized
  email contact list.
■ The person in the community may approve the inmate for email exchanges, refuse or ignore
  the request for email exchanges, or refuse the current and all future Federal inmate requests for
  email exchanges.
■ By approving, the person in the community consents to have Bureau staff monitor the content
  of all emails and agrees to comply with program rules and procedures.

At any time a person in the community may choose to not participate in messaging. Each email
received from an inmate (provided within CorrLinks) will provide the contact with guidance to
remove him-/herself from the specific inmate’s contact list or refuse all Federal inmates’ requests
for email exchanges. In addition, each email received from an inmate notifies the person that by
utilizing CorrLinks to send/receive emails they consent to have Bureau staff monitor the
informational content of all emails exchanged and to comply with all program rules and
procedures.


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(c) Blocking of Email Address(es). TRULINCS provides three types of email address blocks:
Bureau-wide, facility-wide, and inmate-specific. Supporting documentation for blocking email
addresses are scanned into TRUFACS using the document imaging process.

Ordinarily, written requests from the Associate Warden for blocking an email address are
processed within one working day after receipt. If specified, these blocks are placed on a specific
inmate account; however, if a specific inmate is not identified or where the request specifically
states, a block can be placed to prevent any inmate at the facility from emailing a specific address.

Note: Requests for blocking may not be processed by deleting the contact from an inmate
account.

■ Bureau-wide Block. Request for Bureau-wide blocks should be routed to the Central Office
  Intelligence Section for approval. If approved, these blocks will be placed by Central Office
  TRULINCS staff. These requests can be for a specific email address or an entire domain.
■ Facility-wide Block. Trust Fund staff place blocks by entering an email address on the
  Facility Blocked Contact Management Screen in TRULINCS. The authorization of blocking
  of an email address cannot be delegated below the Associate Warden level.
■ Inmate-Specific Blocks. The contact email address is blocked within the Contact List
  administration in TRULINCS.
■ Removal of Blocks. When an email address is blocked at the recipient’s request, the System
  Administrator removes the block by placing the contact’s status to Pending Contact Approval
  when a written request from the contact is received.

(d) Inmate to Inmate Communication. An inmate may be permitted to correspond via Public
Messaging and postal mail with an inmate confined in any Bureau facility in accordance with the
Program Statement Correspondence.

Upon receipt of the approved correspondence from Unit team staff, Trust Fund staff are
responsible for entering the approval into TRULINCS and scanning the correspondence into
TRUFACS using the document imaging process.

d. ELL. Inmates use dedicated TRULINCS workstations to access the ELL. Additional
guidance regarding law library requirements can be found in the Program Statement Inmate Legal
Activities.

Trust Fund staff are responsible for ensuring the ELL software is accessible. The Bureau of
Prisons Librarian through institution Education staff is responsible for ELL content, functionality,
and training.

When inmates do not have access to a printer, Trust Fund staff are responsible for printing ELL
documents for inmates with funds. Education staff are responsible for printing ELL documents
for inmates without funds. Staff prepares the requested ELL documents and delivers them to the


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inmate in a secure manner within a reasonable timeframe from the date of the request and at a time
that does not interfere with the normal operations of the institution.

e. Manage Funds

(1) Send Funds (BP-199). Inmates wishing to send funds from their Deposit Fund account via
a Request for Withdrawal of Inmate’s Personal Funds (BP-199) must add the recipient to their
contact list. After the contact is approved, inmates enter a BP-199 and print the applicable
BP-199 Form free of charge. See Section 10.2 for additional information regarding BP-199s.

(2) Pre-Release Account. Inmates are responsible for managing their own pre-release
accounts. See Section 8.11 for information regarding inmate pre-release encumbrances.

f. Management TRU-Units. Inmates are responsible for purchasing/transferring TRU-Units
and tracking their account balances.

g. Music Service. Inmates that have purchased an authorized MP3 player from the
Commissary access the Music Service to activate the player; revalidate the player; and purchase
non-explicit media. Inmates are required to accept the Music/Media Terms of Use before
accessing the service.

Inmates are authorized to have a maximum of one active MP3 player. Players must be connected
to TRULINCS and re-validated every 14 days or they will stop working. It is imperative that
MP3 players remain connected to TRULINCS while data is being written to them. The Bureau is
not responsible for any damage players receive while charging or while connected to TRULINCS
computers. Players cannot be used at Bureau privatized facilities or contract holdover facilities.

Media are purchased by inmates within the system using TRU-Units and are priced in three tiers.
Many titles/songs have multiple versions and/or multiple artists. Inmates are responsible for
ensuring the accuracy of their purchases. All music sales are final; no refunds will be issued. All
purchased music/media files must be stored on the MP3 player. Inmates may print a list of their
media for a fee.

The music library is automatically updated when made available to the contractor; the Bureau does
not control when songs are made available or the library content. However, songs that jeopardize
the safety, security, or good order of the institution or protection of the public will be removed
from the music library and MP3 players at the Bureau of Prisons’ discretion. TRU-Unit refunds
will be issued for songs that are removed by the Bureau of Prisons.

h. Prescription Refills/Consultation Notifications. Through an interface with the Bureau
Electronic Medical Record (BEMR), inmates are provided with a list of their prescriptions that are
eligible to be refilled. Inmates follow established local procedures for picking up requested
prescriptions approximately 24 hours after they submit a request. Inmates are also provided with
the results of consultation requests through the Health Services Department. The consultation


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notifications are informational only and cannot be printed. The notifications are purged after 30
days.

i. Print. Inmates are responsible for printing their own documents and paying print fees when
applicable. Inmates are not authorized to possess other inmates’ print materials. Inappropriate
use of printed materials may result in disciplinary action.

j. Public Messaging. The Bureau provides a messaging option for inmates to supplement
postal mail correspondence to maintain family and community ties. Both inmates and their
contacts must adhere to the rules of this policy, and must not use TRULINCS for any purpose that
would jeopardize the safety, security, or orderly operation of the correctional facility, or jeopardize
the protection of the public and staff.

(1) Email Controls. The maximum number of consecutive minutes an inmate may use the
Public Messaging Service is 60 minutes; the interval between sessions is 15 minutes. The
Warden may adjust time parameters to ensure the secure and orderly running of the institution.

Emails may not contain attachments and may not exceed 13,000 characters.

Inmates are able to access incoming, outgoing, draft, deleted, and rejected emails for 180 days.
Emails older than 180 days are automatically purged from the system.

(2) Cost of Messaging. Inmates are charged a per-minute fee while in the Public Messaging
Service. Inmates may print their emails for an additional fee.

(3) Email Holds. All incoming/outgoing emails are held for a minimum of one hour. When
warranted, emails may be held longer. Staff must approve/reject an email while it is on hold or
the email will be sent when the hold expires.

(4) Monitoring. Emails sent/received by inmates are stored and are subject to monitoring for
content by trained staff. If it is determined locally that workload permits, all staff may be
assigned to monitor emails. Inmates identified as requiring enhanced communications
monitoring shall have their emails monitored and reviewed.

(5) Rejection of Public Emails. TRULINCS allows inmate emails to be routed to staff for
review. If a determination is made to reject the correspondence the staff member managing the
email must place the email in a Rejected status.

(a) Authority to Reject Emails. The authority to manually reject emails is not delegated below
the Associate Warden.

(b) Reasons for Rejection. Emails that would jeopardize the safety, security, or orderly
operation of the correctional facility or the protection of the public and staff may be rejected for
reasons that include, but are not limited to:


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■ The email is detrimental to the security, good order, or discipline of the institution, or a threat
  to the public and staff, or it might facilitate criminal activity, including any email that:

     Depicts, describes, or encourages activities that may lead to the use of physical violence or
      group disruption.
     Depicts or describes procedures for the construction or use of weapons, ammunition,
      bombs, or incendiary devices.
     Depicts, encourages, or describes methods of escape from Bureau facilities.
     Encourages, instructs, or may facilitate criminal activity (e.g., introduction of contraband).
     Constitutes unauthorized direction of an inmate’s business (see 28 CFR Part 541, subpart
      B, regarding Inmate Discipline).
     Contains threats, extortion, or obscenity.
     Is written in, or otherwise contains, a code.
     Constitutes sexually explicit material that, by its nature or content, poses a threat to the
      safety, security, and orderly operation of Bureau facilities, or protection of the public and
      staff.
     Depicts or describes procedures for the manufacture of alcoholic beverages or drugs.

■ The email otherwise violates the established parameters of the TRULINCS Program.

(c) Notification of Rejection. When an email is rejected, the sender is notified that his/her
email will not be delivered and the reason(s) for the rejection. The intended recipient is not
informed of the rejection.

(6) Responsibility for Misuse of the Public Messaging Service. If either an inmate or a
contact attempts to send emails that are rejected, forward inmate emails to an unauthorized
address, or otherwise violate this policy, the Warden may remove the individual from participation
in this program. Both parties are notified of the removal by the Warden.

(7) Law Enforcement Requests for Public Emails. The Bureau’s TRULINCS System of
Records, and the Privacy Act of 1974, allows disclosure of TRULINCS transactional data and
email content as law enforcement uses, as defined therein. Subpoenas for these are not required,
as compared to recorded telephone conversations.

Written requests from law enforcement for emails must demonstrate a need based on an ongoing
investigation. Reviews of such requests should be considered by SIS staff, Wardens/Associate
Wardens, along with legal staff. Once approved, Bureau staff are authorized to release both
transactional data (e.g., date, time, email address, email recipient and sender, and length of the
email) and copies of the emails.

k. Request to Staff. Inmates wishing to submit a written request to staff must do so using the
electronic Request to Staff Service. A written response, if necessary, will be provided. Inmates



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are limited to submitting one request per department per day. The Request to Staff Service will
not be made available to inmates located in Protective Custody Units (PCU).

Inmates may report allegations of sexual abuse and harassment directly to the Office of Inspector
General (OIG) via the Request to Staff Service.

The Warden may exempt inmates from this requirement if he/she determines that an inmate has a
physical or mental incapacity, or other extraordinary circumstances that prevents him/her from
using the TRULINCS terminal, or the inmate poses special security concerns prohibiting regular
access to TRULINCS terminals (e.g., SHU, SMU). Exempted inmates may submit a request in
accordance with the Program Statement Request to Staff, Inmate.

l. Survey. The Bureau has the ability to conduct electronic inmate surveys. Surveys are
managed at the national level in accordance with the Program Statement Research.

14.11 RECORDS MANAGEMENT

The following documents are required to be scanned into TRUFACS using the document imaging
process:

a. Exclusions. Written requests from the Warden for program or individual service exclusions.

b. Suspensions and Restrictions. Documentation from the Disciplinary Hearing Officer
(DHO) or Unit Discipline Committee (UDC), regarding Public Messaging or Music restrictions.

In addition, Trust Fund staff must maintain a 30-day file to track temporary restrictions for
pending investigations or disciplinary actions submitted on form BP-A0740, Request for Inmate
Telephone or TRULINCS Restriction.

c. Public Messaging

■   Written approval from the Warden authorizing a Walsh Assignment override.
■   Written requests from the Warden or Associate Warden for blocking an email address.
■   Written requests from the Warden or Associate Warden for rejecting public emails.
■   Requests from contacts for blocking an email address.
■   Requests for unblocking an email address must contain a minimum of the contact’s full name,
    email address, inmate’s name, inmate’s register number, and the request for removing the
    email address block.

d. Inmate to Inmate Communication. Documentation from Unit Managers approving/
rejecting inmate to inmate communication.




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14.12 SYSTEM MAINTENANCE

a. Emergency Support. Support is available 7 days a week, 365 days a year from 7:00 a.m.−
9:00 p.m. EST. For emergency support call Trust Fund Branch, TRULINCS staff, at
202-514-2555 during office hours (7:00 a.m.- 3:30 p.m. EST); for after-hours emergency support
contact the TRULINCS duty phone.

b. Non-Emergency Technical Assistance. For non-emergency support use the trouble ticket
system or call Trust Fund Branch TRULINCS staff.

c. Hardware and Software Updates/Improvements. The Trust Fund Branch initiates the
implementation of improved hardware and software. Institution staff are encouraged to provide
input and ideas for improving the system and services.




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